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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                          UNITED STATES DISTRICT COURT                              April 01, 2021
                                                                                 Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
STATE OF TEXAS,                           )
                                          )
                     Plaintiff,           )
and                                       )   Civil Action No. 4:18-cv-03368
                                          )
BAYOU CITY WATERKEEPER,                   )
                                          )
              Plaintiff-Intervenor,       )
                                          )
              v.                          )
                                          )
CITY OF HOUSTON, TEXAS,                   )
                                          )
                     Defendant.           )
                                          )


                                      CONSENT DECREE
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       WHEREAS, Plaintiff, the United States of America (“United States”), by the authority

of the Attorney General of the United States and through its undersigned counsel, acting at the

request and on behalf of the United States Environmental Protection Agency (“EPA”), filed a

Complaint (“Complaint”) alleging Defendant, the City of Houston, Texas (“City”), has violated

and continues to violate the Clean Water Act, 33 U.S.C. § 1251 et seq., (“CWA”), the

regulations promulgated under the CWA, and terms and conditions of the City’s National

Pollutant Discharge Elimination System (“NPDES”) permits issued under Section 402 of the

CWA, 33 U.S.C. § 1342;

       WHEREAS, Plaintiff, the State of Texas (“State”), acting at the request of and on behalf

of the Texas Commission on Environmental Quality (“TCEQ”), has joined in the Complaint as a

Plaintiff in this action and as a Party pursuant to CWA § 309(e), 33 U.S.C. § 1319(e), seeking

injunctive relief, civil penalties, and attorney’s fees for the City’s alleged violations of Chapter 7,

Subchapter D, and § 26.121 of the Tex. Water Code (“TWC”) and the regulations promulgated

and permits issued pursuant thereto;

       WHEREAS, the City disagrees with and does not admit to these contentions, any facts

alleged in the Complaint or liability to the United States, the State or any third party arising out

of the transactions or occurrences alleged in the Complaint;

       WHEREAS, notwithstanding these disagreements, the Parties have negotiated this

Consent Decree to resolve the matter and to memorialize the terms of their agreement to work

cooperatively on issues relating to the City’s Sewer System;

       WHEREAS, since 1998, TCEQ has been authorized by EPA to administer the National

Pollutant Discharge Elimination System (“NPDES”) program in Texas pursuant to Section


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402(b) of the CWA, 33 U.S.C. § 1342(b), and NPDES permits administered by TCEQ are known

as Texas Pollutant Discharge Elimination System (“TPDES”) permits;

       WHEREAS, the City is a “municipality” pursuant to Section 502 of the CWA, 33 U.S.C.

§ 1362;

       WHEREAS, the City owns and operates a “treatment works” as defined in Section 212

of the CWA, 33 U.S.C. § 1292. The treatment works, also referred to herein as the Sewer

System, includes the Wet Weather Facilities (“WWFs”), Wastewater Collection and

Transmission System (“WCTS”) and Wastewater Treatment Plants (“WWTPs”). The City’s

Sewer System is one of the largest and most complex in the nation, with approximately 6,000

miles of sewer mains, 390 Lift Stations to move sewage due to Houston’s flat topography, and

39 WWTPs serving approximately 2 million people. The City contends that it has been working

to implement improvements to its massive system to try to keep pace with its rapidly growing

population and has spent close to three billion dollars in upgrades and renewals to millions of

feet of pipes and infrastructure pursuant to Texas Agreed Orders and earlier initiatives such as

the Greater Houston Wastewater Program and is committing to undertake additional

improvements pursuant to this Consent Decree;

       WHEREAS, as of the Date of Lodging, the WWFs are permitted under Permit Nos.

TX0063053, TX0096172, and TX0105058 and continue to operate under said permits;

       WHEREAS, the Parties recognize this Consent Decree is in the interests of justice, a

transparent resolution, and consistent with the impartial rule of law and fundamental

constitutional principles, including federalism and control of state governments by their

democratically elected leaders. While the City has proposed and agreed to make significant


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improvements to its infrastructure, this Consent Decree is narrowly tailored to achieve the

improvements necessary to remedy alleged violations of federal and state law; it is not being

used to accomplish other policy goals or obtain relief that is unrelated to the alleged violations;

       WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

among the Parties and this Consent Decree is fair, reasonable, and in the public interest.


NOW, THEREFORE, IT IS HEREBY ADJUDGED, ORDERED AND DECREED as

follows:

                              SECTION I. JURISDICTION AND VENUE


1.     This Court has jurisdiction over the subject matter of this action, pursuant to 28 U.S.C. §§

       1331, 1345, 1355 and 1367(a), and Sections 309(b) of the CWA, 33 U.S.C. § 1319(b),

       and over the Parties. Pursuant to 28 U.S.C. § 1367, this Court has supplemental

       jurisdiction over the state law claims. Venue lies in this District pursuant to Section

       309(b) of the CWA, 33 U.S.C. § 1319(b), and 28 U.S.C. §§ 1391(b) and 1395(a), because

       the City is located in this judicial district, and the violations in the Complaint are alleged

       to have occurred in this judicial district. For purposes of this Decree, the City does not

       contest the Court’s jurisdiction over this action or over the City and does not contest

       venue in this judicial district.

2.     For purposes of this Consent Decree, the City agrees not to contest that the Complaint

       states claims upon which relief may be granted pursuant to Sections 301 and 309 of the

       CWA, 33 U.S.C. § 1311 and 1319, and under Sections 7.105 and 7.108 of the TWC.


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                                       SECTION II. OBJECTIVES


3.     The objectives of this Consent Decree are for the City to take all measures necessary as

       agreed upon by the Parties to fulfill the objectives of and achieve compliance with the

       CWA and the regulations promulgated thereunder, the TWC and the City’s Permits, with

       the goal of eliminating SSOs.

                                   SECTION III. APPLICABILITY


4.     The obligations of this Consent Decree apply to and are binding upon the United States,

       the State, and upon the City and any successors, assigns, or other entities or persons

       otherwise bound by law.

5.     At least 30 Days before transferring ownership or operation of any WWTP or any part of

       or the whole WCTS to any other person, the City shall provide, or otherwise make

       electronically available, a copy of this Consent Decree to each prospective successor

       owner or operator and shall simultaneously verify such by a written notice to the United

       States and the State in accordance with Paragraph 123 of this Decree. Any such transfer

       must be conditioned upon the transferee’s agreement to undertake the obligations

       required by this Decree, and no such transfer shall relieve the City of its obligation to

       ensure that the terms of the Decree are implemented.

6.     The City shall provide a copy of this Consent Decree, or otherwise make electronically

       available, to all directors, managers, employees, and agents whose duties might

       reasonably include compliance with any provision of this Decree, as well as to any

       contractor retained to perform Work required under this Consent Decree. The City shall


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       condition any such contract upon performance of the Work in conformity with the terms

       of this Consent Decree.

7.     In any action to enforce this Consent Decree, the City shall not raise as a defense the

       failure by any of its directors, managers, employees, agents, or contractors to take any

       actions necessary to comply with the provisions of this Consent Decree except as

       otherwise may be specifically provided in this Decree.

                                    SECTION IV. DEFINITIONS


8.     Unless otherwise defined herein, terms used in this Consent Decree (and any appendices)

       shall have the meanings given to those terms in the CWA, 33 U.S.C. §§ 1251 - 1387 or

       the regulations promulgated under the CWA.

9.     The following terms used in this Consent Decree (and any appendices) shall be defined as

       follows:

       a.     “Building/Private Property Backup” for purposes of this Decree, shall mean an

              SSO in the form of wastewater release or backup into a building or onto private

              property that is caused by blockages, flow conditions, or other malfunctions in the

              WCTS. A wastewater backup or release that is caused by blockages, flow

              conditions, or other malfunctions of a Private Lateral is not a Building/Private

              Property Backup for purposes of this Decree.

       b.     “CCTV” shall mean Closed Circuit Television.

       c.      “CMOM” or “Capacity, Management, Operations and Maintenance” shall mean

              a program of industry practices to manage, operate and maintain sanitary

              wastewater collection, transmission and treatment systems, investigate capacity-

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        constrained areas of these systems, and respond to SSO events.

  d.    “City” or “Houston” shall mean the City of Houston, Texas.

  e.    “Complaint” shall mean the complaint filed on September 20, 2018 by the United

        States and the State in this action.

  f.    “Consent Decree” or “Decree” shall mean this consent decree document and all

        appendices attached hereto (listed in Paragraph 142). In the event of a conflict

        between this document and any appendix, this document shall control.

  g.    “CWA” shall mean the Clean Water Act, as amended 33 U.S.C. §§ 1251 - 1387.

  h.    “Date of Lodging” shall mean the date this Consent Decree is lodged with the

        Clerk of the Court for the United States District Court for the Southern District of

        Texas, Houston Division.

  i.    “Day” shall mean a calendar day unless expressly stated to be a business day. In

        computing any period of time under this Consent Decree, where the last day

        would fall on a Saturday, Sunday, Federal, State or City holiday, the period shall

        run until the close of business of the next business day.

  j.    “Defendant” shall mean the City of Houston, Texas and any successor thereto.

  k.    “Deliverable” shall mean the written documents required to be submitted by or on

        behalf of the City under this Consent Decree.

  l.    “EPA” shall mean the United States Environmental Protection Agency and any of

        its successor departments or agencies.

  m.    “Effective Date” shall be the date that this Decree is entered by the Court.

  n.    “Fiscal Year” shall mean July 1 of a particular year through June 30 of the


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        following year.

  o.    “FOG” shall mean fats, oils and grease.

  p.    “FOG Generator” shall mean any establishment required to operate and maintain

        a FOG interceptor pursuant to Art. XI, Ch. 47-513(a) of the Code of Ordinances,

        Houston, Texas.

  q.    “Force Main” shall mean any pipe that receives and conveys wastewater under

        pressure from the discharge side of a pump.

  r.    “Gravity Sewer Main” shall mean a pipe that receives, contains and conveys

        wastewater that is not normally under pressure, but is intended to flow unassisted

        under the influence of gravity. The Gravity Sewer Mains consist of Small

        Diameter Gravity Sewer Mains and Large Diameter Gravity Sewer Mains.

  s.    “Infiltration” shall mean water other than wastewater that enters a sewer system

        (including sewer service connections and foundation drains) from the ground

        through such means as defective pipes, pipe joints, connections, or manholes, as

        defined by 40 C.F.R. § 35.2005(b)(20).

  t.    “Inflow” shall mean water other than wastewater that enters a sewer system

        (including sewer service connections) from sources such as, but not limited to,

        roof leaders, cellar drains, yard drains, area drains, drains from springs and

        swampy areas, manhole covers, cross connections between storm sewers and

        sanitary sewers, catch basins, cooling towers, stormwater, surface runoff, street

        wash waters, or drainage, as defined by 40 C.F.R. § 35.2005(b)(21).

  u.    “I/I” shall mean the total quantity of water from Infiltration and Inflow without


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        distinguishing the source.

  v.    “Interest” shall mean interest at the rate calculated as specified in 28 U.S.C. §

        1961, and unless otherwise stated, shall be the rate in effect at the time the Interest

        accrues. The State interest rate, calculated as specified in Tex. Fin. Code

        § 304.003, shall apply where applicable.

  w.     “Large Diameter Gravity Sewer Mains” shall mean sanitary sewer pipes greater

        than 24” diameter.

  x.    “Lift Station” shall mean a facility that includes pumps to lift wastewater to a

        higher hydraulic elevation, including all electrical, mechanical, and structural

        systems necessary to the operation of the Lift Station. Except as may be

        specifically provided otherwise, for purposes of this Consent Decree, Lift Stations

        shall not include facilities located at the WWTPs.

  y.    “MS4” shall mean Municipal Separate Storm Sewer System.

  z.    “NPDES” shall mean the National Pollutant Discharge Elimination System

        authorized under Section 402 of the CWA, 33 U.S.C. § 1342.

  aa.   “Parties” shall mean the United States of America, on behalf of EPA, the State of

        Texas, on behalf of the TCEQ, and the City.

  bb.   “Permit” shall mean any of the TPDES/NPDES Permits identified in Appendix A

        and issued to the City pursuant to Chapter 26 of the TWC and Section 402 of the

        CWA, 33 U.S.C. § 1342, for the City’s Sewer System, and any future extensions,

        modifications or reissuance of those Permits.

  cc.   “Plaintiffs” shall mean the United States of America, on behalf of EPA, and the


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        State of Texas, on behalf of the TCEQ.

  dd.    “Private Lateral” shall mean sewer assets not owned by the City, used to convey

        wastewater from a building or buildings to the WCTS.

  ee.   “Publicly Owned Treatment Works” or “POTW” shall mean a publicly owned

        treatment works as defined in 40 C.F.R. § 403.3(q) and includes the WCTS and

        the WWTPs as defined in this Consent Decree.

  ff.   “Sanitary Sewer Overflow” or “SSO” shall mean an overflow, spill, or release of

        wastewater from or caused by the City’s WCTS. This term shall include: 1)

        discharges to waters of the United States or into or adjacent to Waters in the State

        of Texas from the City’s WCTS; and 2) any release of wastewater from the City’s

        WCTS to public or private property that does not reach waters of the United

        States or into or adjacent to Waters in the State of Texas, including

        Building/Private Property Backups.

  gg.   “Service Area” shall mean a portion of the WCTS that typically flows to a single

        WWTP.

  hh.   “Sewer Segment” shall mean the full length of a Gravity Sewer Main extending

        from one manhole to the next manhole in the WCTS.

  ii.   “Sewer System” shall mean the WCTS, WWFs and the WWTPs.

  jj.   “Small Diameter Gravity Sewer Mains” shall mean sanitary sewer pipes less than

        or equal to 24” diameter.

  kk.   “State” or “Texas” shall mean the State of Texas.

  ll.   “TCEQ” shall mean the Texas Commission on Environmental Quality and any


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        successor agency.

  mm.    “TPDES” shall mean the Texas Pollutant Discharge Elimination System.

  nn.   “Wastewater Collection and Transmission Systems” or “WCTS” shall mean

        Force Mains, Gravity Sewer Mains, Lift Stations, manholes, access

        vaults/structures, flow-regulating devices/structures, other hydraulic structures,

        and the appurtenances thereto that are owned or operated by the City to transport

        wastewater.

  oo.   “Wastewater Treatment Plant” or “WWTP” shall mean the sewage treatment

        plants owned or operated by the City as identified in Appendix A and all

        components of each of those plants, subject to modification of Appendix A as a

        result of consolidation activities. “WWTP” does not include any plant that has

        been decommissioned and has a permit that has been terminated.

  pp.   “Waters in the State of Texas” are “waters” as defined under Texas law. Tex.

        Water Code 26.001(5) defines “water” or “water in the state” to mean

        “groundwater, percolating or otherwise, lakes, bays, ponds, impounding

        reservoirs, springs, rivers, streams, creeks, estuaries, wetlands, marshes, inlets,

        canals, the Gulf of Mexico, inside the territorial limits of the state, and all other

        bodies of surface water, natural or artificial, inland or coastal, fresh or salt,

        navigable or nonnavigable, and including the beds and banks of all watercourses

        and bodies of surface water, that are wholly or partially inside or bordering the

        state or inside the jurisdiction of the state.”

  qq.   “Wet Weather Facility” or “WWF” shall mean one of the three facilities the City


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                operates in the WCTS and that are permitted under Permits listed above.

        rr.     “Work” shall mean the activities the City is required to perform under this

                Consent Decree.

        ss.     “Work Project” shall mean an individual task that is part of a larger overall

                Remedial Measures Plan under Section V (Compliance Requirements). It does

                not mean the entire overall Remedial Measures Plan.

                           SECTION V. COMPLIANCE REQUIREMENTS


10.     The following constitutes the remedial measures the City shall undertake to achieve the

        Objectives of this Consent Decree. The City is responsible for ensuring contractors hired

        to perform Work pursuant to this Consent Decree comply with all applicable laws. All

        Work shall be performed using sound engineering practices, the City’s best professional

        judgment, and industry standards in compliance with the terms of this Decree. Sound

        engineering practices may include appropriate provisions of EPA’s Climate Ready Water

        Utilities (CRWU) Initiative, referenced at EPA 817-F-12-005, 2012; and EPA’s Climate

        Resilience Evaluation and Awareness Tool (CREAT). All remedial measures required

        under this Consent Decree shall be completed no later than 15 years from the Effective

        Date.

        Early Action Projects

11.     The City shall implement the Early Action Program under this Paragraph and in

        accordance with Appendix B:

        a.      For the Lift Stations identified in Appendix B, the City shall complete the

                described remediation, replacement, or consolidation projects pursuant to the

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               schedule in Appendix B;

        b.     For Force Main projects identified in Appendix B, the City shall complete the

               described projects pursuant to the schedule in Appendix B. Regarding the Force

               Main projects identified on page 12 of Appendix B, the City shall specify to the

               Parties the extent of remediation to be implemented per Force Main project within

               90 Days after each Force Main has been evaluated and a determination has been

               made;

        c.     For Consolidation Projects identified in Appendix B, the City shall complete the

               described projects pursuant to the schedule in Appendix B;

        d.     For the 69th Street, Upper Brays, Almeda Sims, Greenridge, Metro Central,

               Keegans Bayou, Westway, FWSD 23, Kingwood Central, and Southwest

               WWTPs the City shall complete the remedial measures pursuant to the schedule

               in Appendix B.

        e.     For each WWTP identified in Appendix B, the City shall also implement, as soon

               as technically and operationally practicable, interim operational changes and/or

               other short-term improvements where appropriate until the identified remedial

               measures are completed.

        WCTS Capacity Assessment

12.     The City has identified nine areas with known capacity related constraints that are

        identified in Appendix C. Within two years of the Effective Date, the City shall perform

        remedial alternatives analysis/es to address any identified capacity constraints within

        each of the nine areas and shall submit a Capacity Remedial Measures Plan(s) to EPA for


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        its review and approval, with a copy to TCEQ. The Capacity Remedial Measures Plan(s)

        shall address any identified capacity constraints in each of the nine areas by completing a

        remedial action design, including timelines for completion, to prevent sewer asset

        surcharge during a five-year, six-hour rain event using the Point Precipitation Frequency

        estimates published in 2018 NOAA Atlas 14, Volume 11, Version 2, except in situations

        where a remedial action design to prevent surcharge during a five-year, six-hour rain

        event would be detrimental to the operation of the WCTS, in which case the Capacity

        Remedial Measures Plan(s) shall include alternative measures that will be taken to correct

        the capacity constraint. The remedial measures identified in the Capacity Remedial

        Measures Plan(s) shall be completed within 10 years of the Effective Date with progress

        toward capacity improvements achieved on an annual basis. For Areas 1 and 3, identified

        in Appendix C, the City shall provide a detailed explanation in the Capacity Remedial

        Measures Plan(s) of why additional time may be needed beyond 10 years, for reasons

        including coordination with other agencies. If approved, the remedial measures for those

        areas shall be completed within the approved schedule not to exceed 15 years from the

        Effective Date. In Annual Reports following the approval of the Capacity Remedial

        Measures Plan(s), the City shall identify progress made in the previous year toward

        completing the remedial measures identified in the Capacity Remedial Measures Plan(s).

13.     To identify and address additional areas beyond those included under Paragraph 12 with

        potential capacity constraints, the City shall evaluate all SSOs from the prior three years

        to identify any WCTS asset that meets one of the following criteria:

           a.      The total wet-weather SSO volume from any single WCTS asset over the


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                   prior three years exceeds 100,000 gallons; or

           b.      Three or more wet weather SSOs occur from any single WCTS asset over the

                   prior three years.

        If a WCTS asset meets the above-specified criteria, the City shall perform a capacity

        assessment of the area associated with the WCTS asset to determine whether capacity is

        the cause of the SSOs. If a lack of capacity is determined to be the cause of the SSOs

        meeting the above-specified criteria in this Paragraph, the City shall perform a capacity

        remedial alternatives analysis to address the identified capacity constraint at the area

        associated with the WCTS asset and shall implement remedial action to address the

        capacity constraint. If the remedial action to address the capacity constraint is to upsize

        the Sewer Segment, the new Sewer Segment shall be designed to prevent sewer asset

        surcharge during a five-year, six-hour rain event using the Point Precipitation Frequency

        estimates published in 2018 NOAA Atlas 14, Volume 11, Version 2, except in situations

        where a remedial action design to prevent surcharge during a five-year, six-hour rain

        event would be detrimental to the operation of the WCTS, in which case the remedial

        alternatives analysis shall include alternative measures that will be taken to correct the

        capacity constraint. In the Annual Reports submitted to EPA for review and comment,

        with a copy to TCEQ, the City shall identify the locations that meet the criteria specified

        above, identify areas with capacity constraints, provide remedial alternative analysis for

        each area in the Capacity Remedial Summary, specify the remedial action taken or to be

        taken, along with a timeline for completion of each remedial action.

14.     Each time a Sewer Segment in the WCTS is scheduled for renewal or replacement, the


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        City shall perform a capacity assessment using its assessment storm. If the Sewer

        Segment does not have adequate capacity to convey the City’s assessment storm, the City

        shall design and install a new Sewer Segment designed to prevent sewer asset surcharge

        during a five-year, six-hour rain event using the Point Precipitation Frequency estimates

        published in 2018 NOAA Atlas 14, Volume 11, Version 2, except in situations where a

        remedial action design to prevent surcharge during a five-year, six-hour rain event would

        be detrimental to the operation of the WCTS, in which case the remedial alternatives

        analysis shall include alternative measures that will be taken to correct the capacity

        constraints. In each Annual Report, the City shall identify all capacity-related Sewer

        Segments that were renewed or replaced in the previous year and shall identify all Sewer

        Segments that are scheduled for renewal or replacement in the following year (Capacity

        Remedial Summary).

15.     The City has developed a four-step process for updating its hydraulic models. Step one

        includes reviewing the hydraulic model and updating it based on the City’s GIS asset

        database and other operational databases. Step two includes collecting field data to verify

        the model, including flow monitoring and lift station flow tests. Step three includes

        validating the data and updating the model network. Step four includes using the field

        data to calibrate and verify the model results.

16.     Based on this four-step process, the City will complete updates to its sanitary sewer

        system hydraulic models for the WWTPs and associated sewer collection systems within

        five years after the Effective Date as follows:

               Year One -      FWSD23, Homestead, Clinton Park, Kingwood, Chocolate Bayou,


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                               Greenridge;

               Year Two -      Almeda Sims, 69th Street, Southwest, Sims Bayou;

               Year Three - Northwest, Upper Brays, West District;

               Year Four -     Beltway, Imperial Valley, MUD203, Sagemont, Tidwell Timber,

                               WCID111, WCID76, Westway;

               Year Five -     Blackhawk, Cedar Bayou, Chelford City, Easthaven, Forest Cove,

                               Intercontinental, Keegans, MUD48, Metro Central, Northbelt,

                               Northgate, Park Ten, Southeast, Turkey Creek, Willowbrook,

                               WCID47, White Oak.

        After the initial five-year cycle, the City shall perform an additional sanitary sewer

        system hydraulic model update to its models within 15 years from the Effective Date.

        Wet Weather Facilities

17.     This section of the Consent Decree addresses three WWFs. They are (i) the Bretshire

        WWF that operates under Permit No. TX0063053, (ii) the WWF that operates under 69th

        Street WWTP Permit No. TX0096172 and is referred to herein as the “Northside” WWF,

        and (iii) the WWF that operates under Sims Bayou Permit No. TX0105058 and is

        referred to herein as the “Scott Street” WWF. The City operates the WWFs under the

        above-referenced Permits. This Section contains remedial measures intended to either

        eliminate discharges from the WWFs or treat effluent to achieve water quality standards

        for the receiving stream prescribed by 40 C.F.R. § 122.44(d) and the CWA’s secondary

        treatment requirements.

Bretshire WWF
18.     The City shall eliminate discharges from the Bretshire WWF by the Effective Date.
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Scott Street WWF and Northside WWF Pilot Studies
19.     The City shall conduct pilot studies to evaluate treatment technology for the Scott Street

        and Northside WWFs to achieve effluent that meets the water quality standards for the

        receiving stream and the CWA’s secondary treatment requirements.

20.     Pilot Studies. The City shall conduct pilot studies (such as, but not limited to, flocculation,

        filtration, and/or biological treatment) at the Scott Street WWF and the Northside WWF

        consistent with the requirements and schedule provided below:

           a.      No later than 12 months from the Effective Date, the City shall request from

                   TCEQ a Letter of Authorization (LOA) for each of the pilot studies. In the

                   request for the LOA, City shall describe: each technology being evaluated; the

                   scope of the testing conditions (including the type and frequency of wet

                   weather events necessary for testing); schedules for conducting the study of

                   each technology; all pollutant parameters to be evaluated; water quality

                   standards; secondary treatment performance criteria; schedules for periodic

                   water quality and pollutant sampling; and schedules for periodic sampling and

                   performance reporting to the TCEQ and EPA.

           b.      Within three months from receipt of the City’s request for Pilot Studies,

                   TCEQ shall issue a decision on the LOA.

           c.      No more than 30 months from the Effective Date, the City shall begin

                   operation of the authorized pilot-scale treatments at a level scalable to full-

                   size construction.

           d.      The City shall provide periodic written reports to the TCEQ and EPA,

                   according to the timetable specified in the LOA, explaining the status of its
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                   pilot studies and providing the results of all sampling conducted for each

                   pilot-scale treatment.

           e.      The City shall respond completely and adequately, as determined by the

                   TCEQ, to all requests for information concerning each pilot study proposal

                   submitted pursuant to this Consent Decree within 30 Days after the date of

                   such requests or by any other deadline specified by the TCEQ in writing.

21.     If the EPA and TCEQ do not approve the pilot studies that have been timely proposed by

        the City within two years from the Effective Date, the City shall eliminate discharges

        from Scott Street and Northside WWFs in accordance with this paragraph:

           a.      Scott Street WWF. No later than four years and six months from the Effective

                   Date the City shall submit to EPA and to TCEQ, for review and approval, a

                   Remedial Measures Plan that includes a proposed schedule to eliminate

                   discharges from the Scott Street WWF. No later than 11 years from the

                   Effective Date, the City shall implement and have fully operational all

                   EPA/TCEQ approved remedial measures for the Scott Street WWF.

           b.      Northside WWF. No later than six years and six months from the Effective

                   Date, the City shall submit to EPA and TCEQ, for review and approval, a

                   Remedial Measures Plan that includes a proposed schedule to eliminate

                   discharges from the Northside WWF. No later than 15 years from the

                   Effective Date, the City shall implement and have fully operational all EPA

                   approved remedial measures for the Northside WWF.




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22.     WWF Pilot Testing Result Report. No later than four years and six months from the

        Effective Date, the City shall submit a WWF Pilot Testing Result Report, including all

        sampling results and an analysis comparing the sampling results to the water quality

        standard limits and secondary treatment performance criteria. EPA and TCEQ shall

        respond to the WWF Pilot Testing Result Report, within 45 Days, indicating whether any

        of the piloted technologies meets the water quality standard limits for the receiving

        stream and secondary treatment performance criteria.

23.     WWF Full-Scale Treatment Plan. If EPA and TCEQ concur that pilot studies

        demonstrate that the water quality standards and secondary treatment performance

        criteria have been met, the City shall, no later than six months after EPA’s response,

        submit a plan to EPA and TCEQ, for review and approval, indicating how full

        implementation will occur and providing justification for the proposed implementation

        schedules.

24.     Elimination of Discharge from Scott Street and Northside WWFs. If EPA and TCEQ

        conclude that the pilot’s sampling results do not demonstrate that water quality standards

        and secondary treatment performance criteria can be met, the City shall eliminate

        discharges from Scott Street and Northside WWFs in accordance with this Paragraph.

           a.        The City shall continue to use the WWFs as wastewater storage before any

                     discharge would occur and maximize the amount of wastewater flow that

                     receives secondary treatment under this Consent Decree until the discharges

                     are eliminated.

           b.        Scott Street WWF. No later than seven years from the Effective Date, the


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                   City shall submit to EPA, with a copy to TCEQ, for EPA review and

                   approval, a Remedial Measures Plan, including a proposed schedule to

                   eliminate discharges from the Scott Street WWF. No later than 13 years from

                   the Effective Date, the City shall implement and have fully operational all

                   EPA approved remedial measures for the Scott Street WWF.

           c.      Northside WWF. No later than 10 years from the Effective Date, the City

                   shall submit to EPA, with a copy to TCEQ, for EPA review and approval, a

                   Remedial Measures Plan, including a proposed schedule to eliminate

                   discharges from the Northside WWF. No later than 15 years from the

                   Effective Date, the City shall implement and have fully operational all EPA

                   approved remedial measures for the Northside WWF.

        WCTS Condition Assessment and Remediation

25.     The City shall conduct a system-wide inspection and assessment of the structural

        condition of its Gravity Sewer Mains, manholes, Force Mains, and Lift Stations within

        the WCTS by implementing the condition assessment requirements of this Subsection.

        The system-wide inspection and assessment activities are designed to identify defects in

        the WCTS that have caused or significantly contributed to previous SSOs; and/or, that are

        likely to cause or significantly contribute to the future occurrence of SSOs.

26.     The City shall conduct CCTV inspections of 100 percent of Gravity Sewer Mains and

        manholes within 10 years from the Effective Date. After the initial ten-year cycle, the

        City shall perform condition reassessments of no less than 50 percent of Gravity Sewer

        Mains and manholes within 15 years after the Effective Date. Furthermore, the City shall


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        conduct CCTV inspections of: (1) no less than 50 percent of the total length of all Gravity

        Sewer Mains within five years from the Effective Date; and (2) no less than 50 percent of

        the total number of all manholes within five years of the Effective Date. Furthermore, as

        part of the Early Year Targeted Cleaning set forth in Paragraph 43(e), the City shall

        CCTV no less than 1,500 miles of Gravity Sewer Main and inspect all companion

        manholes within two years from the Effective Date in areas with more than 10 SSOs per

        square mile. The assessment of the CCTV data and data from other inspection

        techniques utilized by the City shall be based on industry best practices defined by

        National Association of Sewer Services Companies (NASSCO), including the Pipeline

        Assessment and Certification Program (PACP) and the Manhole Assessment and

        Certification Program (MACP).

27.     The City shall prioritize sewer basins for the inspections described in Paragraph 26 based

        upon the City’s Sewer Basin Prioritization Matrix, which prioritizes the City’s sewer

        basins based on factors that include, but are not limited to, SSO and stoppage history, as

        set forth in Appendix D.

28.     Inspections of all Gravity Sewer Mains and manholes shall provide the basis for

        characterizing, using industry-accepted condition rating scoring systems described in this

        Paragraph and the City’s best professional judgment, the inspected assets into one of five

        categories designated Category 5 – 1 as follows:

 Gravity Sewer             Example of Structural Conditions Anticipated for
 Category                  Each Category
 NASSCO Grade 5            Structural collapse (Deformation > 40 percent), which has or could likely
 (Very Poor Condition)     cause SSO; or collapse imminent.


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 NASSCO Grade 4           Significant missing material or broken material, severe corrosion with
 (Poor Condition)         exposed pipe wall reinforcement, or pipe wall deformation > 25 percent
                          from structural deterioration.
 NASSCO Grade 3           Pipe wall deformation < 25 percent from structural deterioration
 (Fair Condition)         combined with displaced fractures or moderate corrosion - but no pipe
                          wall reinforcement visible.
 NASSCO Grade 2           Pipe wall deformation from construction impacts or < 10 percent of
 (Good Condition)         diameter from structural deterioration, minor corrosion, slightly open non-
                          displaced fractures, or other moderate material degradation.
 NASSCO Grade 1           No defects or mild defects which may include tight non-displaced cracks
 (Very Good Condition)    or other mild material degradation.




 Manhole                  Example of Structural Conditions Anticipated for
 Category                 Each Category
 NASSCO Grade 5           Severe structural defects that may include: cracks in walls; loose or
 (Very Poor Condition)    missing bricks; or separated/broken casting; indicating potential for
                          structural failure. Severe corrosion in the wall and/or base and
                          broken/missing cover and frame. Active infiltration may be observed.
 NASSCO Grade 4           Moderate structural defects that may include: one or two open cracks;
 (Poor Condition)         four or more closed cracks; loose bricks; separated casting; adjustment
                          beginning to fail; signs of leakage through adjustment; or damaged cover
                          and frame. Active infiltration may be observed. Moderate defects may
                          include loose casting, moderate corrosion of metal surfaces, deterioration
                          of concrete mortar between bricks, moderate deterioration of precast wall
                          sections, and precast joint defects.
 NASSCO Grade 3           Minor structural defects. Nominal defects may include: two or three
 (Fair Condition)         closed cracks; loose casting; nominal corrosion of metal surfaces; no
                          active leaks or structural failure in adjustment; signs of past infiltration; or
                          minor deterioration of concrete mortar between bricks or concrete walls.
 NASSCO Grade 2           No significant structural defects. Conditions may include: a single closed
 (Good Condition)         crack; no signs of leakage in adjustment; minor frame/cover defects; or
                          minor manhole corrosion.
 NASSCO Grade 1           New manhole or older manhole with no structural defects, no adjustment
 (Very Good Condition)    leakage or structural damage, no defects in frame/cover, only cosmetic
                          manhole wall defects observed, if any.

29.     Gravity Sewer Mains or manholes discovered to be rated as Category 4 and 5 shall go

        into the City’s Remedial Measures Alternatives Analysis process, where the City

        determines the most practical solutions for resolving defects and the timetable for

        implementing those solutions considering the long-term performance.

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30.     The City shall additionally CCTV no less than 30 percent of all Preventive Cleaning to

        track the effectiveness of the Preventive Cleaning program in Paragraph 43(d) and to

        characterize assets as specified in Paragraph 28.

31.     The City shall inspect Force Mains on a balanced annual basis so that all Force Mains are

        inspected at least once every 10 years from the Effective Date. During the inspections,

        the City shall assess each Force Main by reviewing past maintenance records, noting the

        age or installation date, physically examining the air- or vacuum-release valves, and

        visually inspecting the ground surface over the entire length of the Force Main, to the

        extent practicable.

32.     The City shall inspect Lift Stations on a balanced annual basis so that all Lift Stations are

        inspected at least once every 10 years from the Effective Date. However, due to the

        impacts of Hurricane Harvey during August 2017, the initial ten-year inspection may be

        front loaded with inspections and assessments conducted primarily during the first three

        years from the Effective Date. The Lift Station inspections shall include review of the

        following:

              i.       Maintenance records;

             ii.       SSOs;

            iii.       Lift Station equipment, including Lift Station mechanical, electrical,

                       structural, and supervisory control and data acquisition (SCADA)

                       components; and

             iv.       Lift Station power sources, including on-site alternate power equipment,

                       redundant power supplies and power switch over systems, where


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                          applicable.

33.     The City shall prioritize Lift Stations for the inspections described in Paragraph 32 based

        upon the City’s Lift Station Prioritization Matrix as set forth in Appendix D, which

        prioritizes the City’s Lift Stations based on factors that include, but are not limited to,

        likelihood and potential consequences of Lift Station failure.

34.     In each Annual Report, the City shall document the inspection and Condition Assessment

        activities (Condition Assessment Summary) undertaken by providing a summary of

        identified Category 1 through 5 Gravity Sewer Mains and manholes, as well as defects

        identified during the inspections of Force Mains and Lift Stations. Additionally, the City

        shall provide a list and locational map of identified Category 4 and 5 Gravity Sewer

        Mains and manholes. The Condition Assessment Summary shall include the Gravity

        Sewer Main mileage and the number of manholes, Force Mains, and Lift Stations that

        will be remediated.

35.     Following completion of the condition assessment, the City shall evaluate potential

        remedial measures that are required to resolve condition defects identified as Categories

        “4” or “5”. Such remedial measures may include:

                     i.        Point repairs

                     ii.       Rehabilitation

                     iii.      Pipe, manhole, Force Main, or Lift Station replacement

                     iv.       Other remediation techniques (such as new technologies or methods

                               that may become available)

                     v.        Monitoring or maintenance analysis


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36.     Beginning upon the Effective Date, the City shall annually rehabilitate/renew or replace

        no less than 2.5 percent of all Gravity Sewer Mains, including associated manholes that

        have been identified in the Condition Assessment Summary pursuant to Paragraph 34. At

        the time of Date of Lodging, 2.5 percent of all Gravity Sewer Mains is equal to

        approximately 150 miles.

37.     Beginning upon the Effective Date, the City shall annually rehabilitate or replace no less

        than 5 percent of all Lift Stations. At the time of Date of Lodging, 5 percent of all Lift

        Stations is equal to approximately 18.

38.     In each Annual Report, the City shall identify all condition remedial measures that were

        completed for the previous year and condition remedial measures that are scheduled for

        the following year (Condition Remedial Summary). The Condition Remedial Summary

        shall provide a list and locational map of completed remedial measures of Force Mains,

        Lift Stations, and Category 4 and 5 Gravity Sewer Mains and manholes. The Condition

        Remedial Summary shall also include the Gravity Sewer Main and Force Main mileage,

        and the number of manholes and Lift Stations that were rehabilitated/renewed or replaced

        for the previous year and that will be rehabilitated/renewed or replaced in the following

        year.

        WWTP Assessment and Remediation

39.     The City shall address the effluent limit exceedances from the WWTPs specified in

        Appendix E. The City has conducted root cause analyses for each of the effluent limit

        exceedances from these WWTPs. As a result, the City has implemented operational

        changes to address the effluent violations and/or has identified remedial projects to


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        correct deficiencies, which are included in the Early Action Projects, Appendix B. The

        City shall implement the remedial projects for each WWTP identified in the Early Action

        Projects as specified in Paragraph 11(d).

40.     The City shall implement a routine system of operations and maintenance performance

        evaluations for each WWTP. The initial evaluation shall be conducted for each WWTP

        within five years. The evaluation report shall assess the capability of the WWTPs to

        function in accordance with their Permits during the following five-year period.

        The report shall:

           a.      Evaluate the physical condition of each WWTP and the effectiveness of the

                   operation and maintenance program.

           b.      Identify physical, capacity, performance, and operation and maintenance

                   issues which require immediate attention.

           c.      Provide recommendations and schedules for corrective actions that shall be

                   performed as identified in the Annual report.

        The City shall maintain an evaluation checklist and supporting documentation to assist in

        preparing the evaluation report. WWTP rehabilitation/renewal, if necessary, shall be

        based on the findings and results of these evaluations.

41.     The City shall make repairs or implement operational changes as soon as technically and

        operationally practicable, as necessary and where appropriate, to address effluent limit

        exceedances at all the WWTPs.

        Capacity, Management, Operations and Maintenance Program

42.     Upon the Effective Date, the City shall implement its existing Standard Operating


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        Procedures (“SOPs”) for WCTS operation and maintenance activities including Small

        and Large Diameter Gravity Sewer inspection and cleaning, manhole inspection and

        repair, Lift Station inspection and repair, conducting sanitarian inspections of food

        service establishments, and SSO investigation and response.

43.     Thereafter the City shall develop a written CMOM Program Plan as detailed in this

        Paragraph. The City’s CMOM Program Plan will incorporate the elements listed in this

        Paragraph, which are consistent with EPA’s 2005 Guidance entitled “Guide for

        Evaluating Capacity, Management, Operation, and Maintenance Programs at Sanitary

        Sewer Collection Systems.” This CMOM Program Plan shall be submitted to EPA, with

        a copy to TCEQ, for EPA review and approval, within one and a half years of the

        Effective Date. Except as may otherwise be provided, each element of the CMOM

        Program Plan shall be implemented as soon as practicable and all elements shall be

        implemented no later than one year after receipt of EPA approval regarding the CMOM

        Program Plan. WCTS activities required under the CMOM Program Plan shall be

        coordinated with other activities of this Consent Decree as appropriate. The CMOM

        Program Plan shall include the following:

           a.      A Strategic Asset Management program to be implemented within two years

                   from the Effective Date. The Strategic Asset Management Program shall

                   include the City’s WCTS component and equipment inventory and shall

                   include information obtained during cleaning activities, condition and

                   capacity assessments and rehabilitation activities that are used to update asset

                   inventory. The City shall utilize this program to support the decision-making


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           process in prioritizing sewer basins for assessment and rehabilitation/renewal,

           replacement and consolidation.

     b.    Advanced Infrastructure Analytics Platform (AIAP). Within two years from

           the Effective Date, the City shall implement its AIAP. The AIAP integrates

           citywide wastewater system hydraulic models, infrastructure asset inventory

           and condition, historical Capital Improvement Plan (CIP), projected regional

           growth, and operational databases regularly maintained by the City. The

           integrated platform will be used to develop effective operational and CIP

           plans for wastewater infrastructure. It will also be used to establish interactive

           key performance indicators (KPIs) and management reports on demand. The

           AIAP tools include statistical analytical results from the wastewater

           infrastructure models with SCADA, level monitoring, flow monitoring, and

           rainfall data, and shall be used to identify, respond to, and help to prevent

           SSOs from occurring in the wastewater collection system. Upon full

           integration of capacity, condition and work order management systems in the

           AIAP, the needs for infrastructure assets (pipes and facilities) will be

           identified and prioritized for developing a balanced CIP and operation and

           maintenance plan/projects.

     c.    Program Cleaning. Program Cleaning is the process of routinely removing

           debris from the interior of the pipe. The City shall clean all Small Diameter

           Gravity Sewer Mains within the WCTS within 10 years from the Effective

           Date. All Large Diameter Gravity Sewer Mains within the WCTS shall be


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           inspected within 10 years from the Effective Date. The City shall clean each

           Large Diameter Gravity Sewer Segment that the City determines, based on

           inspection results and other analysis, to have a maximum depth of debris in

           any part of that Sewer Segment that exceeds 20 percent of the Sewer

           Segment’s height. After the initial 10-year cycle, the City shall perform

           program cleaning of no less than 50 percent of Gravity Sewer Mains and

           manholes within 15 years from the Effective Date.

     d.    Preventive Cleaning. Preventive Cleaning is the process of cleaning the same

           pipe segment more often than Program Cleaning due to a higher rate of debris

           accumulation. Preventive Cleaning shall target areas identified through

           analysis of the WCTS including reoccurrence of SSOs, SSO causes, and

           selection of areas with multiple FOG generators. The City shall annually

           clean no less than 275 miles of Small Diameter Gravity Sewer Mains in

           addition to Program Cleaning.

     e.    Early Year Targeted Cleaning. Within two years of the Effective Date, the

           City shall clean no less than 1,500 miles of Gravity Sewer as part of Early

           Year Targeted Cleaning. The Early Year Targeted Cleaning shall consist of

           Program Cleaning in areas that have experienced more than 10 SSOs per

           square mile as well as Preventive Cleaning. The City may count Early Year

           Targeted Cleaning to comply with the Program Cleaning and Preventive

           Cleaning requirements, as applicable.

     f.    Root Control. As part of the Gravity Sewer Main Condition Assessment


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           described under Paragraphs 25, 26 and 30 of this Consent Decree and CMOM

           activities, the City shall identify and expeditiously remove root intrusions to

           minimize hydraulic capacity loss and prevent future blockage. The City may

           remove roots through application of chemical root growth inhibitors or by

           mechanical means. In each Annual Report, the City shall describe its yearly

           root control activities, including a map identifying Sewer Segments where

           root control activities were conducted.

     g.    A FOG Program with the goal of eliminating FOG-related SSOs in the

           WCTS. The City has implemented and shall continue to implement its FOG

           Program that includes, at a minimum, the following elements related to FOG

           Generators:

             i.     Specific requirements for the installation and maintenance of FOG

                    interceptors at new commercial, institutional and industrial facilities

                    that discharge FOG to the WCTS. Specific requirements for the

                    installation and maintenance of FOG interceptors at existing

                    commercial, institutional and industrial facilities when those

                    facilities undergo modification(s) that trigger the local ordinance’s

                    permitting requirements;

             ii.    An ongoing FOG communication and response process that (1)

                    investigates FOG SSOs by engaging City departments or staff

                    responsible for FOG investigations or industrial pretreatment; (2)

                    identifies practicable remedial actions to be taken by the City or


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                    FOG Generators to address identified FOG discharges or locations

                    within the WCTS where FOG accumulation caused an SSO; and, (3)

                    facilitates communication and prioritization strategies between

                    different departments or staff responsible for implementing the FOG

                    program;

             iii.   A tiered FOG Generator interceptor inspection program based upon

                    compliance histories that requires routine internal inspection of FOG

                    interceptors no less often than once every three years. The City shall

                    also continue its practice of conducting sanitarian inspections of food

                    service establishments, which include review of FOG Generator

                    compliance documentation;

             iv.    Guidance and standards for FOG Generators to comply with local

                    FOG ordinances;

             v.     FOG program effectiveness metrics and measures that shall include

                    an analysis of FOG-related blockages and SSOs;

             vi.    FOG disposal manifest program to document transportation and

                    disposal of FOG;

             vii.   The ability to make all modifications to local regulations, including

                    Art. XI, Ch. 47 of the Code of Ordinances, Houston, Texas

                    (“Transportation and Treatment of Certain Wastes”), which includes

                    enforcement mechanisms and procedures for addressing non-

                    compliant FOG Generators;


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             viii.   Educational efforts aimed at FOG Generators and if appropriate,

                     residential customers of the Sewer System; and

             ix.     A list of FOG generators that discharge FOG into the WCTS that is

                     updated annually.

     h.    A list of categories of employees that require training and a list of specific

           training for each category of employee directly related to operation and

           maintenance of the WCTS, for the purpose of responding to and preventing

           SSOs, including identification of the types of training records that the City

           maintains and of the information management systems used to plan and

           document completed training.

     i.    The Parties acknowledge the City has authority to address Private Laterals

           that cause or threaten to cause an unauthorized discharge to the City’s MS4,

           the WCTS, or waters of the United States or waters in the State of Texas,

           pursuant to City Code chs.10 and 47.

     j.    To address a wastewater release that impacts or threatens to impact the City’s

           MS4 or waters of the United States or waters in the State of Texas from a

           Private Lateral caused by blockages, flow conditions, or other malfunctions of

           that Private Lateral of which the City has become aware, the City shall:

             i.      Provide either verbal information (if the owner of the Private Lateral

                     is present) or leave a “door hanger”-style written notice at the

                     property. The information whether written or verbal shall inform the

                     owner to contact a plumber to resolve the defective Private Lateral.


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             ii.     Houston Public Works (HPW), its responsible branch, department or

                     successor shall electronically notify the Houston Health Department

                     (HHD) of the defective Private Lateral.

             iii.    HHD shall dispatch an investigator to the location of the defective

                     Private Lateral. If the defective Private Lateral has not been

                     addressed by the owner when the HHD inspector conducts his/her

                     inspection, HHD shall inform the owner to hire a plumber to correct

                     the defective Private Lateral.

             iv.     HHD shall re-inspect to confirm that the defective Private Lateral

                     has been corrected by the owner. If the defective Private Lateral has

                     not been corrected, the City may pursue any of its enforcement

                     options allowed by law.

     k.    To address defective Private Laterals that are found to significantly contribute

           I/I to a capacity constraint, the City shall:

             i.      Provide either verbal information (if the owner of the Private Lateral

                     is present) or leave a “door hanger”-style written notice at the

                     property. The information, whether written or verbal, shall inform

                     the owner to contact a plumber to resolve the defective Private

                     Lateral.

             ii.     HPW shall electronically notify the City’s Building Code

                     Enforcement Branch (BCE), its responsible branch, department or

                     successor of the defective Private Lateral.


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                     iii.   BCE shall dispatch an investigator to the location of the defective

                            Private Lateral. If the defective Private Lateral has not been

                            addressed by the owner prior to the BCE investigator’s inspection,

                            BCE shall inform the owner to hire a plumber to correct the

                            defective Private Lateral.

                     iv.    BCE shall re-inspect to confirm that the defective Private Lateral has

                            been corrected by the owner. If the defective Private Lateral has not

                            been corrected, the City may pursue any of its enforcement options

                            allowed by law.

44.     The City has developed and begun to implement an SSO Response Plan (“SSORP”) to

        expedite the response to SSOs.

        a.     The SSORP includes the following objectives:

                i.     Response and halting SSOs as rapidly as practicable, including

                       Building/Private Property Backups. The City shall respond within an

                       average of four hours after it becomes aware of an SSO, but not longer

                       than eight hours;

               ii.     Appropriate response and remediation of SSOs to minimize potential

                       health hazards and adverse environmental impacts; and,

              iii.     Appropriate measures implemented to prevent SSO recurrence, including

                       identifying and mitigating the cause of the SSO.

        b.     The SSORP includes the following information:

                i.     A description of the actions the City will undertake to provide notice to


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               the public of each SSO from the WCTS when such notice is required by

               Permits or applicable law;

         ii.   A description of the actions the City will undertake to provide notice to

               any applicable government authorities of an SSO from the WCTS when

               such notice is required by Permits or applicable law;

        iii.   A description of procedures to minimize the volume of untreated

               wastewater discharging that is associated with an SSO;

         iv.   A description of procedures for responding to a Building/Private Property

               Backup, including:

                  1. A description of methods for communicating with customers

                      where Building/Private Property Back-ups have occurred;

                  2. A description of procedures for customers to report

                      Building/Private Property Backups; and

                  3. A description of procedures for customers to obtain assistance with

                      property clean-up.

       v.      Identification of location(s) within the service area of each Lift Station

               where SSOs are first likely to occur in the event of a failure of that Lift

               Station;

      vi.      A description of SSO response procedures that are specific to each Lift

               Station, including alternative pumping strategies, critical wet well levels

               and operation of emergency power system; and

      vii.     A description of procedures for responding to and resolving SSOs that


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                       occur at Gravity Sewers Mains or Force Mains.

45.     The City has developed certain SOPs for general operation and maintenance of

        components of the WCTS, including Gravity Sewer Mains, manholes, Lift Stations,

        Force Mains, and other major ancillary facilities. The City shall enhance existing and/or

        develop new SOPs as necessary to assist it with implementation of this Decree, including

        major work tasks required for the operation and maintenance of the WCTS related to the

        Decree as shown in the List of Houston SOPs Appendix F. If substantial updates to

        SOPs are made, the City shall submit, electronically or otherwise, such updated SOPs to

        EPA, with a copy to TCEQ, as part of the Annual Report. EPA reserves the right to

        comment on SOPs.

        Advanced Sewer System Monitoring

46.     The City shall expand its current network of approximately 300 manhole sewer level

        remote monitoring devices by completing installation of no less than 3,000 additional

        manhole sewer level remote monitoring devices across the WCTS within five years of the

        Effective Date. The devices shall monitor wastewater levels and shall be designed and

        capable of sending real-time alerts when specified thresholds are exceeded, thereby

        improving responsiveness and operations with the goal of preventing SSOs from

        occurring. The City shall maintain at least 3,000 remote monitoring devices for a period

        of four years after installation and shall evaluate the benefits of this technology and other

        remote wastewater detection technologies to increase efficiency in SSO prevention and

        hydraulic modeling efforts. After the evaluation, the City shall continue remote




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        monitoring of sewer levels at locations where it deems appropriate, with the goal of

        reducing SSOs.

                                      SECTION VI. CIVIL PENALTY


47.     Within 60 Days after the Effective Date of this Consent Decree, the City shall pay the

        sum of $4,400,000 as a civil penalty. Of this amount, $2,200,000 shall be payable to the

        United States as a civil penalty and $2,200,000 shall be payable to the State as a civil

        penalty as set forth below.

48.     In the event that full cash payment to the United States or the State is not made within 60

        Days after the Effective Date of this Consent Decree, the City shall pay to the United

        States interest on the balance due from the original due date to the date of full payment, at

        the rate calculated pursuant to 28 U.S.C. § 1961, and shall pay to the State interest on the

        balance due from the original due date to the date of full payment, at the rate calculated

        pursuant to Texas Finance Code § 304.003.

49.     Payment shall be made by FedWire Electronic Funds Transfer (EFT) to the U.S.

        Department of Justice in accordance with instructions to be provided to the City by the

        Financial Litigation Unit of the U.S. Attorney’s Office for the Southern District of Texas.

        At the time of payment, the City shall simultaneously send written notice of payment

        identifying the payment as a civil penalty and a copy of any transmittal documentation

        (which should reference DOJ case number 90-5-1-1-08687/1 and the civil action number

        of this case) to the United States in accordance with Paragraph 123 of this Decree

        (Notices).



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50.     The City shall make payment directed to Texas by this Consent Decree as follows: the

        City shall pay Texas by wire transfer to the Texas Comptroller of Public Accounts –

        Federal Reserve Clearing Account for the Office of the Attorney General:

 Financial Institution (short name):                   TX COMP AUSTIN
 Routing Number:                                       114900164
 Account Name:                                         Comptroller of Public Accounts
                                                       Treasury Operations
 Account Number to Credit:                             463600001
 Reference:                                            City of Houston, Texas
                                                       AG Case # CX3618358233
                                                       Priscilla M. Hubenak, Chief,
                                                       Environmental Protection Division
                                                       MC-066
 Attention                                             Office of the Attorney General, Kristy
                                                       Lerma, Financial: Rptg


51.     At the time of payment, the City shall send a copy of the wire transfer authorization form

        and the wire transaction record, together with a transmittal letter, which shall state that

        the payment is for the Civil Penalty and Attorney’s Fees owed pursuant to the Consent

        Decree in the United States et. al v. City of Houston, and shall reference the civil action

        number and Reference: AG # CX3618358233 to Texas in accordance with Section XVIII

        (Notices).

                                  SECTION VII. ATTORNEY’S FEES


52.     The City shall pay Texas $200,000 in attorney’s fees within 60 Days after the Effective

        Date of the Consent Decree. The City shall make full payment of this amount in

        accordance with Paragraphs 50 and 51 of this Consent Decree.




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                          SECTION VIII. REVIEW OF DELIVERABLES


53.     Each Deliverable is subject to review by EPA. For any Deliverables due to EPA under

        this Consent Decree, the City shall concurrently provide a copy of the Deliverable to

        TCEQ at the time that such Deliverable is submitted to EPA. Select Deliverables are

        subject to review and approval, as detailed in Paragraph 54 below. All other Deliverables

        are subject to review and comment, as detailed in Paragraph 55 below. Select

        Deliverables are subject only to EPA review, as detailed in Paragraph 56 below.

54.     Deliverables Subject to Review and Approval. The Capacity Remedial Measures Plan(s),

        the TCEQ Letter of Authorization request, the WWF Pilot Testing Result Report, the

        WWF Full Scale Treatment Plans, the Scott Street WWF Remedial Measures Plan, the

        Northside WWF Remedial Measures Plan, and the CMOM Program Plan shall be subject

        to the review and approval process described in Paragraph 57 below. During the review

        of the Capacity Remedial Measures Plan(s), EPA will consider all factors used by the

        City in the development of the Capacity Remedial Measures Plan(s).

55.     Deliverables Subject to Review and Comment. The Annual Reports shall be subject to

        Review and Comment, as detailed in Paragraph 58.

56.     Other Deliverables. All other Deliverables required under this Consent Decree, including

        Monthly SSO Summary Reports, and any substantial updates to SOPs for general

        operation and maintenance of the WCTS submitted as part of the Annual Reports, are

        subject to EPA review at its option.

57.     EPA Action on Deliverables Subject to Review and Approval. After review of any

        Deliverable that is required to be submitted pursuant to Paragraph 54 and after

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  consultation with TCEQ, EPA shall in writing: (i) approve the Deliverable, in whole or in

  part; (ii) approve the Deliverable upon specified conditions; (iii) disapprove the

  Deliverable, in whole or in part, providing comments identifying deficiencies and

  directing the City to modify the Deliverable, in whole or in part; or, (iv) any combination

  of the above.

  a.     Approved Deliverables. If a whole Deliverable is approved by EPA pursuant to

         Paragraph 57, the City shall take all actions required by the Deliverable in

         accordance with the schedules and requirements of the Deliverable as approved.

         If the Deliverable is approved only in part pursuant to Paragraph 57, the City

         shall, upon written direction from EPA, after consultation with TCEQ, take all

         actions required by the approved Deliverable that EPA, after consultation with

         TCEQ, determines are technically severable from any disapproved portions,

         subject to the City’s right to dispute severability, the specified conditions, or the

         disapproved portions, under Section XII (Dispute Resolution) of this Decree.

         Following EPA approval of any Deliverable or portion thereof, such Deliverable

         or portion thereof so approved shall be incorporated into, and become enforceable

         under, this Consent Decree.

  b.     Disapproved Deliverables. If the Deliverable is disapproved in whole or in part

         pursuant to Paragraph 57, the City shall, within 60 Days or such other time as

         EPA and the City agree to in writing, correct all deficiencies and resubmit to EPA

         the Deliverable, or disapproved portion thereof, for approval, in accordance with

         Paragraph 57, and subject to Subparagraph d. If the resubmission is approved in


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        whole or in part, the City shall proceed in accordance with Subparagraph d. For

        any Deliverable that is disapproved in whole or in part, EPA shall provide a

        written explanation of how the Deliverable does not meet the requirements of the

        Consent Decree.

  c.    Stipulated Penalties Accruing. Any Stipulated Penalties applicable to the original

        Deliverable, as provided in Paragraph 85 (Stipulated Penalties) of this Decree,

        shall accrue during the 60 Day period or other specified period, but shall not be

        payable unless the resubmitted Deliverable is untimely or is disapproved in whole

        or in part. If the original submission was so deficient as to constitute a material

        breach of the City’s obligations under this Decree, the stipulated penalties

        applicable to the original submission shall be due and payable notwithstanding

        any subsequent resubmission.

  d.    Resubmitted Deliverable. If a resubmitted Deliverable, or portion thereof, is

        disapproved in whole or in part, EPA, after consultation with TCEQ, may again

        require the City to correct any deficiencies, in accordance with this Subparagraph.

        If, upon resubmission, a Deliverable is disapproved or modified in whole or in

        part by EPA, after consultation with TCEQ, due to a material defect previously

        identified and not corrected, the City shall be deemed to have failed to submit the

        Deliverable timely and adequately unless the City invokes the dispute resolution

        procedures set forth in Section XII (Dispute Resolution), and (i) EPA agrees to

        modify their earlier position or (ii) the Court adopts the City’s position. If EPA’s

        disapproval is upheld by the Court, Stipulated Penalties shall accrue for such


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               violation from the date on which the initial Deliverable was originally required.

               Upon EPA’s approval of the City’s resubmitted Deliverable, that Deliverable will

               be incorporated into and become enforceable under this Consent Decree and shall

               be implemented by the City according to the approved schedule subject to the

               City’s right to invoke Dispute Resolution.

58.     Deliverables for Which EPA Provides Written Comments. EPA may choose to provide

        written comments on the Deliverables subject to Paragraph 55. If EPA provides

        comments that identify deficiencies in such a Deliverable, and EPA specifically requests

        a response from the City, then the City shall provide a written response to EPA within 60

        Days of receipt of such request.

59.     Public Document Repository. The City shall post to its website all final EPA-reviewed

        and/or EPA-approved plans, reports, or other submissions required by Section V

        (Compliance Requirements) and Section IX (Reporting Requirements). Each submission

        shall remain on the website or by link or other accepted method for at least three years.

                           SECTION IX. REPORTING REQUIREMENTS


60.     Provisions applicable to all Deliverables:

        a.     All Deliverables shall be certified in accordance with Paragraph 111

               (Certification) of this Consent Decree.

        b.     All Deliverables shall be submitted electronically in a searchable format.

        c.     All Deliverables shall be submitted to the persons designated in Paragraph 123

               (Notices) of this Consent Decree.

        d.     The reporting requirements of this Consent Decree do not modify in any way or

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               relieve the City of any reporting obligations required under the CWA or its

               implementing regulations or any other federal, state, or local law, regulation,

               permit or other requirement.

        e.     If a due date for an action or Deliverable falls on a Saturday, Sunday, or a

               Federal, State, or City holiday, then the required information or action is due on

               the next business day.

61.     Monthly SSO Reporting. Beginning 45 Days after the Effective Date, the City shall

        provide a monthly SSO summary report in tabular format addressing the SSOs that

        occurred the previous month and shall continue providing monthly SSO summary reports

        over the term of this Consent Decree. The monthly SSO summary reports shall be

        submitted within 30 Days of the end of each reporting month and shall be consistent with

        the monthly report provided to TCEQ so long as it includes the following for each SSO:

        a.     Location of the SSO by street address, asset identification number or any other

               appropriate method (e.g., by latitude and longitude);

        b.     SSO route including whether the SSO entered the storm sewer, drainage ditch,

               surface water (bayou), or was contained on site;

        c.     An estimate of the volume (in gallons) of wastewater lost in the SSO;

        d.     Description of the WCTS component from which the SSO occurred (e.g.,

               manhole, Gravity Sewer Main, pump station wet well);

        e.     Number of fish kill occurrences caused by SSOs, if any;

        f.     Cause(s) or suspected cause(s) of the SSO;




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        g.     Estimated date and time when the SSO began and stopped and the average SSO

               gallons per minute (gpm) discharged;

        h.     Description of corrective action taken to mitigate adverse impact of SSO;

        i.     Indication of notifications to the public and other agencies or departments, as

               required by law or regulation; and

        j.     Any report by the City asserting that an SSO, WWF effluent or WWTP effluent

               violation is not a violation pursuant to TWC Section 7.251.

62.     Annual Reports. On October 31 following each Fiscal Year over the term of this

        Consent Decree, and until this Consent Decree is terminated, the City shall submit to

        EPA, with a copy to TCEQ, an Annual Report. The Annual Report shall generally

        conform to the Annual Report Template provided in Appendix G, and contain all the

        information required under Paragraphs 11, 12-14, 16, 18-24, 25-38, 39-41, 43-44, 46, 63-

        74, 75-76, and 131. All Annual Reports shall be submitted to EPA for review and

        comment.

63.     SSO Reporting. A tabular or graphic summary of the following SSO information:

        a.     Total number of SSOs during the previous Fiscal Year and annual total number of

               SSOs for up to the previous 10 Fiscal Years after the Effective Date;

        b.     Total number of SSOs during the previous Fiscal Year categorized by cause, such

               as grease, roots, lift station failure, capacity constraint;

        c.     Total SSO discharge volume during the previous Fiscal Year and annual total

               SSO discharge volume for up to the previous 10 Fiscal Years after the Effective

               Date;


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        d.     Total number of media reports issued during the previous Fiscal Year;

        e.     Total number of locations where “repeat SSOs” occurred during the previous

               Fiscal Year (for purposes of this section, “repeat SSO” is defined as an SSO that

               occurred at the same Pipe Segment within the past 24 months) including the date

               of the last SSO that occurred at the same location; and

        f.     Any report by the City asserting that an SSO, WWF effluent or WWTP effluent

               violation is not a violation pursuant to TWC Section 7.251.

64.     Early Action Program. A tabular summary of the status of each Early Action Project as

        of the end of the Fiscal Year.

65.     CMOM - FOG Program. A tabular summary of the total number of permitted FOG

        Generators, FOG program interceptor inspections, number of FOG Generators that have

        not been inspected during the previous three Fiscal Years, and enforcement or

        compliance assistance actions taken during the previous Fiscal Year.

66.     CMOM - Sewer Cleaning. A tabular summary of total WCTS Small and Large Diameter

        Gravity Sewer Main miles, miles of Gravity Sewer Mains inspected and/or cleaned as

        part of Program Cleaning, miles of Gravity Sewer Mains cleaned as part of Preventive

        Cleaning, and percent of Small and Large Diameter Gravity Sewer Mains cleaned during

        the previous Fiscal Year. During the first two years of the Consent Decree, Early Year

        Targeted Cleaning results will also be reported in this section of the Annual Report.

67.     CMOM - Private Laterals. A tabular summary regarding Private Lateral wastewater

        releases that impact or threaten to impact the MS4 or waters of the United States or

        waters in the State of Texas due to blockages, flow conditions, or other malfunctions of


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        that Private Lateral. The tabular summary shall provide the following information

        regarding each Private Lateral addressed pursuant to Paragraph 43(j) and (k): location of

        Private Lateral and the date of the wastewater release. A second tabular summary shall

        provide the following: number of Private Laterals remediated as a result of a notification

        (verbal or written); number of Private Laterals remediated as a result of inspections

        conducted by HHD or BCE; number of Private Laterals remediated as a result of an

        assessment of a fine; number of Private Laterals remediated as a result of suspension of

        city water or sewer service; and number of Private Laterals not remediated despite City

        efforts.

68.     Capacity Assessment and Rehabilitation. Identify the status of and progress made in the

        previous year toward completing the remedial measures identified in the Capacity

        Remedial Measures Plan(s). A list of assets that meet the criteria specified in Paragraph

        13 of the Consent Decree regarding potential capacity constraints and specify the reason

        the location meets the criteria. A list and map of new areas with capacity constraints,

        remedial alternative analysis for each new area, remedial action taken or to be taken

        along with a timeline for completion of each remedial action. Identify all capacity-related

        Sewer Segments that were renewed or replaced in the previous year, all Sewer Segments

        that are scheduled for renewal or replacement in the following year, and provide a list of

        sanitary sewer system hydraulic models updated during the previous year.

69.     Condition Assessment and Rehabilitation. A tabular summary of Gravity Sewer Mains

        and manholes inspected with corresponding NASSCO grades (1-5), as well as any

        defects identified during inspections of Force Mains and Lift Stations; a list of identified


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        Category 4 and 5 Gravity Sewer Mains and manholes; and a tabular summary of the

        mileage of Gravity Sewer Mains and Force Mains and number of Lift stations to be

        inspected in the upcoming year.

70.     Completed Condition Remedial Measures. A tabular summary of condition remedial

        measures completed pursuant to Paragraph 38 during the previous Fiscal Year showing

        the following remediation figures: miles of Gravity Sewer Mains, number of manholes,

        miles of Force Mains, and number of Lift Stations.

71.     Completed Capacity Remedial Measures. A tabular summary of capacity remedial

        measures completed pursuant to Paragraphs 12, 13, and 14 during the previous Fiscal

        year showing the following remediation figures: miles of Gravity Sewer Mains, number

        of Force Mains, number of Lift Stations.

72.     WWTP Corrective Actions. A tabular summary of WWTP corrective actions scheduled

        and WWTP corrective actions completed pursuant to Paragraphs 40 and 41.

73.     Wet Weather Facilities. A summary of all activities performed in the previous Fiscal

        Year pursuant to Paragraphs 18 - 24 of the Consent Decree regarding the Wet Weather

        Facilities, including, as appropriate, a summary of pilot study activities, LOA activities,

        sampling results and analysis, status of Pilot Testing Result Report, status of Full-Scale

        Treatment Plan, and status of the Remedial Measures Plan. The City shall specify any

        non-effluent maintenance-related permit violations involving the WWFs. After any

        applicable deadline specified in Paragraphs 21 and 24, the City shall provide the number

        of discharges from the Scott Street WWF.




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74.     Inaccessible/nonexistent Sewer Assets. A list identifying assets within the Sewer System

        that the City was unable to inspect or clean because the asset was inaccessible,

        nonexistent, or not located.

75.     Modifications. A summary of written agreements pursuant to Paragraph 131 during the

        previous Fiscal Year.

76.     Standard Operating Procedures. Copies of SOPs that were substantively modified in the

        previous Fiscal Year, if any, as described in Paragraph 45 of the Consent Decree.

77.     The City shall not object to the authenticity of any certified Annual Report that it submits

        in any proceeding brought to enforce this Consent Decree.

                                SECTION X. STIPULATED PENALTIES


78.     The City shall be liable for stipulated penalties as specified in this Section for violations

        of the items listed below in this Section, upon demand. Stipulated penalties due and

        owing under this Paragraph shall be paid in the manner specified in Paragraphs 89-90

        below. Stipulated penalties for which a demand has been made and are due and owing

        shall be paid unless excused under Section XI (Force Majeure) or the terms of this

        Section.

79.      Failure to pay Civil Penalty. If the City fails to pay the civil penalty required under

        Section VI of this Decree when due, then stipulated penalties of $2,000 per Day may be

        assessed against the City by the Plaintiffs for each Day the payment is late.

80.     Failure to meet WWTP effluent limitations set in the City’s Permits. If the City exceeds

        the WWTP effluent limits set in its Permits, then the following stipulated penalties may



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        be assessed by Plaintiffs, except for permit #TX0096172 regarding the copper effluent

        limit, and permit #TX0105058 for two-hour peak flow:

               Effluent Limitation                             Penalty per Exceedance
             Daily effluent limitation                                 $1,000
       Seven-day average effluent limitation                           $2,000
        Monthly average effluent limitation                            $5,000



81.     Failure to meet a WWF non-effluent maintenance-related requirement set in the City’s

        Permits. If the City does not meet a WWF operational requirement for Outfall 002 set

        forth in TPDES/NPDES Permit Nos. TX0096172 or TX0105058, then Plaintiffs may

        assess a $1,000 stipulated penalty per exceedance or other failure (e.g., the City does not

        provide a minimum chlorine dosage, the City does not comply with requirement to drain,

        clean and temporarily remove the WWF from service within 48 hours after a discharge

        event).


82.     WWF Discharges that occur after a compliance deadline. In the event a WWF

        experiences a discharge after a compliance deadline specified in Paragraphs 21(a) and

        24(b) the following stipulated penalties may be assessed by Plaintiffs:

  WWF Discharge occurring after compliance              Penalty per WWF Discharge per Day
                      deadline
 1st year in which any such discharge occurs                           $20,000
 from that WWF
 2nd year in which any such discharge occurs                           $40,000
 from that WWF
 3rd year in which any such discharge occurs                           $60,000
 from that WWF
 4th and later years in which any such                                $100,000
 discharge occurs from that WWF




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83.      SSOs discharging into or adjacent to waters. For each SSO that discharges to either

         waters of the United States or into or adjacent to Waters in the State of Texas, the

         following stipulated penalties may be assessed by Plaintiffs.

                  If SSO occurs                               Penalty per SSO per Day

  Within four years from the Effective Date                              $500

  More than four years from the Effective                                $1,000
                   Date
 More than seven years from the Effective                                $2,500
                   Date
 More than 10 years from the Effective Date                              $3,000

84.      SSOs that do not reach into or adjacent to waters. For each SSO that does not reach

         either waters of the United States or into or adjacent to Waters in the State of Texas, the

         following stipulated penalties may be assessed by Plaintiffs.

                   If SSO occurs                               Penalty per SSO per Day

      Within five years from the Effective Date                            $300

 More than five years from the Effective Date                             $1,000

 More than nine years from the Effective Date                             $1,500

85.      Failure to submit timely and/or complete Deliverables. For each Day the City fails to

         submit and/or complete any Deliverables required under Section V of this Consent

         Decree by the specified due dates, stipulated penalties may be assessed by the Plaintiffs.

         If a due date falls on a Saturday, Sunday, Federal, State, or City holiday, the due date




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        shall be the following business day. The stipulated penalties for failure to meet each

        Deliverable submission date shall be as follows:

             Period of noncompliance                           Penalty per violation per Day
 1st to 30th Day                                                           $500
 31st to 60th Day                                                         $1,000
 61st Day to 90th Day                                                     $2,000
 Beyond the 90th Day                                                      $2,500


86.     Failure to implement and complete Compliance Requirements in Section V. The

        Plaintiffs may assess stipulated penalties as set forth below for each Day the City fails to

        satisfy any of the following remedial requirements: Early Action Projects referenced in

        Paragraph 11; capacity requirements referenced in Paragraphs 12, 13, 14 and 16;

        condition requirements referenced in Paragraphs 26, 30, 31, 32, 36 and 37; and CMOM

        requirements referenced in Paragraph 43(c), (d), and (e) (Program Cleaning, Preventive

        Cleaning and Early Year Targeted Cleaning). The stipulated penalties for failure to meet

        each remedial requirement shall be as follows:

 Period of noncompliance                            Penalty per Day

 Days 1-30                                          $1,000

 Days 30-60                                         $2,500

 Days 61-180                                        $3,500

 More than 180 Days                                   $4,500



87.     Stipulated penalties under this Section shall begin to accrue on the day after performance

        is due or on the day a violation occurs, whichever is applicable, and shall continue to

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        accrue until performance is satisfactorily completed or until the violation ceases.

        Stipulated penalties shall accrue simultaneously for separate violations of this Consent

        Decree. The City shall pay any stipulated penalty within 60 Days of receiving a written

        demand from the United States and/or the State. Prior to either Plaintiff making a written

        demand for stipulated penalties pursuant to this Paragraph, the Plaintiffs shall consult.

        Where the Plaintiffs jointly pursue stipulated penalties that accrue pursuant to any

        Paragraph(s) in this Section, the City shall pay 50 percent of the total penalty owed to the

        United States and the remaining 50 percent of the total penalty owed to Texas. Where

        only one Plaintiff, the United States or Texas, pursues stipulated penalties, only that

        Plaintiff shall recover the full amount of the penalty accrued pursuant to the Paragraph(s)

        invoked, and the Plaintiff not joining in the pursuit of stipulated penalties shall be

        deemed to have waived such penalties. The Plaintiff independently making a demand for

        payment of stipulated penalties shall concurrently send a copy of the written demand to

        the other Plaintiff.

88.     Stipulated penalties shall continue to accrue as provided in Paragraph 87 above, during

        any Dispute Resolution subject to the provisions set forth below, with Interest on accrued

        penalties payable and calculated at the rate established by the Secretary of the Treasury,

        pursuant to 28 U.S.C. § 1961, but need not be paid until the following:

        a.      If the dispute is resolved by agreement or by a decision of the United States

                and/or Texas that is not appealed to the Court, the City shall pay accrued penalties

                determined to be due and owing, together with Interest, to the United States




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                 and/or Texas within 60 Days of the effective date of the agreement or the receipt

                 of the United States’ or Texas’s written decision or order;

        b.       If the dispute is appealed by the City to the Court and the United States and/or

                 Texas prevails in whole or in part, the City shall pay all accrued penalties

                 determined by the Court to be due and owing, together with Interest, within 60

                 Days of receiving the Court’s decision or order, except as provided in

                 Subparagraph 88(c), below;

        c.       If the City appeals the District Court’s decision, the City shall pay all accrued

                 penalties determined to be due and owing, together with Interest, within 60 Days

                 of receiving the final non-appealable appellate court decision.

89.     Stipulated penalties due and owing to the United States shall, as directed by the United

        States, be paid by EFT in the amount due payable to the “U.S. Department of Justice,”

        referencing DOJ No. 90-5-1-1-08687/1 and the United States Attorney’s Office file

        number and delivered to the office of the United States Attorney, Southern District of

        Texas.

90.     Stipulated penalties due and owing to Texas shall be paid in the manner set forth and with

        the confirmation notices required in Paragraphs 50 and 51, except that the transmittal

        letter shall state that payment is for stipulated penalties and shall state for which

        violation(s) the penalties are being paid.

91.     If the City fails to pay stipulated penalties according to the terms of this Consent Decree,

        the City shall be liable for Interest on such penalties, as provided for in 28 U.S.C. § 1961,

        accruing as of the date payment became due.


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92.     Either the United States or Texas, or both, may, in the unreviewable exercise of each

        Plaintiff’s own discretion, reduce or waive stipulated penalties otherwise due to them

        pursuant to Paragraphs 79 (Failure to pay Civil Penalty), 80 (Failure to meet effluent

        WWTP limitations set in the City’s Permits), 81 (Failure to meet a WWF non-effluent

        maintenance-related requirement set in the City’s Permits), 82 (WWF Discharges that

        occur after a compliance schedule), 83 (SSOs discharging to waters of the United States

        or into or adjacent to Waters in the State of Texas), 84 (SSOs that do not reach waters of

        the United States or into or adjacent to Waters in the State of Texas), 85 (Failure to

        submit timely and/or complete Deliverables), and 86 (Failure to implement and complete

        Compliance Requirements in Section V) under this Consent Decree. Any such reduction

        or waiver shall only apply to stipulated penalties owed to the Plaintiff exercising the

        discretion allowed under these Paragraphs and shall not affect the right of the other

        Plaintiff to enforce the stipulated penalties provisions of this Section.

93.     Subject to the provisions of Section XVI of this Consent Decree (Effect of

        Settlement/Reservation of Rights), the stipulated penalties provided for in this Consent

        Decree shall be in addition to any other rights, remedies, or sanctions available to the

        United States and/or Texas for the City’s violation of this Consent Decree or applicable

        law. Where a violation of this Consent Decree is also a violation of the CWA or TWC,

        regulations promulgated under those Acts, the Permits, or state law, any statutory

        penalties due or owed by the City to a Plaintiff for any violation of law shall be reduced

        by the amount of all stipulated penalties paid by the City for the same violation under this

        Consent Decree.


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                                   SECTION XI. FORCE MAJEURE


94.     “Force Majeure” shall mean any event arising from causes beyond the control of the City,

        its contractors, or any entity controlled by the City that delays or prevents the

        performance of any obligation under this Consent Decree despite the City’s best efforts to

        fulfill the obligation. “Best efforts” include using efforts to anticipate reasonably

        foreseeable Force Majeure events and to address the effects of any such event (a) as it is

        occurring and (b) after it has occurred, such that the delay is minimized to the extent

        reasonably practicable. “Force Majeure” does not include the City’s financial inability to

        perform any obligation under this Consent Decree.

95.     The City shall provide notice to the United States and Texas orally or by electronic or

        facsimile transmission within 15 Days of when the City first knew of, or by the exercise

        of due diligence, should have known of, a claimed Force Majeure event. Within 30 Days

        thereafter or such other time as EPA, TCEQ, and the City agree in writing, the City shall

        provide in writing to EPA and TCEQ the following: an explanation and description of the

        reasons for the delay; the anticipated duration of any delay; all actions taken to prevent or

        minimize the delay; a schedule for implementing any measure to be taken to prevent or

        mitigate the delay or the effect of the delay; and the City’s rationale for attributing the

        delay to a Force Majeure event, if it intends to assert such a claim. Failure to comply

        with the requirements of this paragraph may at EPA’s and TCEQ’s option preclude the

        City from asserting any claim of Force Majeure. The City shall be deemed to know of

        any circumstance of which the City, its contractors, or any entity controlled by the City

        knew or, through best efforts, should have known.

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96.     If Plaintiffs agree that the delay or anticipated delay is attributable to a Force Majeure

        event, then the time for the City to perform the obligations under this Decree that are

        affected by the Force Majeure event will be extended by Plaintiffs by such time as is

        necessary to complete those obligations. An extension of time to perform the obligations

        affected by a Force Majeure event shall not, by itself, extend the time to perform any

        other obligation. Plaintiffs will notify the City in writing of the length of the extension of

        time, if any, for performance of the obligations affected by the Force Majeure event.

97.     If Plaintiffs do not agree that a Force Majeure event has occurred, or do not agree to the

        extension of time sought by the City, then Plaintiffs will issue a notice, in writing, to the

        City of Plaintiffs’ position that the delay or anticipated delay was not caused by a Force

        Majeure event or that Plaintiffs do not agree to the extension of time sought by the City.

98.     If the City elects to invoke the Dispute Resolution procedures set forth in the Decree, it

        shall do so no later than 30 Days after receipt of Plaintiffs’ notice sent under Paragraph

        97 above. In any such proceeding, the City shall have the burden of demonstrating, by a

        preponderance of the evidence that the delay or anticipated delay has been or will be

        caused by a Force Majeure event; the duration of the delay or the extension sought was or

        will be warranted under the circumstances; the City exercised best efforts to prevent or

        minimize the effects of the delay; and the City complied with the requirements of the

        preceding Paragraphs in this Section. If the City carries this burden, then the delay at

        issue shall be deemed not to be a violation by the City of the affected obligation of this

        Decree identified to Plaintiffs and the Court.




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                               SECTION XII. DISPUTE RESOLUTION


99.     Unless otherwise expressly provided for in this Consent Decree, the procedures of this

        section shall be the exclusive mechanism to resolve disputes arising under this Consent

        Decree.

100.    Informal Dispute Resolution. Any dispute subject to Dispute Resolution under this

        Consent Decree shall first be the subject of informal negotiations. The dispute shall be

        considered to have arisen when the City sends the United States and Texas a written

        notice of dispute, which may be sent by regular first-class mail, return receipt requested,

        and by electronic mail. Such notice of dispute shall state clearly the matter in dispute.

        The period of informal negotiations shall not exceed 45 Days from the date the City

        sends its notice of dispute, unless that period is modified by written agreement between

        the Plaintiffs and the City. During the period of informal negotiations:

        a.     With respect to disputes regarding force majeure under Section XI (Force

               Majeure) and termination under Section XXII (Termination), Plaintiffs shall

               consult about their position. The position Plaintiffs take in their written

               notification to the City as set forth in Section XI (Force Majeure) or Section XXII

               (Termination) will be the position of Plaintiffs in informal dispute resolution

               pursuant to this Paragraph, unless Plaintiffs mutually agree to modify that position

               and inform the City of their modified position on the dispute in writing. If the

               Parties cannot resolve a dispute by informal negotiations, then Plaintiffs will send

               the City formal written notice of conclusion of the informal negotiation period by

               electronic and certified mail, return receipt requested, and the position advanced

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        by Plaintiffs shall be considered binding unless, within 45 Days after the City’s

        receipt of the written notice of conclusion of the informal negotiation period, the

        City invokes formal dispute resolution procedures as set forth below in Paragraph

        101;

  b.    With respect to disputes regarding modification under Section XXI

        (Modification), the City shall provide written notice of the dispute and

        explanation of its position to Plaintiffs. Plaintiffs shall consult in an attempt to

        reach a joint position.

        i.     If Plaintiffs reach a joint position, the United States shall send Plaintiffs’

               written joint position to the City within 20 Days from the date the City

               submits its notice of dispute. If the Parties cannot resolve a dispute by

               informal negotiations, then the United States, after consulting with the

               State of Texas, shall send the City formal written notice of conclusion of

               the informal negotiation period by electronic and certified mail, return

               receipt requested, with copies to the State of Texas. The position of

               Plaintiffs shall be considered binding, unless the City invokes formal

               dispute resolution procedures as set forth in Paragraph 101 within 45 Days

               after the City’s receipt of written notice of conclusion of the informal

               negotiation period.

        ii.    If Plaintiffs do not reach a joint position, each Plaintiff shall send its

               written position regarding the dispute to the City, with a copy to the other

               Plaintiff, within 20 Days from the date the City submits its notice of


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                      dispute. If the Parties cannot resolve a dispute by informal negotiations,

                      then the United States, after consulting with the State of Texas, shall send

                      the City formal written notice of conclusion of the informal negotiation

                      period by electronic and certified mail, return receipt requested, with

                      copies to the State of Texas. Within 45 Days of receipt of the written

                      notice of conclusion of the informal negotiation period, the City shall

                      initiate the formal dispute resolution process specified in Paragraph

                      101(b), below by submitting its Statement of Position to Plaintiffs.

       c.     With respect to all other disputes under this Consent Decree, the United States

              shall, after providing Texas a reasonable opportunity for consultation, inform the

              City of the United States’ position. If the United States and the City cannot

              resolve a dispute by informal negotiations, then the United States will send the

              City formal written notice of conclusion of the informal negotiation period by

              electronic and certified mail, return receipt requested, and the position advanced

              by the United States shall be considered binding unless, within 45 Days after the

              City’s receipt of the written notice of conclusion of the informal negotiation

              period, the City invokes formal dispute resolution procedures as set forth in

              Paragraph 101.

101.   Formal Dispute Resolution. The City shall invoke formal dispute resolution procedures,

       within the time period provided in the preceding paragraph, by serving on Plaintiffs a

       written statement of position regarding the matter in dispute. The statement of position

       shall include any factual data, analysis, or opinion supporting the City’s position and any


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  supporting documentation relied upon by it. During the period of formal negotiations:

  a.     With respect to disputes regarding force majeure under Section XI (Force

         Majeure) and termination under Section XXII (Termination), the position

         Plaintiffs provided to the City pursuant to Subparagraph 100(a) shall be the

         position of Plaintiffs under this Paragraph, unless Plaintiffs mutually agree to

         modify their position. Plaintiffs shall consult and serve on the City Plaintiffs’

         Statement of Position within 90 Days after receipt of City’s Statement of Position.

         Plaintiffs’ Statement of Position shall include any factual data, analysis, or

         opinion supporting that position and any supporting documentation relied upon by

         Plaintiffs. Plaintiffs’ Statement of Position shall be binding on the City, unless the

         City files a motion for judicial review of the dispute in accordance with Paragraph

         102;

  b.     With respect to disputes regarding modification under Section XXI

         (Modification), the City shall provide to Plaintiffs its written Statement of

         Position regarding the dispute and shall include any factual data, analysis, or

         opinion supporting that position and any supporting documentation relied upon by

         the City. Plaintiffs shall consult in an attempt to reach a joint position.

         i.     If Plaintiffs reach a joint position, the United States shall serve on the City

                Plaintiffs’ Statement of Position within 90 Days after receipt of City’s

                Statement of Position with a copy to the State of Texas. Plaintiffs’

                Statement of Position shall include any factual data, analysis, or opinion

                supporting that position and any supporting documentation relied upon by


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               Plaintiffs. Plaintiffs’ Statement of Position shall be binding on the City,

               unless the City files a motion for judicial review of the dispute within 30

               Days of receipt of Plaintiff’s Statement of Position in accordance with

               Paragraph 102.

        ii.    If the Plaintiffs do not reach a joint position, each Plaintiff shall serve on

               the City and the other Plaintiff its Statement of Position within 90 Days

               after receipt of City’s Statement of Position with a copy to the other

               Plaintiff. Each Statement of Position shall include any factual data,

               analysis, or opinion supporting that position and any supporting

               documentation relied upon by the respective Plaintiff. Within 30 Days of

               receipt of Plaintiffs’ Statements of Position, the City shall file a motion for

               judicial review of the dispute in accordance with Paragraph 102.

  c.    With respect to all other disputes under this Consent Decree, the United States

        shall provide Texas a reasonable opportunity for consultation during the

        preparation of the United States’ Statement of Position. The United States shall

        serve on the City the United States’ Statement of Position within 90 Days after

        receipt of the City’s Statement of Position. The Statement of Position served by

        the United States shall include any factual data, analysis, or opinion supporting

        that position and any supporting documentation relied upon by the United States.

        The United States’ Statement of Position shall be binding on the City, unless the

        City files a motion for judicial review within 30 Days of receiving the United

        States’ Statement of Position, in accordance with Paragraph 102.


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102.   Judicial Dispute Resolution. The City may seek judicial review of the dispute by filing

       with the Court and serving on the United States and the State, in accordance with

       Paragraph 123 of this Consent Decree (Notices), a motion requesting judicial resolution

       of the dispute. The motion must be filed within 30 Days of receipt of the Plaintiffs’

       Statements of Position, pursuant to Paragraph 101. The motion shall contain a written

       statement of the City’s position on the matter in dispute, including any supporting factual

       data, analysis, opinion, or documentation, and shall set forth the relief requested and any

       schedule within which the dispute must be resolved for orderly implementation of the

       Consent Decree. Plaintiffs shall respond to the City’s motion as follows:

       a.     With respect to disputes regarding force majeure under Section XI (Force

              Majeure) and termination under Section XXII (Termination), Plaintiffs shall file

              their response to the City’s motion within the time period allowed by the Local

              Rules of this Court. Plaintiffs shall consult about their response. Unless Plaintiffs

              mutually agree to modify their position, the position provided to the City in their

              Statement of Position pursuant to Paragraph 101(a) shall be the position of the

              Plaintiffs under this Paragraph. The City may file a reply memorandum, to the

              extent permitted by the Local Rules or order of the Court;

       b.     With respect to disputes regarding modification under Section XXI

              (Modification), Plaintiffs shall consult in an attempt to reach a joint position.

              i.      If Plaintiffs reach a joint position, Plaintiffs shall file a joint response to

                      the City’s motion within the time period allowed by the Local Rules of

                      this Court. The City may file a reply memorandum, to the extent


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                      permitted by the Local Rules or order of the Court.

              ii.     If Plaintiffs do not reach a joint position, each Plaintiff shall file a

                      response to the City’s motion within the time period allowed by the Local

                      Rules of this Court. The City may file a reply memorandum, to the extent

                      permitted by the Local Rules or order of the Court.

       c.     With respect to all other disputes under this Consent Decree, the United States

              shall provide Texas a reasonable opportunity for consultation during the

              preparation of the United States’ response. The United States shall file its

              response to the City’s motion within the time period allowed by the Local Rules

              of this Court. The City may file a reply memorandum, to the extent permitted by

              the Local Rules or order of the Court.

103.   The invocation of dispute resolution procedures under this Paragraph shall not, by itself,

       extend, postpone, or affect in any way any obligation of the City under this Consent

       Decree, unless and until final resolution of the dispute so provides. Stipulated penalties

       with respect to the disputed matter shall continue to accrue from the first day of

       noncompliance, but payment shall be stayed pending resolution of the dispute as

       provided in Paragraph 88. If the City does not prevail on the disputed issue, stipulated

       penalties shall be assessed and paid as provided in Paragraph 88 (Stipulated Penalties).

104.   Standard of Review. Except as otherwise provided in this Consent Decree, in any dispute

       brought under this Section, the City shall bear the burden of demonstrating that its

       position complies with this Consent Decree. The Parties’ positions are reviewable only

       on the record of this dispute, including Statements of Position submitted by the Parties


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       pursuant to Paragraph 101. The following standard of review applies:

       a.     With respect to disputes involving modifications pursuant to Section XXI, the

              Party seeking the modification bears the burden of demonstrating that it is entitled

              to the requested modification in accordance with Federal Rules of Civil Procedure

              60(b).

       b.     With all other disputes brought under this Section, the City shall bear the burden

              of demonstrating that its position complies with this Consent Decree. The

              Parties’ positions are reviewable only on the record of this dispute, including

              Statements of Position submitted by the Parties pursuant to Paragraph 101. The

              Parties reserve the right to argue regarding the applicable standard of review.

                           SECTION XIII. RIGHT OF ENTRY AND
                       INFORMATION COLLECTION AND RETENTION

105.   The United States, the State, and their representatives, including attorneys, contractors,

       and consultants, shall have the right of entry to the WWTPs and any part of the WCTS

       covered by this Consent Decree, at all reasonable times, upon presentation of credentials

       to:

       a.     monitor the progress of activities required under this Consent Decree;

       b.     verify any data or information submitted to the United States or the State in

              accordance with the terms of this Consent Decree;

       c.     obtain samples and, upon request, splits of any samples taken by the City or its

              representatives, contractors, or consultants; and

       d.     assess the City’s compliance with this Consent Decree.

106.   Upon request, the City shall allow split or duplicate samples to be taken by EPA and the

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       TCEQ or their authorized representatives. Upon request, EPA and the TCEQ shall allow

       the City to take split or duplicate samples of any samples they take.

107.   Until five years after the termination of this Consent Decree, the City shall retain and

       preserve, and shall instruct its contractors and agents to retain and preserve, all non-

       identical copies of all records, documents and underlying data (including records,

       documents or data in electronic form) now in its or its contractors’ or agents’ possession

       or control, or that come into its or its contractors’ or agents’ possession or control, and

       that relate directly to the City’s Deliverables unless the underlying data has been

       provided to Plaintiffs previously. The City may seek a determination from EPA and

       TCEQ as to whether any particular document or data must be preserved pursuant to this

       Paragraph by submitting that document or data to EPA and TCEQ. This record retention

       requirement shall apply regardless of any corporate document-retention policy to the

       contrary.

108.   At the conclusion of the document retention period provided in the preceding Paragraph,

       the City shall notify the United States and the State at least 90 Days prior to the

       destruction of any records or documents subject to the requirements of the preceding

       Paragraph, and, upon request by the United States or the State, the City shall deliver any

       such records or documents to EPA or the TCEQ. The City may assert that certain

       documents, records, or other information are privileged under the attorney-client

       privilege or any other privilege recognized by federal law. If the City asserts such a

       privilege, it shall provide the following: (1) the title of the document, record, or

       information; (2) the date of the document, record, or information; (3) the name and title


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       of the author of the document, record, or information; (4) the name and title of each

       addressee and recipient; (5) a description of the subject of the document, record, or

       information; and (6) the privilege asserted by the City. No documents, reports, or other

       information created or generated pursuant to the requirements of this Consent Decree

       shall be withheld on the grounds they are privileged. However, nothing in this Consent

       Decree shall require the City to provide documents to Plaintiffs that are listed in a City

       privilege log for which the City can claim a privilege recognized by federal law until the

       matter is resolved by the Parties or the Court.

109.   This Consent Decree in no way limits or affects any right of entry and inspection, or any

       right to obtain information, held by the United States or the State, pursuant to applicable

       federal or state laws, regulations, or permits.

                           SECTION XIV. FAILURE OF COMPLIANCE


110.   The United States and the State of Texas do not, by consent to the entry of this Consent

       Decree, warrant or aver in any manner that the City’s compliance with any aspect of this

       Consent Decree will result in compliance with provisions of the CWA or TWC,

       regulations enacted pursuant to those Acts, or applicable state laws and regulations.

       Notwithstanding the United States’ or the State’s review and approval of any documents

       submitted to it by the City pursuant to this Consent Decree, the City shall remain solely

       responsible for compliance with the terms of the CWA, TWC and this Consent Decree.

                                  SECTION XV. CERTIFICATION


111.   In all Deliverables, notices, documents or reports submitted to the United States and State


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       pursuant to this Consent Decree, the City shall, by a City senior management official,

       sign and certify such notices, documents and reports as follows:

       I certify under penalty of law that this document and all attachments were prepared

       under my direction or supervision in accordance with a system designed to assure that

       qualified personnel properly gather and evaluate the information submitted. Based on my

       inquiry of the person or persons who manage the system, or those persons directly

       responsible for gathering such information, the information submitted is, to the best of

       my knowledge and belief, true, accurate, and complete. I am aware that there are

       significant penalties for submitting false information, including the possibility of fine and

       imprisonment for knowing violations.

       The certification requirement does not apply to emergency or similar notifications where

       compliance would be impractical.

112.   The City shall not object to the authenticity of any report, plan, notice or any other

       document prepared in accordance with this Consent Decree or the information contained

       in said reports in any proceeding to enforce this Consent Decree.

          SECTION XVI. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS


113.   This Consent Decree resolves the civil claims of the United States and Texas against the

       City for violations alleged in the Complaint filed in this action, through the Effective

       Date of this Consent Decree. Stipulated penalties shall apply pursuant to Section X

       (Stipulated Penalties) of the Consent Decree, specifically for effluent violations, pursuant

       to Paragraph 80, and SSO violations, pursuant to Paragraphs 83 and 84, that occur

       between the Date of Lodging of the Decree through the Effective Date.

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114.   The United States and Texas reserve all legal and equitable remedies available to enforce

       the provisions of this Consent Decree, except as expressly stated in Paragraph 113. This

       Consent Decree shall not be construed to limit the rights of the United States or Texas to

       obtain penalties or injunctive relief under the CWA, the TWC, or their implementing

       regulations, or under other federal or state laws, regulations, or permit conditions, except

       as expressly specified in Paragraph 113. The United States and Texas further reserve all

       legal and equitable remedies to address any imminent and substantial endangerment to

       the public health or welfare or the environment arising at, or posed by, Houston’s WCTS

       and WWTPs, whether related to the violations addressed in this Consent Decree or

       otherwise.

115.   In any subsequent administrative or judicial proceeding initiated by the United States or

       Texas for injunctive relief, civil penalties, or other appropriate relief relating to the Sewer

       System or Houston’s violations, Houston shall not assert, and may not maintain, any

       defense or claim based upon the principles of waiver, res judicata, collateral estoppel,

       issue preclusion, claim preclusion, claim-splitting, or other defenses based upon any

       contention that the claims raised by the United States or Texas in the subsequent

       proceeding were or should have been brought in the instant case, except with respect to

       claims that have been specifically resolved pursuant to Paragraph 113.

116.   This Consent Decree is not a permit, or a modification of any permit, under any federal,

       state, or local laws or regulations. The City is responsible for achieving and maintaining

       complete compliance with all applicable federal, State, and local laws, regulations, and

       permits; and the City’s compliance with this Consent Decree shall be no defense to any


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       action commenced pursuant to said laws, regulations, or permits except as a defense in

       connection with any third-party claim relating to or arising out of claims or violations

       alleged by Plaintiffs in the Complaint. Notwithstanding any other provision in this

       Consent Decree, the City may seek to offer as evidence its compliance with this Consent

       Decree in any third-party proceeding. Plaintiffs do not, by their consent to the entry of

       this Consent Decree, warrant or aver in any manner that the City’s compliance with any

       aspect of this Consent Decree will result in compliance with provisions of the CWA,

       TWC, regulations, the Permits, or state law.

117.   Nothing in this Consent Decree will preclude the City from raising defenses available

       under its Permits, including under TWC Section 7.251, or any renewals or modifications

       thereof in any such actions.

118.   Nothing in this Consent Decree limits the rights or defenses available under Section

       309(e) of the CWA, 33 U.S.C. §1319(e), in the event the laws of the State, as currently or

       hereafter enacted, may prevent the City from raising the revenue needed to comply with

       this Decree.

119.   This Consent Decree does not limit or affect the rights of the Parties against any third

       party, not party to this Consent Decree, nor does it limit the rights of any third party, not

       party to this Consent Decree, against the City, except as otherwise provided by law.

120.   This Consent Decree shall not be construed to create rights in, or grant any cause of

       action to, any third party not party to this Consent Decree.

121.   The Parties agree the Complaint and compliance with this Consent Decree constitute and

       establish diligent prosecution by the United States and the State of Texas under Section


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       505(b)(1)(B) of the CWA, 33 U.S.C. § 1365(b)(1)(B) and state law, of all matters alleged

       in the Complaint and addressed in this Consent Decree arising from the beginning of the

       applicable statute of limitations through the termination of this Consent Decree in

       accordance with Section XXII.

                                       SECTION XVII. COSTS


122.   The Parties shall each bear their own costs of litigation of this action, including attorneys’

       fees, except that Texas may collect its Attorney’s fees as set forth in Section VII of this

       Consent Decree, and Plaintiffs shall be entitled to collect the costs (including attorneys’

       fees) incurred in any action necessary to collect any portion of the civil penalties or

       stipulated penalties due but not paid by the City.

                                     SECTION XVIII. NOTICES


123.   Unless otherwise specified herein, whenever notifications, submissions, or

       communications are required by this Consent Decree, they shall be made in writing and

       addressed as follows:

To the United States:

Chief, Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice
Box 7611 Ben Franklin Station
Washington, D.C. 20044-7611
Re: DOJ No. 90-5-1-1-08687/1

Municipal Enforcement Branch Chief, Water Enforcement Division
Office of Enforcement and Compliance Assurance,
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW
Mail Code 2243A

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Washington, DC 20460

Associate Director, Water Enforcement
U.S. Environmental Protection Agency
Region VI
1445 Ross Avenue
Mail Code 6EN
Dallas, Texas 75202

To Texas:

Phillip Ledbetter
Environmental Protection Division, MC-066
Office of the Attorney General
P.O. Box 12548
Austin, Texas 78711-2548

Reference: AG # CX3618358233

       -AND-

James Sallans
Litigation Division, MC-175
Texas Commission on Environmental Quality
P.O. Box 13087
Austin, Texas 78711-3087


To the City of Houston:

City Attorney
City of Houston
900 Bagby Street
Houston, Texas 77002

       -AND-


City of Houston
Attn: Director, Houston Public Works
611 Walker St.
Houston, Texas 77002



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124.   Notices submitted pursuant to this Paragraph shall be deemed effective upon sending by

       electronic and certified mail, return receipt requested, unless otherwise provided in this

       Consent Decree or by mutual agreement of the Parties in writing.

125.   Any Party may, by written notice to the other Parties, change its designated notice

       recipient or notice address provided above.

126.   If the City annexes new assets into its WCTS during the term of the Consent Decree, it

       shall provide written notice to EPA and TCEQ under this Section within 45 Days. The

       Parties shall meet and confer within 45 Days to discuss and resolve all issues raised by

       the Parties related to annexation.

                                 SECTION XIX. EFFECTIVE DATE


127.   The Effective Date of this Consent Decree shall be the date upon which this Consent

       Decree is entered by the Court.

                         SECTION XX. RETENTION OF JURISDICTION


128.   The Court shall retain jurisdiction of this case until termination of this Consent Decree,

       for the purpose of enabling any of the Parties to apply to the Court for such further order,

       direction, or relief as may be necessary or appropriate for the construction or

       modification of this Consent Decree, or to effectuate or enforce compliance with its

       terms, or to resolve disputes in accordance with Section XII of this Decree (Dispute

       Resolution). The Court retains exclusive jurisdiction to enforce all matters under this

       Consent Decree.




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                                  SECTION XXI. MODIFICATION


129.   The terms of this Consent Decree, including any attached appendices, may be modified

       only by a subsequent written agreement signed by all the Parties. Where the modification

       constitutes a material change to this Decree, it shall be effective only upon approval by

       the Court. The Parties may by mutual agreement make non-material modifications to this

       Consent Decree.

130.   Any disputes concerning modification of this Decree shall be resolved pursuant to

       Section XII of this Decree (Dispute Resolution), provided that the Party seeking the

       modification pursuant to Paragraph 104(a) bears the burden of demonstrating that it is

       entitled to the requested modification in accordance with Federal Rule of Civil Procedure

       60(b).

131.   The City and Plaintiffs may by mutual agreement determine whether a proposed

       modification is a non-material change to the Consent Decree. Non-material changes to

       the Consent Decree (including Appendices) shall be made by written agreement of the

       Parties without approval by the Court. The City will request a non-material change at

       least 90 Days before the deadline for the specific Work at issue. The City shall provide

       sufficient information to the EPA about why and how it seeks the modification. Non-

       material changes include the examples provided below:

       a.       Changes to Appendices, guidelines or processes based upon implementation

                experience so long as the overall technical and schedule objectives are achieved.

       b.       Changes in Sewer System investigation and/or remediation techniques as a result

                of technology advancements or implementation experience so long as the specific

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        requirements set forth in Paragraphs 25 - 37 (WCTS Condition Assessment and

        Remediation) are met.

  c.    The City may reprioritize a Work Project under an EPA-approved Remedial

        Measures Plans under Section V (Compliance Requirements), provided the Work

        Project reprioritized ahead of other tasks offers substantially the same or better

        CWA compliance benefits as the Work Project reduced to a lower priority. The

        City may reprioritize Work Projects under EPA-approved Remedial Measures

        Plans where the City determines technical, health, safety or other reasons justify

        priority completion of an existing, particular Work Project or a new Work Project

        ahead of another task, provided such determination is provided to EPA in writing

        and submitted to EPA for review and approval at the time any change under this

        Paragraph is requested.

  d.    The City may, subsequent to EPA’s approval of a Remedial Measures Plan under

        Section V (Compliance Requirements), based on new or additional information,

        substitute a new Work Project or a redefined Work Project under an EPA-

        approved Remedial Measures Plan, provided that any such new or redefined

        Work Project offers substantially the same or better CWA compliance benefits.

  e.    The City and the Plaintiffs may agree to extend the schedule for completion of

        any Work Project for a period of up to 60 Days, provided any such extension does

        not extend the term of the Consent Decree.

  f.    Decrease in the annual Preventive Cleaning requirement, based upon

        demonstration by the City that there are not 275 miles of Small Diameter Gravity


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               Sewer Mains that meet the criteria for Preventive Cleaning.

                                  SECTION XXII. TERMINATION


132.   The City may serve upon the United States and the State a request for termination,

       certifying the City has completed performance of its compliance requirements under this

       Decree (Section V) together with all necessary supporting documentation such as

       references to the Annual Reports. This Consent Decree may be terminated when the

       Plaintiffs determine the City has completed performance of its compliance requirements

       (Section V) under this Decree, provided that the City has fulfilled all other obligations of

       this Decree, including payment of the Civil Penalty under Section VI of this Decree,

       Attorney’s Fees under Section VII and Stipulated Penalties that have been demanded and

       found to be due and owing as required by Section X of this Decree not waived or reduced

       by the Plaintiffs.

133.   Following receipt by the United States and the State of the City’s request for termination,

       the United States, the State and the City shall confer informally concerning the request

       and any disagreement that they may have as to whether the City has complied with the

       requirements for termination of this Consent Decree.

134.   If Plaintiffs agree the City has satisfactorily complied with the requirements for

       termination of this Consent Decree, the Parties shall submit, for the Court’s approval, a

       joint stipulation terminating the Consent Decree.

135.   If the Plaintiffs do not agree that the City has satisfactorily complied with the

       requirements for termination of this Consent Decree, they will notify the City in writing

       and the City may invoke Dispute Resolution under Section XII of this Decree. However,

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       the City shall not seek Dispute Resolution of any dispute regarding termination, under

       Section XII, until 120 Days after service of its request for termination.

136.   Partial Termination. The City may serve upon the United States and the State a request

       for Partial Termination of the Consent Decree with respect to following provisions:

       a.     Early Action Projects identified in Paragraph 11;

       b.     WWF requirements identified in Paragraphs 18 - 24, which includes either full

              implementation of the approved Wet Weather Facility Full-Scale Treatment Plan,

              pursuant to Paragraph 23 or elimination of discharges pursuant to Paragraph 21 or

              24.

137.   Any request for Partial Termination of the provisions identified in Paragraph 136 shall be

       subject to the same conditions, requirements and procedures applicable to any request for

       termination of the Decree as set forth in Paragraphs 132, 133, 134, and 135. The City

       shall remain subject to stipulated penalties for WWTP effluent limit exceedances under

       Section X.

                           SECTION XXIII. PUBLIC PARTICIPATION


138.   This Consent Decree shall be lodged with the Court for a period of not less than 30 Days

       for public notice and comment in accordance with 28 C.F.R. § 50.7 and TWC § 7.110.

       The United States and Texas each reserve the right to withdraw or withhold their consent

       if the comments regarding the Consent Decree disclose facts or considerations indicating

       that the Consent Decree is inappropriate, improper, or inadequate. The City consents to

       entry of this Consent Decree without further notice. The City hereby agrees not to

       oppose entry of this Consent Decree by the Court or to challenge any provision of the

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       Decree, unless one or more Plaintiffs has notified the City in writing that it no longer

       supports entry of the Decree.

                            SECTION XXIV. SIGNATORIES/SERVICE


139.   Each undersigned representative of the City, the State of Texas, and the Assistant

       Attorney General for the Environment and Natural Resources Division of the Department

       of Justice, certifies that he or she is fully authorized to enter into the terms and conditions

       of this Consent Decree and to execute and legally bind the Party he or she represents to

       this document.

140.   This Consent Decree may be signed in counterparts, and such counterpart signature pages

       shall be given full force and effect.

141.   The City hereby agrees to accept service of process by mail with respect to all matters

       arising under or relating to this Consent Decree and to waive the formal service

       requirements set forth in Rule 4 of the Federal Rules of Civil Procedure and any

       applicable Local Rules of this Court including, service of a summons.

                          SECTION XXV. INTEGRATION/APPENDICES


142.   This Consent Decree and all its attachments and appendices constitute the final,

       complete, and exclusive agreement and understanding among the Parties with respect to

       the settlement embodied in the Decree and supersedes all prior agreements and

       understandings, whether oral or written. No other document, nor any representation,

       inducement, agreement, understanding, or promise, constitutes any part of this Decree or

       the settlement it represents, nor shall it be used in construing the terms of this Decree.


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       The Appendices for this Consent Decree are as follows:

       Appendix A     List of WWTPs

       Appendix B     Early Action Projects

       Appendix C     Description of 9 Areas for Capacity Remedial Measures Plan(s)

       Appendix D     Sewer Basin and Lift Station Prioritization Matrices

       Appendix E     WWTP Violations and Associated Corrective Action

       Appendix F     List of SOPs

       Appendix G     Annual Report Template


                            SECTION XXVI. FINAL JUDGMENT


Upon approval and entry of this Consent Decree by the Court, this Consent Decree shall

constitute a final judgment between Plaintiffs and the City of Houston. The Court finds that

there is no just reason for delay and therefore enters this judgment as a final judgment under

Federal Rules of Civil Procedure 54 and 58.


Signed on April 1, 2021, at Houston, Texas.

                                              ______________________________________
                                                  United States District Court Judge
                                                          Charles Eskridge
                                                          United States District Judge




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WE HEREBY CONSENT to the entry of this Consent Decree, subject to the public notice and
comment provisions of 28 C.F.R. § 50.7:

FOR THE UNITED STATES OF AMERIC


~'~      ~~~
Date                              JE        B      ERT CLARK
                                   s is t     orney General
                                     v'onment and Natural Resources Division
                                   n ted States Department of Justice



$-~ - l`i                                   2         ~--         -._.._
Date                              NATHANIEL DOUGLAS
                                  Deputy Section Chief
                                  Environmental Enforcement Section
                                  Environment and Natural Resources Division
                                  United States Department of Justice




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WE HEREBY CONSENT to the entry of this Consent Decree, subject to the public notice and
comment provisions of 28 C.F.R. § 50.7:

FOR PLAINTIFF THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY:




Date                          ~   CH         E       R
                                  Dir o ,         fiance Assurance and Enforcement Division
                                  U.S. Environmental Protection Agency, Region VI
                                  1201 Elm Street, Suite 500
                                  Dallas, Texas 75270



        J                                                                    r^
Dae                               EFREN        ONEZ
                                  Assist~R~gional Counsel
                                  U.S. Environmental Protection Agency, Region VI
                                  1201 Elm Street, Suite 500
                                  Dallas, Texas 75270




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WE HEREBY CONSENT to the entry of this Consent Decree, subject to the public notice and
comment provisions of 28 C.F.R.. ~+ ~Q.7:

FOR PLAINTIFF THE UNITED STATES ENVIRONMCNTAL PROTECTION AGENCY:



 ~~~ 5
Date                              SUSAN ARKER B~DINE
                                  ASSISTANT ADMINISTRATOR
                                  Office of Enforcement and Compliance Assurance
                                  United States Environmental Protection Agency


 U
Dat                               ROSEMARIE KELLEY
                                  Office Director
                                  Office of Civil Enforcement.
                                  Office of Enforcement and Compliance Assurance
                                  United States Environmental Protection Agency



       ,~
D to                              MARK POL IN
                                  ~Jivision Dire
                                  Water Enforcement Division
                                  Office of Civil Enforcement
                                  Uf~ice of L'nforcement and Compliancy Assurance
                                  United States Environmental ProtectiUn Agency

 ~ ~ ~~                                                        ~
Date                              CAROL DE         RCO KING
                                  MORGAN ROG
                                  Water Enforcement Division
                                  Office of Civil Enforcement
                                  ~f~ice of Enforcement and Compliancy Assurance
                                  United States Enviranrrtental Protection Agency




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WE HEREBY CONSENT to the entry of this Consent Decree, subject to the public notice and
comment provisions of 28 C.F.R. § 50.7 and TWC ~ 7.110:

FOR PLAINTIFF STATE OF TEXAS:


                                         KEN PAXTON
                                         Attorney General of Texas

                                         JEFFERY MATEER
                                         First Assistant Attorney General

                                         DARREN L. MCCARTY
                                         Deputy Attorney General for Civil Litigation

                                         PRISCILLA M. HUBENAK
                                         Chief, Environmental Rrotection Division



July 29, 2019                             ~Gt ~(~~~~
Date                                     PHILLIP L DBETTER
                                         Assistant Attorney General
                                         State Bar Na. ?4041316
                                         Southern District No. 1401529
                                         Phi11ip.Ledbetfer@oag.texas.gov


                                         Office ofthe Attorney General of Texas
                                         Environmental Protection Division
                                         P. O. Box 12548, Capitol Station
                                         Austin, Texas 78711-2548
                                        (5l2) 475-4152
                                        (512)320-091.1 (Facsimile)
                                         ATTORNEYS FOR THE STATE OF TEXAS




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           WE HEREBY CONSENT to the entry ofthis Consent Decree, subject to the public notice and
           comment provisions of 28 C.F.R. § 50.7 and TVJC § 7:110:

           FOR THE-CITY OF HOUSTON,TEXAS:


                                                       ~_
                   Mayor
                   Date signed: ~"~~ ~~ ~              ,2019

           ATTEST/SE



                   City Secretary       S~~S G~,~
                      DoeuSipned by:


                      n.~
                   Director, ouston Public Warks



           APPROVED:
                       DocuSigned by:

                     ~~.~C C• (~.w~S
                   City Attorney




                   Date countersigned: -7'' G ~l" ~ 7



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                        APPENDICES A – G
                      TO CONSENT DECREE
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                             Appendix A

                           List of WWTPs
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          APPENDIX A – Houston Wastewater TPDES/NPDES Permits




                   NAME                     TPDES #      EPA ID #
             69th Street WWTP              10495-090    TX0096172
            Almeda Sims WWTP               10495-003    TX0034924
               Beltway WWTP                10495-111    TX0065307
            Cedar Bayou WWTP               10495-112    TX0103667
         Chocolate Bayou WWTP              10495-009    TX0063061
            Clinton Park WWTP              10495-010    TX0035106
             Easthaven WWTP                10495-065    TX0034886
            FWSD # 23 WWTP                 10495-016    TX0063053
            Forest Cove WWTP               10495-149    TX0115924
             Greenridge WWTP               10495-110    TX0026433
             Homestead WWTP                10495-023    TX0063029
           Imperial Valley WWTP            10495-101    TX0020478
      Intercontinental Airport WWTP        10495-078    TX0034916
          Keegans Bayou WWTP               10495-119    TX0098191
         Kingwood Central WWTP             10495-146    TX0066583
  Kingwood West WWTP (frm. MUD # 48)       10495-142    TX0088501
            MUD # 203 WWTP                 10495-133    TX0084875
   Metro Central WWTP (frm. 10495-136)     10495-152    TX0069736
              Northbelt WWTP               10495-122    TX0103721
              Northeast WWTP               10495-077    TX0063037
              Northgate WWTP               10495-100    TX0055310
              Northwest WWTP               10495-076    TX0063011
              Park Ten WWTP                10495-135    TX0026395
              Sagemont WWTP                10495-075    TX0063070
         Sims Bayou North WWTP             10495-002    TX0062201
         Sims Bayou South WWTP             10495-002    TX0105058
              Southeast WWTP               10495-079    TX0035009
             Southwest WWTP                10495-037    TX0062995
          Tidwell Timbers WWTP             10495-148    TX0101460
            Turkey Creek WWTP              10495-109    TX0035017
            Upper Brays WWTP               10495-116    TX0088153
            WCID # 111 WWTP                10495-095    TX0027201
            WCID # 47 WWTP                 10495-050    TX0063045
            WCID # 76 WWTP                 10495-150    TX0025291
            West District WWTP             10495-030    TX0063002
        West Lake Houston WWTP             14650-001    TX0128244
              Westway WWTP                 10495-139    TX0026875
              White Oak WWTP               10495-099    TX0057347
            Willowbrook WWTP               10495-126    TX0113131
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                             Appendix B

                        Early Action Projects
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                                   APPENDIX B – EARLY ACTION PROJECTS

Lift Station Early Action Projects
 Project Name    Project              Number of LS     Updated Timeframe
                 Description          Impacted         for Completion of
                                                       Construction
 Lift Station                         1                2020
 Renewal and
 Replacement

 Woodway #1      Lift station
                 upgrade to
                 receive flow from
                 Post Oak,
                 Stablewood,
                 Buckingham, and
                 Bayou Timber Lift
                 Station
 Lift Station                         2                Complete
 Renewal and
 Replacement

 Hunterwood      Replace of Lift
 MUD             Station

 Northbrook      Pump, mechanical
                 and structural
                 remediation.
 Lift Station                         3                2020
 Renewal and
 Replacement

 Greens Bayou    Rehab Lift Station
 Crossing #3

 Fir Ridge       Diversion to
                 Sunny Glen LS

 Parker Rd       Electrical and
                 odor control
                 upgrades




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                                APPENDIX B – EARLY ACTION PROJECTS

Lift Station                        4             2020
Renewal and
Replacement

Tidwell Road   Rehab Lift Station
#1
Iroquois       Rehab Lift Station
West Canino    Rehab Lift Station
Road

John Alber     Rehab Lift Station
Road
Lift Station                        2             2023
Renewal and
Replacement

MUD #237       Abandonment
               and flow diversion

MUD #159-      Abandonment
               and flow diversion

Lift Station                        3             2023
Renewal and
Replacement

MacGregor      Rehab Lift Station
Way North #1

Magnet         Replace Lift
               Station

Westpark #1    Rehab Lift Station




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                                 APPENDIX B – EARLY ACTION PROJECTS

Lift Station                         4             2022
Renewal and
Replacement

Findlay         Rehab Lift Station

Garden Villas   Rehab Lift Station

Goodyear        Rehab Lift Station

Reveille        Rehab Lift Station

Lift Station                         3             2022
Renewal and
Replacement

Interwood       Abandonment
                and flow diversion

MUD #266        Abandonment
                and flow diversion

Vickery         Abandonment
                and flow diversion
Lift Station                         5             2023
Renewal and
Replacement

East Park Ten   Replace Lift
                Station

Maxey Road      Rehab Lift Station

Mesa Drive      Rehab Lift Station

Westmont        Rehab Lift Station

North Shore     Upgrade from
                10.8 MGD to 12.8
                MGD




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                                   APPENDIX B – EARLY ACTION PROJECTS

Lift Station                            4            2023
Renewal and
Replacement

High Star        Replace lift station

WCID #78         Rehab lift station

Belle Park #1    Rehab lift station

WCID #94         Replace lift station

Lift Station                            2            2022
Renewal and
Replacement

Eddington        Replacement of
                 Lift Station
Brock
                 Submersible
                 Conversion

Lift Station                            4            2022
Renewal and
Replacement

Ayreshire        Rehab Lift Station

Brompton         Rehab Lift Station

Bradford         Rehab Lift Station

Kirby Drive #2   Rehab Lift Station

Lift Station                            2            2024
Renewal and
Replacement

Kirby Drive #1   Abandonment
                 and flow diversion

Westridge        New Regional Lift
                 Station and
                 abandonment and
                 flow diversion of
                 existing LS




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                                  APPENDIX B – EARLY ACTION PROJECTS

Lift Station                          1             2024
Renewal and
Replacement

Main Street S.   Abandonment
                 and flow diversion

Lift Station                          6             2022
Renewal and
Replacement

MacGregor        Rehab Lift Station
#2
                 Replace Lift
Eppes            Station

Kellogg          Rehab Lift Station

Scott #2         Rehab Lift Station

Glengyle         Rehab Lift Station

WCID #73         Rehab Lift Station

Lift Station                          6             2023
Renewal and
Replacement

Green River      Abandonment
Dr               and flow diversion

Bretshire #2     Rehab Lift Station
No. 2

Bayfield UD      Rehab Lift Station

Highland         Rehab Lift Station
Meadow

Hempstead        Rehab Lift Station
#1

Ferguson         Rehab Lift Station
Way




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                                  APPENDIX B – EARLY ACTION PROJECTS

Lift Station                           2            2021
Renewal and
Replacement

Willie          Replace Lift
                Station
Dockal
                Submersible
                Conversion

Clinton Drive                          1            2021
Lift Station
Improvement
s
                1. Replacement of
                electric
Clinton Drive   equipment
#2              including but not
                limited to the
                existing service
                feeders,
                transformers,
                MCC equipment,
                breakers, control
                panels,
                Scada/Instrument
                ation equipment.
                2. Provide
                provisions for a
                full redundant
                power source and
                associated
                transformers and
                switching
                components to
                operate lift station
                reliably at its full
                capacity.
                3. Update all
                electrical,
                instrumentation
                and Scada
                systems to the
                latest city of
                Houston design
                standards.




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                                 APPENDIX B – EARLY ACTION PROJECTS

Lift Station                         6             2024
Renewal and
Replacement

MacGregor       Rehab Lift Station
#3

Gilpin          Rehab Lift Station

West Orem       Rehab Lift Station

Quail View      Rehab Lift Station

Hillcroft       Rehab Lift Station

Wheeler         Rehab Lift Station

Lift Station                         5             2023
Renewal and
Replacement

Northboroug     Rehab Lift Station
h Dr. #1
                Rehab Lift Station
Northboroug
h Dr. #2        Rehab Lift Station

Old Katy Rd.    Rehab Lift Station

Richmond #1     Rehab Lift Station

Bonner Rd.

Lift Station                         2             2024
Renewal and
Replacement

Alief Village   Abandonment
                and flow diversion

Belle Park #2   Abandonment
                and flow diversion




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                                  APPENDIX B – EARLY ACTION PROJECTS

FY 19 Lift                           6              2026
Station
Renewal and
Replacement:

Bintliff        Condition
Gessner #1      assessment and
Gessner #2      evaluation for
Park Ten #2     possible rehab,
Farther Point   replacement,
Willowbend      relocation or
                consolidation.
FY 20 Lift                           5              2028
Station
Renewal and
Replacement

MUD #175-1      Rehab Lift Station

West Court      Rehab Lift Station
Dr

Sherwood        Rehab Lift Station
Oaks

N.E. Sludge     Rehab Lift Station
Transfer

Green           Rehab Lift Station
Dolphin
FY 20 Lift                           5              2028
Station
Renewal and
Replacement

Braeswood N     Rehab Lift Station

Post Oak #2     Rehab Lift Station

Bissonnet #4    Rehab Lift Station

Brooklet        Rehab Lift Station

Synott Rd. #1   Rehab Lift Station

FY 21 Lift      Condition            6              2029
Station         assessment and
Renewal and     evaluation for
Replacement     possible rehab,
                replacement,
                relocation or
                consolidation.

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                                APPENDIX B – EARLY ACTION PROJECTS

FY 21 Lift    Condition            5              2029
Station       assessment and
Renewal and   evaluation for
Replacement   possible rehab,
              replacement,
              relocation or
              consolidation.
FY 22 Lift    Condition            6              2030
Station       assessment and
Renewal and   evaluation for
Replacement   possible rehab,
              replacement,
              relocation or
              consolidation.
FY 22 Lift    Condition            6              2030
Station       assessment and
Renewal and   evaluation for
Replacement   possible rehab,
              replacement,
              relocation or
              consolidation.




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                                     APPENDIX B – EARLY ACTION PROJECTS

Force Main Early Action Projects

 Project Name    Project          Approximate    Updated
                 Description      Feet of Pipe   Timeframe for
                                                 Completion
                                                 (Fiscal Year)
 Force main                       2,411          2022
 Renewal and     18" FM
 Replacement     renewal with
                 CIPP
 Stroud

 Force Main                       21,741         2022
 Renewal and
 Replacement


 Bayfield        12,211 LF 12"
                 &14" CIPP or
                 HDPE lining

 Bretshire #2    3,118 LF of
                 24" CIPP or
                 HDPE lining

 Woodland        3,370LF of
 Ridge           10" CIPP or
                 HDPE lining

 Forest Shores   3,042LF of 8"
                 CIPP or HDPE
                 lining

 Force Main                       16,563         2021
 Renewal and
 Replacement

 Annunciation    Install new
                 13,192 LF of
                 16” FM
 Banner Road
                 Install new
                 2,961LF of
 Plum Creek      18” FM

                 Replace 410
                 LF of 6” FM

 Force Main                       2,810          2019
 Renewal and
 Replacement


 Woodsman        Replacement
 Trail           of 2,810 LF of
                 12” FM



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                                  APPENDIX B – EARLY ACTION PROJECTS

Project Name   Project         Approximate    Updated
               Description     Feet of Pipe   Timeframe for
                                              Completion
                                              (Fiscal Year)
Force Main                     11,997         2024
Renewal and
Replacement


Eldridge       Replace
Parkway        5,765 LF of
               12” FM with
               3,878 LF of
               24” gravity
               line
Beechnut
               Replace
               3,719 LF of
West Orem      12" FM

               Replace
               2,513 LF of
               20"FM

Force Main                     3,180          2022
Renewal and
Replacement

Golf Course    Replacement
               of 3,180 LF
               20” FM

Force main                     3,959          2022
Renewal and
Replacement

Tanya Circle   Replace
               3,284 LF of
               10” FM


Old Stone      Replace 675
Trail          LF of 8” FM

Force Main                     11,520         2023
Renewal and
Replacement

Sleepy         Replace
Hollow         11,000 LF 18”
               FM with 36”
               gravity line

               Replace 520
Telephone      LF 8” FM
Road #1



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                                    APPENDIX B – EARLY ACTION PROJECTS

Project Name    Project          Approximate    Updated
                Description      Feet of Pipe   Timeframe for
                                                Completion
                                                (Fiscal Year)
FY 19 Force                      TBD            2026
Main
Renewal:
                Evaluation
Bay Area        and possible
Belle Park #3   renewal or
Highland        replacement
Meadow          of all or part
                of the listed
                force mains.

Force Main                       TBD            2024
Renewal and
Replacement

Gulf Freeway    Evaluation
#2              and possible
                renewal or
                replacement
                of all or part
                of the listed
                force mains.
FY 21- Force    Evaluation       TBD            2028
Main            and possible
Renewal and     renewal or
Replacement     replacement
                of all or part
                of the listed
                force mains.

FY 22- Force    Evaluation       TBD            2029
Main            and possible
Renewal and     renewal or
Replacement     replacement
                of all or part
                of the listed
                force mains.

FY 23- Force    Evaluation       TBD            2030
Main            and possible
Renewal and     renewal or
Replacement     replacement
                of all or part
                of the listed
                force mains.




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                                         APPENDIX B – EARLY ACTION PROJECTS

Consolidation Early Action Projects

 Project Name      Project Description     Number of   Approximate    Updated
                                           LS          Feet of Pipe   project
                                           Impacted                   completion
                                                                      Timeframe
 37 MGD            Construct a regional    1           9,500 LF of    2023
 Northgate         lift station of                     24” and 30”
 Regional Lift     capacity 37 MGD                     FM
 Station and       and two force mains
 Force Main        to discharge
                   location at Green
                   Road and Hardy Toll
                   Road Intersection
 Diversion and     Divert the flow from    2           5,500 LF of    2023
 Abandonment       Kirkwood #3 LS to a                 42” sewer
 of Kirkwood       newly constructed
 #3 Lift Station   Harvest Moon by
                   gravity sewer.
                   Demolish Kirkwood
                   #3 LS. Upgrade on
                   Harvest Moon to
                   21.3 MGD
 West Belfort      rehabilitation of       2           N/A            2022
 No. 2 and         West Belfort #2 and
 Fondren           Fondren Meadow
 Meadow Lift       lift stations.
 Station Rehab


 Willow            rehabilitation of       1           N/A            2023
 Meadow            Willow Meadow, lift
 Rehab             station


 Construction      Replacement of          2           4,200 LF of    2022
 of Fountain       Westheimer #1 LS                    48” sewer
 View              by a new LS at
 (regional) Lift   Fountain View and                   4,900 LF of
 Station,          Skyline                             36” FM



 Facilities        Construct 60” sewer     1           5,700 LF of    2023
 Consolidation     along Westpark                      60” Sewer
 – Chelford        Drive from Alief
 City Diversion    Central LS site to
 Package 1 –       Dairy Ashford Road
 Segment 2




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                                        APPENDIX B – EARLY ACTION PROJECTS

Project Name     Project Description      Number of   Approximate    Updated
                                          LS          Feet of Pipe   project
                                          Impacted                   completion
                                                                     Timeframe
Chelford City    Construct 60” sewer      N/A         4,637 LF of    2022
Diversion        along Westpark                       60” sewer
Package 1–       Drive Drive from
Segment 1        Dairy Ashford to
                 Houston Center; tie
                 to 108” sewer
Abandonment      Gravity diversion of     2           2,100 LF of    2023
of Bering LS     the flow from San                    30”
and San          Felipe LS. and Bering                210 LF of
Felipe LS.       LS and divert to a                   36”
                 proposed 48-inch                     4,400 LF of
                 sewer to Fountain                    48”
                 View
Chelford City    Diversion of West        1           2,480 LF of    2024
Diversion        Hollow LS flow to                    15”
Package 2 –      the new Upper
West Hollow      Brays 60” tunnel                     7,255 LF of
LS flow                                               36”
diversion
Chelford City    Green Crest LS flow      1           6,825 LF of    2024
Diversion        diversion to Upper                   24”
Package 3 –      Brays
Green Crest      WWTP
LS flow
Diversion
North            Flow Diversion (36-      1           10,220 LF of   2026
Corridor         inch gravity sewer                   36”
Consolidation    line) from Imperial
Package 3        Valley WWTP to
Imperial         Northgate Regional
Valley WWTP      LS.
flow diversion
North            Flow diversion           1           11,758 LF of   2026
Corridor         through a 36”                        36”
Consolidation    Gravity Sewer from
Package 4        MUD #203 WWTP
MUD #203         to Northgate
WWTP flow        Regional LS.
diversion

Flow             Construct a new lift     1           7,665 LF of    2025
Diversion        station, force main,                 12” FM
from Tidwell     and gravity line for                 4,375 LF of
Timber to        flow diversion from                  30” sewer
FWSD 23          Tidewell Timber to                   3,075 LF of
                 FWSD 23.                             36” sewer




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                                        APPENDIX B – EARLY ACTION PROJECTS

Project Name     Project Description       Number of   Approximate    Updated
                                           LS          Feet of Pipe   project
                                           Impacted                   completion
                                                                      Timeframe
Force Main       Construct force           1           TBD            2025
from             main sewer for flow
Sagemont Lift    diversion from
Station to       Sagemont WWTP to
Southeast        Southeast WWTP
WWTP for the
flow diversion

Flow             Construct force           TBD         TBD            2028
Diversion        main or gravity line
from             for flow diversion.
Easthaven to
Southeast
WWTP
Easthaven,       Easthaven: rehab          4           8” FM 1,592    Complete
Gulfway, Gulf    Gulf Freeway #2:                      LF
Freeway #2,      rehab                                 6” FM 8,035
Howard Drive     Gulfway MUD: New                      LF
Lift Stations    trunk main to divert
                 flow to Metro                         30” sewer
                 Central                               6,866 LF
                 Howard Drive:
                 Abandonment
Consolidation    New trunk main to         3           N/A            2020
of Post Oak,     divert flow from
Stablewood,      Post Oak,
and              Stablewood and
Buckingham       Buckingham LS to
Lift Stations    Woodway #1 Lift
                 Station
Replacement      Harvestmoon: Lift         3           N/A            2020
and              station replacement
consolidation    Dairy Ashford #1:
of               New trunk main to
Harvestmoon,     divert flow to
Dairy Ashford    Harvestmoon lift
#1, and Hardy    station.
Temp. Lift       Hardy Temp:
Stations         Eliminate lift station.
Willow Run       W. Mount Houston:         3           N/A            Complete
WWTP, W.         New trunk main to
Mount            divert flow.
Houston, and     Rutherford: New
Rutherford       trunk main to divert
Lift Stations    flow.
                 Willow Run WWTP:
                 New trunk main to
                 divert flow to
                 DePries Lift Station




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                                       APPENDIX B – EARLY ACTION PROJECTS

 Project Name    Project Description     Number of   Approximate    Updated
                                         LS          Feet of Pipe   project
                                         Impacted                   completion
                                                                    Timeframe
 Wrightwood      Design of 84”           N/A         ~4,000 LF      2025
 Tunnel          tunnel to divert                    84” sewer
                 flow of existing 60”
                 sewer along
                 Wrightwood to
                 existing 90” tunnel.
 North           Design of a 4,000 LF    N/A         4,000 LF of    2020
 Corridor        of 54" (0.09% slope)                54" sewer
 Consolidation   sewer and 600 LF of
 Package 1A      78" (0.049%) sewer                  600 LF of
 Trunk Sewer     from Aldine-                        78" sewer
                 Westfield @ Rankin
                 Rd to HCFCD P155-
                 00-00
 North           Design of a 5,800 LF    N/A         5,800 LF of    2021
 Corridor        of 54" Trunk Sewer                  54" sewer
 Consolidation   from Hardy Airport
 Package 1B:     Connector @
                 HCFCD P155-00-00
                 to Greens Rd.to
                 receive the flow
                 from the dual FM
                 designed in R-536-
                 08-3
 Park Ten        Design of gravity       3           12,640 LF of   2023
 WWTP            sewers to divert the                24” and 30”
 Abandonmen      flow from Park Ten                  sewer
 t and Flow      WWTP to North
 Diversion to    Eldridge LS, which                  4,756 LF of
 Turkey Creek    pumps to Turkey                     24” FM
 WWTP            Creek



WWTP PRIORITIES

69th Street WWTP

Repair/Replacement of Centrifuges
The original twenty-one centrifuges started operation in 1987. Since that initial startup, two units have
been replaced in-kind. It is anticipated that, beginning in FY2022, the remaining original centrifuges will
be replaced in-kind with new units. Construction should be complete by FY2024.

Repair/Replacement of Sludge Dryers
The flash dryers also started operation in 1987. One dryer was overhauled in 2003 and it is anticipated
that key parts of the other six (6) units will be replaced. Rehabilitation of the dryers is anticipated to
begin in FY2021 and be complete by FY2026.

New Cloth Media Filters
New cloth media filters will be installed, providing greater hydraulic capacity while not requiring
replacement of the filter structure. The filters will be procured in fiscal year 2019. Construction is
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                                  APPENDIX B – EARLY ACTION PROJECTS

scheduled to be complete by the end of FY2023.


Upper Brays WWTP
Work at the Upper Brays WWTP to repair the aeration system at aeration basin #3 is completed; diffuser
replacement in basin #1 and #2 is in progress. Construction is scheduled to be complete by FY2019.

Other WWTPs
There are other plants which have had effluent or other issues which will be addressed by priority
projects. These WWTPs, and the proposed projects, are identified in the following table:

WWTP Early Action Projects

 WWTP                   Project                       Completion
                                                      Date
 Almeda Sims            Blower Replacement &          FY 2024
                        Addition of Clarifier No. 6
 Greenridge             Basin Cleaning                FY 2021
 Keegans Bayou          Grit Removal System           FY 2021
                        Improvements
                        Blower Improvements           FY 2020
                        Disinfection                  FY 2020
                        Improvements
                        Clarifier Rehabilitation      FY 2020
 Metro Central          Blower Improvements           FY 2021
                        Clarifier Rehabilitation
 Southwest              Purge Blower, Mixer and       FY2021
                        Chlorine Contact Basin
                        Improvements
 Kingwood Central       Post-aeration basin           Being re-
                        modifications                 evaluated due
                                                      to Harvey
                                                      damage.
 FWSD 23                Chlorine Contact Basin        Being re-
                        Improvements                  evaluated due
                                                      to Harvey
                                                      damage.
 Westway                Clarifier Improvements        FY 2021




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                             Appendix C

                    Description of 9 Areas for
                Capacity Remedial Measures Plan(s)
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Known Capacity Constraints (Wet Weather SSO FY16 to FY18 Evaluation)




                HCFCD
Area                                                                                   Area 1
                Raingage
Area 1          RG 1680

Area 2          RG 560

Area 3          RG 2220                                     Area 2                      Area 8

Area 4          RG 400                                         Area 3
                                                                           Area 5
Area 5, 6 & 7   RG 410     Area 9
                                                                             Area 6
Area 8          RG 2210                                                           Area 7
                                                                Area 4
Area 9          RG 465


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                           Area 1




                                                                           Appendix C ‐ Page No: 2
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                           Area 2




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                           Area 3




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                           Area 4




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                           Area 5




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                           Area 6




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                           Area 7




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                           Area 8




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                           Area 9




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                             Appendix D

        Sewer Basin and Lift Station Prioritization Matrices
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Sewer Basin Prioritization:



                                   Relative Weightage for Different Parameters
                                        Used for Sewer Basin Prioritization
                     Regulatory                                         Level of Service
  Level 1
 Relative                60%                                                 40%
 Weights
                                                                  Repeat
            RSSO      Public SSO      Private SSO   Almost SSO               Stoppage   Repeat Odor   Odor
                                                                 Stoppage
  Level 2
 Relative   50%         40%              10%             40%      30%         15%          10%        5%
 Weights




                                                     1
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                                               Scoring Criteria for Sewer Basin Prioritization Parameters
                                                                           (Score: 0 to 5, 5 being the worst)
S. N.   Parameter               5                          4                          3                         2                         1                       0
        Repeat SSO    Normalized RSSO Count      Normalized RSSO count     Normalized RSSO count     Normalized RSSO count      Normalized RSSO count
 1                            > 9.400               > 4.050 to 9.400          > 1.885 to 4.050          > 1.130 to 1.885           > 0.200 to 1.130
                                                                                                                                                              RSSO = 0
        (RSSO)


                      Normalized Public SSO      Normalized Public SSO      Normalized Public SSO     Normalized Public SSO     Normalized Public SSO
 2      Public SSO       count > 9.570           count > 5.345 to 9.570     count > 2.738 to 5.345    count > 1.524 to 2.738     count > 0 to 1.524
                                                                                                                                                         Public SSO count= 0



                      Normalized Private SSO     Normalized Private SSO     Normalized Public SSO     Normalized Public SSO     Normalized Public SSO
 3      Private SSO      count > 10.850          count > 6.537 to 10.850    count > 3.665 to 6.537    count > 1.920 to 3.665     count > 0 to 1.920
                                                                                                                                                         Private SSO count= 0



                      Normalized Almost SSO      Normalized Almost SSO     Normalized Almost SSO      Normalized Almost SSO     Normalized Almost SSO
 4      Almost SSO        count > 4.265          count > 3.412 to 4.265    count > 2.439 to 3.412     count > 1.813 to 2.439    count > 0.210 to 1.813
                                                                                                                                                           No Almost SSO



        Repeat         Normalized Value >      Normalized Value > 45.200     Normalized Value        Normalized Value > 9.930    Normalized Value >
 5                          79.600                     to 79.600             > 20.850 to 45.200             to 20.850               0.670 9.930
                                                                                                                                                         No Repeat Stoppage
        Stoppage

                       Normalized Value >       Normalized Value >21.150      Normalized Value       Normalized Value > 6.030    Normalized Value >
 6      Stoppage            33.400                     to 33.400              > 11.940 to 21.150            to 11.940              0.470 to 6.030
                                                                                                                                                            No Stoppage


                        Normalized Value        Normalized Value > 4.200      Normalized Value       Normalized Value > 1.953    Normalized Value >
 7      Repeat Odor         >9.450                      to 9.450              > 2.730 to 4.200               to 2.730              0.450 to 1.953
                                                                                                                                                           No Repeat Odor


                        Normalized Value        Normalized Value > 5.355      Normalized Value       Normalized Value > 1.702    Normalized Value >
 8      Odor                >8.670                      to 8.670              > 3.082 to 5.355               to 3.082              0.470 to 1.702
                                                                                                                                                         No Odor Complaint




                                                                                 2
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Lift Station Prioritization (Risk‐based):

                Risk Score = Likelihood of Failure (LOF) x Consequence of Failure (COF)


                                          Scoring Criteria for LOF Parameters (for Lift Station Prioritization)
                                                                          (Score: 1 to 5, 5 being the worst)
        Likelihood of    Relative
S. N.
        Failure (LOF)
                                                5                    4                      3                        2                      1
                        Weight (abs)
 1      Age                  3              >= 31 yrs.         20 to 30 yrs.           15 to 19 yrs.            11 to 14 yrs.         10 yrs. or less

        Structural                     Very Poor/ Require      Poor/ Require         Moderate/ Require
 2                           2                                                                              Good/ Minor Defects    Excellent/ Very Good
        Condition                        Replacement           Rehabilitation     Significant Maintenance
        Mechanical                     Very Poor/ Require      Poor/ Require         Moderate/ Require
 3                           4                                                                              Good/ Minor Defects    Excellent/ Very Good
        Condition                        Replacement           Rehabilitation     Significant Maintenance
        Electrical                     Very Poor/ Require      Poor/ Require         Moderate/ Require
 4                           3                                                                              Good/ Minor Defects    Excellent/ Very Good
        Condition                        Replacement           Rehabilitation     Significant Maintenance
        Capacity                       Capacity Inadequate                                                                          Capacity adequate
 5                           2
        Limitation                        @ 10K GPAD                                                                                  @ 10K GPAD

 6      Site Property        1              High Risk                                                                                   Low Risk

        Facility
 7                           1              High Risk                                                                                   Low Risk
        Building

 8      Accessibility        1              High Risk                                                                                   Low Risk

 9      FIRM Capacity        1             FC > 5 MGD        FC >2.25 to 5 MGD     FC >0.5 to 2.25 MGD      FC > 0.25 to 0.5 MGD     FC <= 0.25 MGD

 10     Design Safety        1              High Risk                                                                                   Low Risk

 11     Flood Zone           1            in Floodway           in 100‐yr FP                                    in 500 yr FP            In Zone X



                                                                      3
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                                             Scoring Criteria for COF Parameters (for Lift Station Prioritization)
                                                                                (Score: 1 to 5, 5 being the worst)
S.   Consequence            Relative
N.   of Failure (COF)
                                                   5                       4                         3                         2                       1
                           Weight (abs)
1    Public Disruption          1             SA >580 ac            SA=> 281 to 580           SA=> 141 to 280           SA=> 61 to 140              SA<= 60

     Customer Odor                        No of odor complaint   No of odor complaint =    No of odor complaint =    No of odor complaint     No of odor complaint
2                               1
     Complaints                                   =>7                      6                       4 to 5                    =3                       <=2
     Number         of
3    Upstream      Lift         1           No of US LS =>2                                    No of US LS =1                                    No of US LS =0
     Stations
     Work       Order                      No. of WO in 3‐yrs    No. of WO in 3‐yrs =16    No. of WO in 3‐yrs =14     No. of WO in 3‐yrs       No. of WO in 3‐yrs
4                               3
     History                                      =>18                    to 17                     to 15                  =12 tp 13                  <12
     Lift      Station                     No. of SSO in 3‐yrs   No. of SSO in 3‐yrs =11   No. of SSO in 3‐yrs = 8   No. of SSO in 3‐yrs =5
5                               3                                                                                                             No. of SSO in 3‐yrs<5
     Related SSOs                                 =>14                    to 13                     to 10                     to 7

6    Repair Cost                2           Motor HP =>120        Motor HP >50 to 119       Motor HP >20 to 49        Motor HP > 8 to 19         Motor HP <=8

7    Retention Time             3               T<5 hrs              T= 5 to 10 hrs           T= 11 to 16 hrs           T= 17 to 71 hrs            T=>72 hrs

8    Critical Industries        1                  >3                                              2 to 3                                            0 to 1
     Elimination/
9    Consolidation              1                 High                                            Medium                                              Low
     Potential




                                                                            4
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                             Appendix E

        WWTP Violations and Associated Corrective Action
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Plant Greenridge
                   Non-Compliance
Permit Parameter       Date(s)                                      Initial Root Cause Assessment                                                     CORRECTIVE ACTION
                      8/26/2017
       2‐hr peak      8/28/2017        Hurricane Harvey related. The region experienced extreme rainfall due to Hurricane              Operations personnel made process adjustments, as conditions allowed, to maximize
                      8/27/2017        Harvey. Ten inches of rain were recorded at the WWTP on August 26, 2017.                        treatment.
                                       During the heavy rainfall of 3.27 inches on April 17, 2015, a sudden hydraulic surge was        Operations staff is closely monitoring the plant and making process adjustments, as needed.
                                       created through the plant, due to the sudden rise in the flow (18 mgd). This caused solids
        CBOD5         04/17/2015
                                       to build up in the clarifiers and escape with the effluent, which contributed in the CBOD-5
                                       excursion.
                                       Insufficient bleach feed in the system during an abnormal high flow at the time of              Work order # 1122347 was created for the chlorination group to thoroughly inspect the
                      05/13/2015       sampling. Chlorine deficiency in the contact basin resulted in elevated E. coli bacteria in     chlorination system to ensure proper operation.
                                       the effluent.
                                       Undetermined. Both the operator logs and SCADA trends indicated that the chlorine            Work order # 1134273 was created for the chlorination group to evaluate the chlorination
                      06/18/2015       residual and effluent flow were variable, but the chlorine residual was above 1.0 mg/L prior system to ensure proper operation.
                                       to and at the time of sample collection.
                                       Undetermined. Chlorine residual by grab sample and analyzer indicated that the plant was Work order # 1134273 was created for the chlorination group to evaluate the chlorination
                      07/01/2015       in compliance.                                                                           system to ensure proper operation.
        E. coli
                                       Undetermined. SCADA trends indicate that the residual was 1.75 mg/L at the time of
                       3/3/2016        sampling.                                                                             Chlorination system was assessed under work order # 1233658
                                       Equipment failure resulted in insufficient chlorination to properly disinfect the
                      12/21/2016
                                       effluent.                                                                             The chlorination group troubleshooted the chlorine monitoring system.
                                       The disinfection system was not maintaining an adequate chlorine residual at the time
                      9/27/2017
                                       of sample collection.                                                                 The chlorination group repaired the disinfection system.

                      8/29/2016        The return sludge pumps malfunctioned, causing inadequate return of sludge to the               All return sludge pumps were immediately restored back to service under work orders
                                       process and an elevated ammonia concentration in the effluent.                                  1231783 and 1237180.
                                       Clogged return telescopes caused a deficiency of RAS in the process, disrupting the             The return telescope cleaning schedule was revised to include more frequent monitoring
                       4/2/2018
                                       complete treatment of ammonia.                                                                  and cleaning.
        NH3‐N
                                       Combination of heavy rain and multiple flow restrictions in the clarifiers. According to the    Work order # 1087159 was created to remove all trash and debris from clarifier inlets and
                                       rain gauge at the WWTP, it rained 1.10 inches on 1/22/2015 and caused a sustained flow          center wells. The situation corrected itself once flow subsided.
                                       of 10 mgd for over 4 hours. The hydraulic surge due to the wet weather caused debris to
                      01/22/2015
                                       plug the inlets and center wells of the clarifiers. This caused solids to build up and escape
                                       with the effluent, and resulted in a high TSS concentration.

                                       Combination of heavy rain and multiple flow restrictions in the clarifiers. According to Work order # 1087159 was created to remove all trash and debris from clarifier inlets and
                                       the rain gauge at the WWTP, it rained 1.10 inches on 1/22/2015 and caused a                center wells. The situation corrected itself once flow subsided.
                                       sustained flow of 10 mgd for over 4 hours. The hydraulic surge due to the wet weather
                    1/18-1/24/2015     caused debris to plug the inlets and center wells of the clarifiers. This caused solids to
                                       build up and escape with the effluent and resulted in a very high TSS concentration on
                                       January 22, 2015, which affected the calculated 7-day average concentration.

                                       All lift station pumps came on during the heavy rainfall of 3.27 inches on April 17, 2015, Operations staff is closely monitoring the plant and making process adjustments, as needed.
                                       resulting in a flow increase to 18 mgd. This apparently reduced detention time, allowing
                      04/01/2015
                                       solids to build up in the clarifiers that escaped with the effluent. This increased the TSS
                                       daily average above the permitted limit.
                                       During the heavy rainfall of 2.5 inches on April 16, 2015, a sudden hydraulic surge was     Operations staff is closely monitoring the plant and making process adjustments, as needed.
                      04/16/2015       created through the plant, due to the sudden rise in the flow (>15 mgd). This caused solids
                                       to build up in the clarifiers and escape with the effluent.
                                       During the heavy rainfall of 3.27 inches on April 17, 2015, a sudden hydraulic surge was        Operations staff is closely monitoring the plant and making process adjustments, as needed.
                      04/17/2015       created through the plant, due to the sudden rise in the flow (18 mgd). This caused solids
                                       to build up in the clarifiers and escape with the effluent.
                                       Heavy rainfall of 3.27 inches on April 17, 2015, and 2.5 inches on April 16, 2015,              Operations staff is closely monitoring the plant and making process adjustments, as needed.
                                       created hydraulic surges through the WWTP. Solids built up in the clarifiers and
         TSS       4/12 TO 4/18/2015   escaped with the effluent, leading to TSS exceedance for two days. The high TSS
                                       concentrations for two consecutive days affected the calculated 7-day average
                                       concentration.
                                       Clarifier issues were caused by debris build up in the inlet of # 3 clarifier, increasing flow Work orders have been submitted to clean the inlets and center wells of the clarifiers.
                                       toward the smaller clarifiers (# 1 and 2). Some short circuiting occurred, allowing a high     (#1083298, #1083490, #1087159)
                                       rate of flow to reach the weirs prior to settling. Severe thunderstorms produced 3.20 inches
                      05/12/2015
                                       of rain, which may have contributed to the problem. These factors allowed solids to
                                       escape over the weirs and caused the TSS violation.



                                       A combination of high solids in the plant and problems with the lift station caused
                       2/8/2016
                                       elevated TSS in the effluent. Rainfall may have also contributed to the problem. On
                                       January 8, 2016, 0.76 inches of rain were recorded at the WWTP.                                 Operations is working diligently to remove excess solids from the plant.
                                       A sudden surge of flow, created when the lift station pumps were reprimed, caused
                       5/2/2017        solids to be pushed out of the clarifier, into the chlorine contact basin, and out the          The operator has been retrained on the effects of sudden surges of flow. A work order
                                       outfall.                                                                                        was written for the installation of air relief valves on the lift pumps.
                                       A power outage on July 8, 2017 caused the return pump to trip off. As a result, an
                      7/10/2017        accumulation of solids in clarifier #2 eventually flowed over the clarifier weirs to the
                                       chlorine contact basin and through the outfall.                                                 The tripped return pumps were repaired.




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Plant FWSD 23
                       Non-Compliance
Permit Parameter           Date(s)                            Initial Root Cause Assessment                                        CORRECTIVE ACTION
                                              Severe rain in the service area. On October 24, 8.43 inches of rain
                          10/24/2015                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              were recorded at the WWTP. On October 25, 1.41 inches of rain
                          10/25/2015                                                                                needed.
                                              were recorded at the WWTP.
                                              Severe rain in the service area. On October 30, 7.6 inches of rain
                          10/30/2015                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              were recorded at the WWTP. On October 31, 1.17 inches of rain
                          10/31/2015                                                                                needed.
                                              were recorded at the WWTP.
                                              Heavy rain in the service area. On December 13, 2015, 1.42 inches     Operations staff is closely monitoring the plant and making process adjustments as
                           12/13/2015         of rain were recorded at the WWTP                                     needed.
                                              Rain in the service area. On January 8, 2016, 0.79 inches of rain     Operations staff is closely monitoring the plant and making process adjustments as
                           1/8/2016
                                              were recorded at the WWTP.                                            needed.
                                              A total of 4.43 inches of rain were recorded at the WWTP on
                                              April 17 and 18, 2016.                                                On April 18, 2016, Governor Greg Abbott issued a Disaster Proclamation for Harris
                           4/18/2016
                                              4/17/16: 3.63 inches                                                  County and other areas of southeast Texas.
                                              4/18/16: 0.8 inch
                                              Heavy rain in the service area. On May 27, 2016, 2.86 inches of       Operations staff is closely monitoring the plant and making process adjustments as
                           5/27/2016
                                              rain were recorded at the WWTP.                                       needed.
                                              Heavy rain in the service area. On June 2, 2016, 2.10 inches of       Operations staff is closely monitoring the plant and making process adjustments as
                           6/2/2016
                                              rain were recorded at the WWTP.                                       needed.
                                              Heavy rain in the service area. On June 3, 2016, 1.7 inches of        Operations staff is closely monitoring the plant and making process adjustments as
                           6/3/2016
                                              rain were recorded at the WWTP.                                       needed.

                                              Heavy rain in the service area. On June 3 and 4, 2016, 1.70 and       Operations staff is closely monitoring the plant and making process adjustments as
                           6/4/2016
                                              0.20 inches of rain were, respectively, recorded at the WWTP.         needed.

                                                                                                                    Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On January 17 and 18, 2017 a          needed.
                           1/18/2017
                                              total of seven inches of rain were recorded at the WWTP.
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On January 20, 2017 2.64 inches needed.
                           1/20/2017
 2 hour peak flow                             of rain were recorded at the WWTP.
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On January 20 and 21, 2017 a      needed.
                           1/21/2017
                                              total of 2.72 inches of rain were recorded at the WWTP.
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On March 29, 2017, 2.2 inches of needed.
                           3/29/2017
                                              rain were recorded at the WWTP.
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On August 7, 2017, 4.78 inches of needed.
                           8/7/2017
                                              rain were recorded at the WWTP.
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                              Heavy rain in the service area. On February 9 and 10, 2018, 3.17 needed.
                           2/10/2018
                                              inches of rain were recorded at the WWTP
                                                                                                                NOTE: The Bretshire WWF did not discharge.
                                              Heavy rain in the service area. On June 20, 2018, 2.89 inches of
                           6/20/2018                                                                            Plant operations returned to normal after the rain subsided.
                                              rain were recorded at the WWTP.
                                                                                                                Operations staff is closely monitoring the plant and making process adjustments as
                                                                                                                needed.
                                                                                                                Upon issuance of the pending TPDES permit (WQ0010495016), the 2‐hour peak flow
                                              Heavy rain in the service area. On July 4, 2018, 4.35 inches of
                           7/4/2018                                                                             limit will be 33,056 gpm. TCEQ received the application on November 1, 2002; the
                                              rain were recorded at the WWTP
                                                                                                                latest draft permit was issued on July 25, 2016.

                                                                                                                    NOTE: The Bretshire WWF did not discharge.
                                              Heavy rain in the service area. On September 9, 2018, 3.06            Operation staff is closely monitoring the plant and making process adjustments as
                           9/9/2018
                                              inches of rain were recorded at the WWTP.                             needed.

                                             Undetermined. The WWTP was operating normally, with no
                    11/14/2016 (outfall 001,                                                                        The WWTP influent will be closely monitored to determine if an investigation of
                                             upsets. The influent NH3‐N was measured at 82 mg/L and may
                             003)                                                                                   possible illegal dumping is warranted.
                                             have contributed to the noncompliance.

                                                                                                                    On August 30, 2017, emergency electrical and mechanical repairs were begun. Two
                                              Hurricane Harvey related. Flooding at the facility site damaged       temporary blowers were installed for back‐up. Secondary treatment was partially
                     9/3/‐9/9/2017 (outfall
                                              the blowers, motors, and electrical gear. This prevented              restored on September 3, 2017 and fully restored on September 4, 2017.
                           001, 003)
                                              adequate secondary treatment.
                                                                                                                    NOTE: The Bretshire WWF did not discharge.

                    9/4/2017 (outfall 001 and Hurricane Harvey related. The WWTP was inaccessible from
                                                                                                                    Clarifiers and blowers became available for service on September 4, 2017.
                              003)            August 27 to 29, 2017.
     NH3‐N
                                              Hurricane Harvey related. Flooding at the facility site damaged       On August 30, 2017, emergency electrical and mechanical repairs were begun. Two
                    9/5/2017 (outfall 001 and
                                              the blowers, motors, and electrical gear. This prevented              temporary blowers were installed for back‐up. Secondary treatment was partially
                              003)
                                              adequate secondary treatment.                                         restored on September 3, 2017 and fully restored on September 4, 2017.

                                              An air diffuser broke off of the air header, preventing air from
                     3/15/2018 (outfall 001   being fed into the aeration basins. This equipment failure
                                                                                                               A work order was generated for the repair of the broken diffuser.
                           and 003)           happened after hours and was not discovered until the morning
                                              shift arrived.




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                9/18/2018
                                   A stoppage in the air lift pump system and blowers out of
                9/20/2018                                                                              Maintenance completed stoppage removal from the air return lines.
                                   service for maintenance caused incomplete treatment.
             9/16/18‐9/22/18


                                   Combination of high sludge blanket in clarifier #4 due to clogged
                                   sludge wasting line and out of service equipment (clarifier #2).
          5/12/2015 (outfall 001                                                                     Work order #1121170 was generated to clear the blockage in the sludge wasting line on
                                   Rainfall of 2.54 inches on 5/12/2015 and 0.9 inches on the day
                and 003)                                                                             clarifier #4.
                                   before may have contributed to the problem. These factors allowed
                                   solids to escape over the weirs.

                                   Combination of high sludge blanket in clarifier #4 due to clogged
          5/15/2015 (outfall 001   sludge wasting line and out of service equipment (clarifier #2).    Work order #1121170 was generated to clear the blockage in the sludge wasting line on
                and 003)           Rainfall of 0.70 inches on 5/15/2015 may have contributed to the    clarifier #4.
                                   problem. These factors allowed solids to escape over the weirs.

                                   Combination of equipment failure and heavy rainfall in the area.
          3/10/2016 (outfall 001   Two clarifiers were out of service due stoppages in the return air Wasting rates were adjusted. Maintenance and operations removed the stoppages
                and 003)           lift pumps. On March 9 and 10, 2016, 3.75 inches of rainfall       in the air lift pumps and placed clarifier #2 back in service.
                                   were recorded at the WWTP.

                                   Clarifier #5 was taken out of service to clear a stoppage in the
TSS       1/20/2017 (outfall 001   return line. This allowed a hydraulic surge, experienced during a
                                                                                                       Maintenance crews are removing the stoppage in the Clarifier #5 return line.
                and 003)           period of heavy rainfall, to push solids out of the in‐service
                                   clarifiers.
                                   Clarifier #5 was taken out of service to clear a stoppage in the
                                                                                                       Maintenance crews are removing the stoppage in the Clarifier #5 return line.
             1/1/2017‐1/31/17      return line. This allowed a hydraulic surge, experienced during a
           (outfall 001 and 003)   period of heavy rainfall, to push solids out of the in‐service
                                                                                                       NOTE: The Bretshire WWF did not discharge.
                                   clarifiers.
                                   Clarifier #5 was taken out of service to clear a stoppage in the
            1/15/2017‐1/21/17      return line. This allowed a hydraulic surge, experienced during a
                                                                                                       Maintenance crews are removing the stoppage in the Clarifier #5 return line.
           (outfall 001 and 003)   period of heavy rainfall, to push solids out of the in‐service
                                   clarifiers.

         8/7/2017 (outfall 001 and Poor settling caused solids to discharge over the clarifier weirs.
                                                                                                      Process adjustments were made to maximize treatment.
                   003)            Heavy rainfall (4.78 inches on 8/7/17) may have contributed.

          1/23/2018 (outfall 001   Unknown. All plant equipment was in service and all process
                                                                                                       None
                and 003)           controls were within appropriate ranges.




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Plant: Kingwood Central
    Permit
                Non-Compliance Date(s)                            Initial Root Cause Assessment                                                                           CORRECTIVE ACTION
  Parameter
                        9/6/2017
                        9/7/2017
                                         Hurricane Harvey related. Floodwaters (over 23 inches of rain were recorded at
                        9/8/2017
COBD5                                    the WWTP) damaged all three blowers and destroyed the UV disinfection system. Bids for replacing/repairing the UV system are being solicited. Blowers are being repaired.
                      9/3‐9/6/2017
                                         The storm left the plant with no power.
                     9/1‐9/30/2017
                     9/1‐9/30/2017
                                         Plant rainfall of 1” on January 11, 2015 caused a power surge at the ultraviolet
                                         (UV) disinfection system. Routine preventive maintenance activities on Monday,
                     01/13/2015          January 12, 2014 revealed 72 lights burned out, preventing the plant from            Additional ballasts were ordered to replace stock on hand.
                                         maintaining the optimal disinfection efficiency. This allowed the E. coli bacteria
                                         value to rise above the permitted value.
                                         UV system shut down due to electrical problem. This allowed the E. coli bacteria
                     02/10/2015          value to rise above the permitted value.                                             Work assignment was ordered to STES contractor for UV system evaluation.
                                         Rags accumulated on the bulbs of the UV system, preventing adequate                  The mechanical bar screen is being repaired, which will prevent this problem from occurring
                      9/5/2016
                                         disinfection.                                                                        again.
                      9/6/2017
                      9/7/2017           Hurricane Harvey related. Floodwaters (over 23 inches of rain were recorded at
    E.coli            9/8/2017           the WWTP) damaged all three blowers and destroyed the UV disinfection system. Bids for replacing/repairing the UV system are being solicited. Blowers are being repaired.
                      9/9/2017           The storm left the plant with no power.
                     9/10/2017
                                         The bleach injection system was unable to maintain an adequate chlorine
                                                                                                                              An emergency purchase order is being pursued for repairs to and/or replacement of the
                      9/20/2017          residual. Hurricane Harvey destroyed the UV disinfection system; a temporary
                                                                                                                              disinfection system.
                                         bleach system is being utilized.
                                                                                                                              Inframark is making process control adjustments and troubleshooting the disinfection system
                                                                                                                              to ensure proper treatment.
                                         Elevated flow due to rainfall (1.0 inch recorded at the WWTP) is believed to have
                      7/31/2018
                                         contributed to incomplete disinfection.
                                                                                                                              NOTE: The UV disinfection system was destroyed by Hurricane Harvey. Chlorination is being
                                                                                                                              used for disinfection.
                                         The blowers tripped off on February 11, 2016 during non‐working hours, and the
                                         alarm system failed. Insufficient aeration caused incomplete treatment in the
                     2/12/2016                                                                                                The communication issue with the alarm system was corrected.
                                         aeration basin.
                                         **The laboratory provided updated analytical results on March 9, 2016.
   NH3‐N               9/6/2017
                       9/7/2017          Hurricane Harvey related. Floodwaters (over 23 inches of rain were recorded at
                       9/8/2017          the WWTP) damaged all three blowers and destroyed the UV disinfection system. Bids for replacing/repairing the UV system are being solicited. Blowers are being repaired.
                     9/3‐9/9/2017        The storm left the plant with no power.
                    9/1‐9/30/2017
                       9/6/2017
                       9/7/2017          Hurricane Harvey related. Floodwaters (over 23 inches of rain were recorded at
     TSS               9/8/2017          the WWTP) damaged all three blowers and destroyed the UV disinfection system. Bids for replacing/repairing the UV system are being solicited. Blowers are being repaired.
                     9/3‐9/9/2017        The storm left the plant with no power.
                    9/1‐9/30/2017




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Plant Metro Central
                       Non-Compliance
 Permit Parameter          Date(s)                                      Initial Root Cause Assessment                                                                                        CORRECTIVE ACTION

                                         Hurricane Harvey related. The facility was flooded for several days. Blowers were
                      8/27/2017‐9/2/2017                                                                                      Return sludge pumps and valves on blowers have been replaced. Blower discharge lines have been
CBOD5                                    unable to run because water had collected in discharge lines. Return sludge pumps on
                           9/1/2017                                                                                           cleared. Plant solids have been reduced and reseeding was performed to introduce active bacteria.
                                         both clarifiers suffered failures and could not return solids.

                                           Undetermined. According to the SCADA trends, the chlorine residual was within an                The disinfection system was checked for problems, but it was found to be working properly. Operations
                          11/2/2016
                                           adequate range for disinfection at the time of sample collection.                               personnel is continuously monitoring plant operations and disinfection system equipment.

                                           Undetermined. At the time of sample collection, the chlorine residual was with an
     Enteroco              2/21/2018       adequate range for disinfection. Plant flow was normal, and all plant process                   Operations is continuously monitoring plant processes, equipment, and chemical feed systems.
                                           equipment was in service.
                                           Undetermined. SCADA trends show that the chlorine residual was within an adequate
                           7/25/2018       range for disinfection at the time of sample collection. Plant flow was normal, and all Continuously monitor plant operations, equipment, and chemical feed systems.
                                           process equipment was in service.
                                           Multiple RAS pump issues throughout the month of July resulted in excessive sludge
                         7/1-7/31/2015     blankets in the clarifiers which affected the treatment process and caused elevated             RAS pumps have been either replaced or repaired and electrical issues have been addressed.
                                           ammonia-nitrogen levels throughout the month.
                           9/1/2017
        NH3‐N              9/4/2017
                                           Hurricane Harvey related. The facility was flooded for several days. Blowers were
                           9/5/2017                                                                                             Return sludge pumps and valves on blowers have been replaced. Blower discharge lines have been
                                           unable to run because water had collected in discharge lines. Return sludge pumps on
                        8/17‐9/2/2017                                                                                           cleared. Plant solids have been reduced and reseeding was performed to introduce active bacteria.
                                           both clarifiers suffered failures and could not return solids.
                         9/3‐9/9/2017
                        9/1‐9/30/2017
                                           Heavy rain. According to the rain gauge at the WWTP, it rained 2.78 inches on 1/22/2015.
                                           The hydraulic surge due to the sustained high flow of 10.0 MGD for nearly four hours, caused
                          01/22/2015                                                                                                       Operations staff is closely monitoring the plant and making process adjustments, as needed.
                                           solids from the sludge blankets to escape with the effluent, and resulted in the elevated TSS
                                           concentration.
                                           The main return pumps lost prime during a five hour power outage. Sludge built up in the
                          02/09/2015                                                                                                       The plant returned to normal operation once the power was restored and the return pumps were primed.
                                           clarifiers and accumulated solids escaped with the effluent.
                                           One of the clarifiers malfunctioned, causing the bio solids removal system to fail. Rising A work request was made for the electrician to service the traveling bridge limit torque switch and a railing
                        12/1-12/31/2015
                                           bio solids exited the clarifier over the weirs and subsequently discharged in the effluent. contactor that was tripping the unit off.

                                           The malfunction of clarifier #4 caused the solids level in the clarifier to rise and exit
                                                                                                                                           Rags are continuously cleaned from the sludge return lines, and the contractor is working on getting an
                         1/11/31/2016      over the clarifier weirs. This resulted in elevated TSS concentrations throughout the
                                                                                                                                           additional clarifier in service.
         TSS                               month which caused the daily average to exceed the permitted limit.

                                           Only one clarifier was available for use and various return pump failures caused
                       12/1‐12/31/2016                                                                                                     Service requests have been made for repairs to clarifiers and the associated pumps.
                                           elevated TSS concentrations throughout the month.
                                           The composite sampler was recently moved so a contractor could perform upgrades.
                          5/1/2017         In doing so, the intake tube was placed adjacent to the chlorine contact basin wall. It         The lab group has been requested to relocate the sampler. Operations personnel are also performing
                        4/30‐5/6/2017      is suspected that the cause of the elevated TSS is an accumulation of sand along the            maintenance activities in the chlorine contact basin.
                                           wall of the chlorine contact basin.

                                           Hurricane Harvey related. The facility was flooded for several days. Blowers were
                                                                                                                                Return sludge pumps and valves on blowers have been replaced. Blower discharge lines have been
                       8/27/2017‐9/2/17    unable to run because water had collected in discharge lines. Return sludge pumps on
                                                                                                                                cleared. Plant solids have been reduced and reseeding was performed to introduce active bacteria.
                                           both clarifiers suffered failures and could not return solids.




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   Plant
   Southwest
                   Non-Compliance Date(s)
Permit Parameter                                                                                                                        Initial Root Cause Assessment                                                                                                                                       CORRECTIVE ACTION

                                               The Houston area experienced intense, sustained rainfall of 11 inches in less than six hours over May 25/26, 2015. As a result, Brays Bayou overflowed its banks and flooding occurred. The entire
                    5/24- 5/30/2015            WWTP was flooded and extensive damage occurred to the electrical and blower systems. The inability to use the full capacity of the blowers caused insufficient air in the aeration basins, allowing the           Operations will closely monitor the situation while electrical systems, blowers and all other equipment are being repaired.
                       5/29/2015               ammonia value to rise above the
    CBOD5                                      permitted amount.


                      1/28/2018‐2/3/2018                                                                                                                                                                                                                         Power was restored, and work orders were generated to verify proper operation of the return pumps.
                           2/3/2018            A power failure to the return flow station caused the violation.

                                                                                                                                                                                                                                                                 Additional analyses may be conducted to determine a potential cause for toxicity. Increased
                       1/9/2017                A review of the routine water chemistries did not reveal a definitive cause of the sublethal failure.                                                                                                             monitoring will be conducted as required by the permit.

  Cerio NOEC
                            1/1/2017‐1/31/17   A review of the routine water chemistries did not reveal a definitive cause of the failure. Additional testing is being conducted.                                                                                None


                       3/7/2017                A review of the routine water chemistries did not reveal a definitive cause of the failure. Additional testing is being conducted.                                                                                None

                                               Insufficient bleach feed due to a failure to the pre-analyzer pump. This caused a temporary chlorine residual drop in the plant’s effluent and the E. coli bacteria value to rise above the permitted value.      Work order #1083183 was created to evaluate and verify proper operation of the chlorination system. Operations and the control
                      01/05/2015
                                                                                                                                                                                                                                                                 center will closely monitor the chlorination system.

                                               Combination of wet weather events and electrical failure in the effluent lift station system. These caused the out of service filter deck to flood and re-contaminate the plant’s effluent.                       Work order #1098030 was created to check the cause of the lift station failure. Operations will closely monitor the situation.
                      03/09/2015

                      5/12/2015                Chlorination system failed on May 12 and May 13, 2015, due to PLC problem on the first day, and power failure at the plant on the second. The insufficient bleach feed resulted in high E. coli                   Work orders #1120166 and #1122231 were created to check PLC and power failure. Operations will closely monitor the
                      5/13/2015                concentrations.                                                                                                                                                                                                   situation.

                                               The Houston area experienced intense, sustained rainfall of 11 inches in less than six hours over May 25/26, 2015. As a result, Brays Bayou overflowed its banks and flooding occurred. The entire
                      5/28/2015
                                               WWTP was flooded and extensive damage occurred to the electrical and blower systems. The inability to use the full capacity of the blowers caused insufficient air in the aeration basins, allowing the           Operations will closely monitor the situation while electrical systems, blowers and all other equipment are being repaired.
                       6/5/2015                ammonia value to rise above the permitted amount.
                      6/18/2015


                                               Unknown. According to SCADA trends and operator logs, the chlorine residual was in range, and the bleach feed was working properly at the time of sample collection.
                      10/15/2015                                                                                                                                                                                                                                 Operations staff is closely monitoring the plant and making process adjustments, if needed.


                      10/29/2015               Unknown. The mix point and pre-dechlorination analyzers indicated that there was adequate bleach in the system during the sample period.                                                                          The process and equipment will continue to be monitored.

                                               Equipment failure. The SCADA system alerted the operator of low chlorine residuals at the mix point and pre‐dechlorination point. When the                                                                        A work order was written for the chlorination group to troubleshoot and/or repair the
                      3/21/2016                operator arrived the chlorine pump and metering pump were tripped                                                                                                                                                 chlorine pump and metering pump

                                               Undetermined. According to SCADA trends, the chlorine residual was in range at the time of sampling. No problem found with the chlorination system.
                      4/20/2016                                                                                                                                                                                                                                  Chlorination system was checked and confirmed working properly

         E.coli
                                               Undetermined. According to SCADA trends, the chlorine residual was in range at the time of sampling. No problem found with the chlorination
                      5/20/2016                system                                                                                                                                                                                                            Chlorination system was checked and confirmed working properly

                                               Undetermined. According to SCADA trends, the chlorine residual was in range at the time of sampling. No problem was found with the chlorination system.
                      6/8/2016                                                                                                                                                                                                                                   The chlorination system was check and was working properly.

                                               Undetermined. According to SCADA trends, the chlorine residual was within an acceptable range for disinfection at the time of sample                                                                              The chlorination system was checked for malfunction but was found to be working
                      7/26/2016                collection.                                                                                                                                                                                                       properly.

                      9/14/2016                Undetermined. SCADA trends at the time of sample collection indicate a chlorine residual adequate for disinfection.                                                                                               The chlorination system was troubleshooted. No problems were found.

                       1/4/2017                A power failure disabled the chlorination system, causing inadequate disinfection.                                                                                                                                An electrician traced the power failure and restored power.

                      3/14/2017                Undetermined. The SCADA trends indicate that the chlorine residual at the time of sample collection was adequate for disinfection. The
                                               chlorination system was working properly                                                                                                                                                                          The chlorination system was troubleshooted, but not problems were found.

                      5/26/2017                Undetermined. At the time of sample collection, the SCADA trends indicate an adequate chlorine residual for disinfection.                                                                                         None.

                      9/19/2017                A power failure disabled both chlorine pumps, resulting in inadequate disinfection.                                                                                                                               Power was restored, and the chlorine pumps were put back online.

                      12/7/2017                                                                                                                                                                                                                                  A work order was generated for the chlorination group to troubleshoot the disinfection
                                               Intermittent power failures affecting the chlorination system caused inadequate disinfection at the time of sample collection.                                                                                    system

                      1/20/2018                The chlorine analyzer failed, resulting in an inadequate chlorine residual at the time of sample collection.                                                                                                      The chlorination group troubleshooted the disinfection system.

                                               Undetermined. At the time of sample collection, the SCADA trends show that the chlorine residual was within an adequate range for disinfection. The chlorination equipment was not
                       3/9/2018                                                                                                                                                                                                                                  Operations personnel verified the operability of the chlorination system.
                                               experiencing any issues.

                      3/29/2018                A temporary increase in hydraulic load caused solids to rise and escape the clarifiers, causing an increase in E. coli.                                                                                           The chlorination group troubleshooted the disinfection system.

                       6/5/2018                The chlorine pump lost prime, resulting in inadequate disinfection.                                                                                                                                               The chlorination group removed a stoppage from the pump and returned it to service.

                      6/12/2018                Undetermined. SCADA trends indicate that the chlorine residual was within an acceptable range for disinfection.                                                                                                   None

                       7/3/2018                Failure of the chlorine pump prevented adequate disinfection.                                                                                                                                                     The chlorination group repaired the chlorine pump.

                                               The Houston area experienced intense, sustained rainfall of 11 inches in less than six hours over May 25/26, 2015. As a result, Brays Bayou overflowed its banks and flooding occurred. The entire
                   5/24 - 5/30/2015
                                               WWTP was flooded and extensive damage occurred to the electrical and blower systems. The inability to use the full capacity of the blowers caused insufficient air in the aeration basins, allowing the           Operations will closely monitor the situation while electrical systems, blowers and all other equipment are being repaired.
                      5/29/2015                ammonia value to rise above the permitted amount.
                       6/1/2015




                             6/1‐6/30/2016     Multiple power failures caused inadequate aeration and mixing on the reactor deck during the month of June.                                                                                                       The electrician was notified and power was restored each time there was a loss of power.

                      6/9/2017
                      6/10/2017
                      6/11/2017
     NH3‐N          6/4‐6/10/2017              A combination of planned shutdowns for contractor work and a power failure resulted in insufficient dissolved oxygen in the system.                                                                               All equipment was put back into service, and power was restored.
                   6/11‐6/17/2017
                    6/1‐6/30/2017




                     8/27‐9/2/17
                    9/3‐9/9/2017
                      9/1/2017
                                                                                                                                                                                                                                                                 A contractor was dispatched to check the electrical feeder lines and repair the damaged blowers.
                      9/2/2017                 Hurricane Harvey related. The facility was flooded for several days. Blowers were unable to run as a result of water damage.
                      9/3/2017
                      9/4/2017
                      9/5/2017




                     9/1‐9/30/17               The clarifier inlet lines are plugged, causing the mixed liquor channel to overflow into the adjacent clarifier effluent channel.                                                                                 A work order has been generated to have all clarifier inlet lines cleaned.

                                               Heavy rainfall was recorded as 0.85” on May 27, 2014 and 1.10” on the previous day, causing a hydraulic surge through the WWTP. The mixed liquor channel overflowed into the clarifier effluent                   Operations made process adjustments throughout the plant to balance the flow. A work order is pending to investigate and
                      05/12/2015
                                               launders.                                                                                                                                                                                                         remove debris that may be impeding flow.


                                               The Houston area experienced intense, sustained rainfall of 11 inches in less than six hours over May 25/26, 2015. As a result, Brays Bayou overflowed its banks and flooding occurred. The entire
                      5/27/2015
                                               WWTP was flooded and extensive damage occurred to the electrical and blower systems. The inability to use the full capacity of the blowers caused insufficient air in the aeration basins, allowing the           Operations will closely monitor the situation while electrical systems, blowers and all other equipment are being repaired.
                       6/9/2015
                                               ammonia value to rise above the permitted amount.
                      6/17/2015




                       7/7/2015
                                                                                                                                                                                                                                                                 The electrical contractor was performing repair work to Power Center #7 in response to the damages incurred during the historic
                       7/8/2015                In order for the electrical contractor to safely perform repairs, electricity to the return flow station had to be disconnected to a portion of the plant. During the power outage, the return activated sludge
                                                                                                                                                                                                                                                                 flooding on May 26, 2015. Repairs to Power Center #7 were completed on July 9, 2015. Future electrical work will be limited to a
                       7/9/2015                overflowed the return flow station into the effluent filter deck, elevating the TSS concentration in the effluent.                                                                                                maximum shut-down time of four hours.
                    7/5-7/11/2015
                    7/1-7/31/2015

          TSS
                                               Problems with the return flow lift pumps caused an increase in the elevation of solids in the center well which caused solids to enter the effluent.                                                              Repair of the return flow pumps was put under work order numbers 1176062, 1212634, 1212913, and 1212635.
                      1/30/2016


                                                                                                                                                                                                                                                                 The plant network technician repaired the communications malfunction. A second work
                      4/14/2017                A communications malfunction within the return flow station resulted in a false reading of the return flow well level which prevented the return flow pumps from activating.
                      4/15/2017                                                                                                                                                                                                                                  order was written for the electrical group to check and repair the transducer at the return


                      9/15/2017                The clarifier inlet lines are plugged, causing the mixed liquor channel to overflow into the adjacent clarifier effluent channel.                                                                                 A work order has been generated to have all clarifier inlet lines cleaned.


                      11/4/2017
                                               An intermittent overflow of the clarifier #4 inlet pit into the clarifier effluent channel elevated the concentration of TSS in the effluent.                                                                     Clarifier inlet pit cleaning is ongoing.
                      11/5/2017


                     12/6/2017
                                               The clarifier #4 inlet pit was intermittently overflowing into the clarifier effluent channel.                                                                                                                    Clarifier inlet pit cleaning is ongoing.
                   12/3‐12/9/2017

                     2/1‐2/28/18
                    2/1‐2/28/2018
                                                                                                                                                                                                                                                                 Power was restored, and work orders were generated to verify proper operation of the return pumps.
                    1/28‐2/3/2018              A power failure to the return flow station caused elevated TSS concentrations at the beginning of the month.
                       2/3/2018




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Plant Upper Brays
 Permit Parameter    Non‐Compliance Date(s)                                                       Initial Root Cause Assessment                                                                                     CORRECTIVE ACTION
                                                                                                                                                                                        The situation corrected upon adjustment of the clarifier
                          03/21/2015          A combination of 1.2” of rainfall and high sludge blanket in clarifier #3 contributed to the high CBOD‐5 concentration.
                                                                                                                                                                                        telescopes.
                           8/4/2016
                           8/5/2016
                           8/9/2016
                           8/10/2016
                           8/11/2016
                           8/12/2016          Insufficient oxygen in the treatment process caused by various blower/diffuser issues. During the period of July 22 to 28, blowers
                           8/13/2016          tripped off periodically. During the period of August 1 to 12, blowers tripped off daily. Problems with the blowers can be attributed     There is a long term plan in place to address the fouled diffusers
                           8/14/2016          to high ambient temperatures and added pressure in the air distribution lines due to fouled diffusers in the aeration basins. The         in the aeration basins.
                           8/15/2016          inconsistent and prolonged periods of oxygen deficiency caused the plant to reach septic conditions.
                         8/1‐8/31/2016
                         8/1‐8/31/2016
                      7/31/2016‐8/6/2016
                         8/7‐8/13/2016

                                                                                                                                                                                        Operations will closely monitor the return telescopes and clean as
      CBOD5               12/12/2016          Clogged return telescopes caused sludge to overflow the clarifier weirs.
                                                                                                                                                                                        needed.
                                                                                                                                                                                        Blowers were adjusted, and debris was removed from the return
                           1/18/2017          A combination of blower issues, plugged returned telescopes, and wet weather caused incomplete treatment of CBOD.                         telescopes.
                            6/7/2017
                           6/10/2017
                           6/11/2017
                           6/12/2017                                                                                                                                                    Contractors are onsite making permanent improvements to the
                                              Insufficient dissolved oxygen in the process due to issues with the air distribution system caused incomplete treatment of CBOD.
                         5/28‐6/3/2017                                                                                                                                                  aeration basins.
                         6/1‐6/30/2017
                         6/4‐6/10/2017
                        6/11‐6/17/2017

                                              Hurricane Harvey related. Problems with blowers resulted in too little dissolved oxygen to fully treat ammonia‐nitrogen. This issue
                                              was worsened by abnormally high flows and decreased detention time. In order to provide relief to the inundated West District       The blowers have been repaired. The solids inventory has been
                         9/1‐9/30/2017
                                              WWTP, raw sewage from the West District collection system was diverted to the Upper Brays WWTP. This additional flow inflated restored to normal levels.
                                              the loadings to a level outside of the normal range for this facility.

                          12/12/2016
                          12/12/2016          The most probable cause of toxicity was the high ammonia‐nitrogen concentrations in samples 1 and 2.                                      Retests were scheduled for January and February 2017.


                           1/23/2017          An elevated concentration of ammonia‐nitrogen in the effluent is believed to have contributed to the failure.                             Additional testing will be conducted as required by the permit.


                                              An elevated concentration of ammonia‐nitrogen in the effluent is believed to have contributed to the failure in January 2017. This
                         1/1/‐3/31/2017                                                                                                                                          Additional testing will be conducted as required by the permit.
                                              affected the calculated daily average.

                                                                                                                                                                                        The contractor has completed repairs on one of the aeration
                            7/3/2017          Elevated ammonia‐nitrogen in the samples.                                                                                                 basins. The repaired basin was put back into service on July 8,
                                                                                                                                                                                        2017.

                                                                                                                                                                                        The contractor has completed repairs on one of the aeration
                                              Elevated ammonia‐nitrogen in the samples. A failure in July 2017 caused the calculated daily average to violate the permitted limit.
                        7/1/2017‐9/30/17                                                                                                                                                basins. The repaired basin was put back into service on July 8,
                                              Cerio lethal
                                                                                                                                                                                        2017.
    Cerio lethal
                                                                                                                                                                                        The contractor has completed repairs on one of the aeration
                                              Elevated ammonia‐nitrogen in the samples. A failure in July 2017 caused the calculated daily average to violate the permitted limit.
                        7/1/2017‐9/30/17                                                                                                                                                basins. The repaired basin was put back into service on July 8,
                                              cerio sub lethal
                                                                                                                                                                                        2017.

                                              At this time, the cause of the failure is unclear. Sample check‐in chemistries were within normal ranges. Additional testing to
                                                                                                                                                                                  Monthly testing will continue. The City is working with the
                         10/1‐12/31/17        determine the cause of the failure is pending. The October 2017 test failed, causing the daily average percentage to fall below the
                                                                                                                                                                                  contract laboratory to identify potential causative agents.
                                              permitted limit.

                                              At this time, the cause of the failure is unclear. Sample check‐in chemistries were within normal ranges. Additional testing to           Monthly testing will continue. The City is working with the
                          10/23/2017
                                              determine the cause of the failure is pending.                                                                                            contract laboratory to identify potential causative agents.


                                              The contract laboratory suspects that a combination of copper and zinc caused toxicity in the test conducted in January 2018. This Monthly testing will continue. The City is working with the
                         1/1‐3/31/2018
                                              failure affected the reported daily average.                                                                                       contract laboratory to identify potential causative agents.


                                                                                                                                                                                        Monthly testing will continue. The City is working with the
                           1/16/2018          The contract laboratory suspects that a combination of copper and zinc caused toxicity.
                                                                                                                                                                                        contract laboratory to identify potential causative agents.


                                              Insufficient bleach feed due to low level of bleach in tank. This caused a temporary chlorine residual drop in the plant’s effluent and   were held with the operators involved to reiterate the standard
                           05/08/2015
                                              the E. Coli bacteria value to rise above the permitted value.                                                                             operating procedures and established standards regarding end

                                              Insufficient bleach feed due to an analyzer malfunction. This caused a temporary chlorine residual drop in the plant’s effluent and       The analyzer was repaired and the chlorination system is back to
                           09/10/2015
                                              the E. Coli bacteria value to rise above the permitted value.                                                                             normal.

                           4/20/2016          Undetermined. At the time of sample collection, the chlorine residual was above the acceptable level.                                     E. coli values will be closely monitored in subsequent days.

                           8/22/2016          Undetermined. At the time of sample collection, the chlorine residual was within an acceptable range for disinfection.                    E. coli values will be closely monitored in subsequent days.

                                              Inadequate chlorine residual. At the time of sample collection, the plant was experiencing a wet weather event, and the
       E.coli              1/18/2017          chlorination system was unable to maintain an adequate chlorine residual. In addition, elevated TSS was being discharged because          The chlorination group troubleshooted the chlorination system.
                                              of plugged RAS telescopes.

                                              Inadequate chlorine residual. At the time of sample collection, the chlorination system was unable to maintain an adequate
                           1/19/2017                                                                                                                                                    The chlorination group troubleshooted the chlorination system.
                                              chlorine residual.
                                                                                                                                                                                        The chlorination group has troubleshooted the disinfection
                           3/27/2017          The bleach pump lost prime overnight, causing an inadequate chlorine residual at the time of sample collection.
                                                                                                                                                                                        system.

                           5/26/2017          At the time of sample collection, the chlorination system was unable to maintain an acceptable chlorine residual.                         The chlorination group troubleshooted the system.

                                              At the time of sample collection, the flow was elevated and the chlorination system was unable to maintain an acceptable chlorine
                           5/29/2017                                                                                                                                            The chlorination group troubleshooted the system.
                                              residual.

                          12/12/2016          The most probable cause of toxicity was the high ammonia‐nitrogen concentrations in samples 1 and 2.                                      Retests were scheduled for January and February 2017.

                           1/23/2017          An elevated concentration of ammonia‐nitrogen in the effluent is believed to have contributed to the failure.                             Additional testing will be conducted as required by the permit.

                                              An elevated concentration of ammonia‐nitrogen in the effluent is believed to have contributed to the failure in January 2017. This
                         1/1‐3/31/2017                                                                                                                                           Additional testing will be conducted as required by the permit.
                                              affected the calculated daily average.
  Fathead Lethal




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                                                                                                                                                               The contractor has completed repairs on one of the aeration
   7/1/2017‐9/30/2017   Elevated ammonia‐nitrogen in the samples. A failure in July 2017 caused the calculated daily average to violate the permitted limit.   basins. The repaired basin was put back into service on July 8,
                                                                                                                                                               2017.




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                                                                                                                                                                                 The contractor has completed repairs on one of the aeration
                   7/3/2017              Elevated ammonia‐nitrogen in the samples.                                                                                               basins. The repaired basin was put back into service on July 8,
                                                                                                                                                                                 2017.
                                                                                                                                                                             The SCADA group is troubleshooting communications with the
                                         On three days during the third week of April, the operator found the aeration blowers off upon the start of the morning shift. This
NH3_N          4/17‐4/23/2016                                                                                                                                                blowers to prevent the blowers from being out of service for
                                         left the WWTP without sufficient dissolved oxygen to thoroughly treat ammonia.                                                      extended periods of time in the future.
                   5/1/2016                                                                                                                                                  The Electrical Group is troubleshooting the functionality of the
NH3_N                                    The aeration blower tripped off over night, leaving the treatment process with insufficient dissolved oxygen.
                   5/2/2016                                                                                                                                                  blower control systems.


                  5/13/2016
                  5/14/2016                                                                                                                                               The Electrical Group is troubleshooting the functionality of the
                                         Insufficient dissolved oxygen in the treatment process. The blower tripped off overnight. The blower was restarted, but upon
                  5/15/2016                                                                                                                                               blower control systems. An Emergency Purchase Order has been
NH3_N                                    inspection the next morning, air was found escaping from the blow off valve. Broken/clogged diffusers may be contributing to the
                  5/16/2016                                                                                                                                               submitted to repair the diffusers in the aeration basin to allow
                                         problems with the blowers.
                5/1‐5/31/2016                                                                                                                                             for increased dissolved oxygen.
               5/15‐5/21/2016

             6/12/2016, 6/16/2016
             6/17/2016, 6/18/2016
             6/19/2016, 6/20/2016
             6/21/2016, 6/22/2016
             6/23/2016, 6/30/2016
                6/12‐6/18/2016                                                                                                                                                   Troubleshooting of the blower control systems is being
NH3_N           6/19‐6/25/2016           Insufficient oxygen in the treatment process caused by various blower/aeration basin diffuser issues.                                   performed. An emergency purchase order has been submitted to
                 6/27‐7/2/201                                                                                                                                                    repair diffusers in the aeration basin.
                 6/1‐6/30/2016
                 6/1‐6/30/2016
              7/1/2016, 7/2/2016
              7/3/2016, 7/4/2016

             7/23/2016, 7/24/2016
             7/25/2016, 7/26/2016
             7/27/2016, 7/28/2016
             7/29/2016, 7/30/2016
                   7/31/2016
                 7/3‐7/9/2016,
                7/17‐7/23/2016
                7/24‐7/30/2016
                 7/1‐7/31/2016
                 7/1‐7/31/2016
         8/1/2016, 8/2/2016, 8/3/2016,
                   8/4/2016              Insufficient oxygen in the treatment process caused by various blower/diffuser issues. During the period of July 22 to 28, blowers
              8/4/2016, 8/5/2016         tripped off periodically. During the period of August 1 to 12, blowers tripped off daily. Problems with the blowers can be attributed   There is a long term plan in place to address the fouled diffusers
NH3_N
              8/7/2016, 8/8/2016         to high ambient temperatures and added pressure in the air distribution lines due to fouled diffusers in the aeration basins. The       in the aeration basins.
              8/9/2016, 8/10/2016        inconsistent and prolonged periods of oxygen deficiency caused the plant to reach septic conditions.
             8/11/2016, 8/12/2016,
             8/13/2016, 8/14/2016
             8/15/2016, 8/16/2016
             8/17/2016, 8/18/2016
                 7/31‐8/6/2018
                 8/7‐8/13/2016
                8/14‐8/20/2016
                 8/1‐8/31/2016
                 8/1‐8/31/2016


                 12/10/2016                                                                                                                                                      A request was made for vactor trucks to clean out the return pits
NH3_N                                    Clogged RAS telescopes prevented sufficient return activated sludge to return to the process.
                 12/11/2016                                                                                                                                                      to prevent further stoppages.
                 12/12/2016
NH3_N            12/13/2016              Insufficient dissolved oxygen in the process due to air leaking out of an empty basin caused elevated NH3‐N in the effluent.            Plant operations were restored once leaks were corrected.
              12/11‐12/17/2016
                 1/16/2017
NH3_N                                    Insufficient oxygen in the process due to issues with the blowers.                                                                      Operations is closely monitoring the blowers.
                 1/17/2017

             1/18/2017, 1/19/2017
             1/20/2017, 1/21/2017
             1/22/2017, 1/23/2017
             1/24/2017, 1/25/2017
             1/26/2017, 1/27/2017
                                                                                                                                                                                 Blowers were adjusted, and debris was removed from the return
NH3_N        1/28/2017, 1/29/2017        A combination of blower issues, plugged returned telescopes, and wet weather caused incomplete treatment of NH3‐N.
                                                                                                                                                                                 telescopes.
             1/30/2017, 1/31/2017
                1/15‐1/21/2017
                1/22‐1/28/2017
                 1/29‐2/4/2017
                 1/1‐1/31/2017
                                                                                                                                                                                 The blowers were troubleshooted and found to be working
NH3_N             2/27/2017              Problems with the blowers caused insufficient dissolved oxygen in the process.                                                          properly.
                  4/24/2017
NH3_N         4/23/2017‐4/29/17          The blowers were tripped off for an extended period of time, causing insufficient dissolved oxygen in the process.                      Work orders were submitted to troubleshoot the blowers.
                4/1‐4/31/2017
              5/1/2017, 5/2/2017
              5/3/2017, 5/4/2017
              5/5/2017, 5/6/2017
              5/7/2017, 5/8/2017
              5/9/2017, 5/10/2017
             5/11/2017, 5/12/2017
             5/13/2017, 5/14/2017
             5/15/2017, 5/16/2017
             5/18/2017, 5/19/2017
             5/20/2017, 5/21/2017
             5/22/2017, 5/23/2017                                                                                                                                                The air leak was repaired, and additional adjustments were made
NH3_N                                    Insufficient dissolved oxygen in the process due to air leaks and multiple blower issues.
             5/24/2017, 5/25/2017                                                                                                                                                to the process to maximize treatment of NH3‐N.
             5/26/2017, 5/17/2017
             5/28/2017, 5/29/2017
             5/30/2017, 5/31/2017
               4/30/2017‐5/6/17
                 5/7‐5/13/2017
                5/14‐5/21/2017
                5/21‐5/27/2017
                 5/28‐6/3/2017
                 5/1‐5/31/2017
                 5/1‐5/31/2017




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                 6/1/2017, 6/2/2017
                                                                                                                                                                             The air leak was repaired, and additional adjustments were made
NH3_N            6/3/2017, 6/4/2017    Insufficient dissolved oxygen in the process due to air leaks and multiple blower issues.
                                                                                                                                                                             to the process to maximize treatment of NH3‐N.

                 6/5/2017, 6/6/2017
                 6/8/2017, 6/9/2017
                6/10/2017, 6/11/2017
                6/12/2017, 6/13/2017
                6/14/2017, 6/15/2017
                6/16/2017, 6/17/2017
                6/18/2017, 6/19/2017
                6/20/2017, 6/21/2017
                6/22/2017, 6/22/2017
                6/23/2017, 6/24/2017                                                                                                                                         Contractors are onsite making permanent improvements to the
NH3_N                                  Insufficient dissolved oxygen in the process due to issues with the air distribution system.
                6/25/2017, 6/26/2017                                                                                                                                         aeration basins.
                6/27/2017, 6/28/2017
                6/29/2017, 6/30/2017
                    6/4‐6/10/2017
                   6/11‐6/17/2017
                   6/18‐6/24/2017
                    6/25‐7/1/2017
                    6/1‐6/30/217
                    6/1‐6/30/2017


                 7/1/2017, 7/2/2017
                 7/3/2017, 7/4/2017
                 7/5/2017, 7/6/2017
                 7/7/2017, 7/8/2017
                7/9/2017, 7/10/2017
                7/11/2017, 7/12/2017                                                                                                                                         The contractor has completed repairs on one of the aeration
NH3_N           7/13/2017, 7/14/2017   Insufficient dissolved oxygen in the process due to ongoing issues with the air distribution system.                                  basins. The repaired basin was put back into service on July 8,
                7/18/2017, 7/19/2017                                                                                                                                         2017.
                    7/2‐7/8/2017
                   7/9‐7/15/2017
                   7/16‐7/22/2017
                   7/1‐7/31/2017
                   7/1‐7/31/2017


                      9/11/2017
                      9/12/2017        Hurricane Harvey related. Problems with blowers resulted in too little dissolved oxygen to fully treat ammonia‐nitrogen. This issue
                                                                                                                                                                           The blowers have been repaired. The solids inventory has been
NH3_N              9/10‐9/16/2017      was worsened by abnormally high flows and decreased detention time. In order to provide relief to the inundated West District
                                                                                                                                                                           restored to normal levels.
                    9/1‐9/30/2017      WWTP, raw sewage from the West District collection system was diverted to the Upper Brays WWTP.
                    9/1‐9/30/2017

                      3/21/2015                                                                                                                                              The situation corrected itself once flow subsided and clarifier
                                       A combination of 1.2” of rainfall and high sludge blanket in clarifier #3 contributed to the high TSS concentration.
                   3/15-3/21/2015                                                                                                                                            telescopes were adjusted.


                                       Insufficient oxygen in the treatment process caused by various blower/diffuser issues. During the period of July 22 to 28, blowers
                     8/13/2016         tripped off periodically. During the period of August 1 to 12, blowers tripped off daily. Problems with the blowers can be attributed There is a long term plan in place to address the fouled diffusers
                   8/1‐8/31/2016       to high ambient temperatures and added pressure in the air distribution lines due to fouled diffusers in the aeration basins. The     in the aeration basins.
                                       inconsistent and prolonged periods of oxygen deficiency caused the plant to reach septic conditions.

                     1/15/2017
        TSS
                     1/18/2017
                                       Plugged return sludge telescopes during a wet weather event caused sludge to escape over the clarifier weirs.                         Debris was removed from the return telescopes.
                     1/20/2017

                 1/1/2017‐1/31/2017                                                                                                                                          Blowers were adjusted, and debris was removed from the return
                    1/1‐1/31/2017      A combination of blower issues and plugged returned telescopes caused incomplete removal of TSS.                                      telescopes.
                   6/1‐6/30/2017                                                                                                                                           Contractors are onsite making permanent improvements to the
                                       Insufficient dissolved oxygen in the process due to issues with the air distribution system.
                   6/4‐6/10/2017                                                                                                                                           aeration basins.
                                       Hurricane Harvey related. Problems with blowers resulted in too little dissolved oxygen to fully treat ammonia‐nitrogen. This issue The blowers have been repaired. The solids inventory has been
                   9/1‐9/30/2017       was worsened by abnormally high flows and decreased detention time. In order to provide relief to the inundated West District       restored to normal levels.




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Plant Almeda Sims

Permit Parameter    Non‐Compliance Date(s)                                                    Initial Root Cause Assessment                                                                   CORRECTIVE ACTION

2‐hr peak                 8/26/2017          Hurricane Harvey related. The region experienced extreme rainfall due to Hurricane Harvey. Six inches of rain were                  Operations personnel made process adjustments,
                                             recorded at the WWTP on August 26, 2017.                                                                                            as conditions allowed, to maximize treatment.

                                             Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a          Solids were trucked out of the plant while COH
                                             temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing      contractors were working on the sludge dryers. As
                          4/30/2015          limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to      of the date of this writing, the dryers and all
CBOD5                   4/1‐4/30/2015        the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant             clarifiers are operational.
                        4/26‐5/2/2015        during future construction and will take all actions necessary to mitigate adverse effects.


                                             Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a          Solids were trucked out of the plant while COH
                          5/5/2015
                                             temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing      contractors were working on the sludge dryers. As
                          5/6/2015
CBOD5                                        limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to      of the date of this writing, the dryers and all
                          5/7/2015
                                             the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant             clarifiers are operational.
                        5/3‐5/9/2015
                                             during future construction and will take all actions necessary to mitigate adverse effects.
                                              Combination of poor settling and over‐wasting of sludge. The poor settling was due to the on‐going CIP construction work           Solids were trucked out of the plant while COH
                                             that involves a use of pump for direct feed to the clarifiers. The sludge over‐wasting was planned to reduce the plant’s            contractors were working on the sludge dryers. As
CBOD5                    06/30/2015          solids level in preparation for expected rainfall. Rainfall of 1.0 inches on June 30, 2015 and 0.5 inches on the day before         of the date of this writing, the dryers and all
                                             may have contributed to the problem by washing solids out of the sludge return channel. These factors caused elevated               clarifiers are operational.
                                             CBOD‐5 level.
                                             Construction activities that limited capacity and detention time coupled with power failures during the storm experienced           Operations is working diligently with the
CBOD5                    08/20/2015          on August 19 and 20 caused the CBOD concentration to rise above the permitted limit.                                                contractor to plan and execute the construction
                                                                                                                                                                                 so there is minimal effect on the effluent.


                                             Insufficient air in the plant due to ongoing contractor activities that required all blowers to be turned off. Limited air supply   Operations staff is closely monitoring the plant
                          4/1/2015           affected the treatment process and caused ammonia concentration to rise above the permit limit. Elevated ammonia                    and making process adjustments, as needed.
                          4/2/2015           concentrations affected the calculated 7‐day average.                                                                               City contractor continues work on all six blowers
NH3‐N                     4/3/2015                                                                                                                                               and is expected to be completed before the end
                          4/4/2015                                                                                                                                               of April 2015.
                     03/29 to 04/04/2015


                                             Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a          Solids were trucked out of the plant while COH
                                             temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing      contractors were working on the sludge dryers. As
                                             limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to      of the date of this writing, the dryers and all
NH3‐N                4/1/2015‐4/30/2015
                                             the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant             clarifiers are operational.
                                             during future construction and will take all actions necessary to mitigate adverse effects.

                         6/17/2015           Combination of construction and over‐wasting of sludge to reduce the plant’s solids level in preparation for expected               Operations staff is closely monitoring the plant’s
                         6/18/2015           rainfall. Rainfall from Tropical Storm Bill of 0.5 inches on June 17, 2015 and 0.75 inches the day before may have                  sludge level and making process adjustments, as
NH3‐N                    6/20/2015           contributed to the problem by washing solids out of the sludge return channel. These factors caused the ammonia to rise             needed, to maintain permit compliance.
                         6/21/2015           above the permitted limit for four days and exceed the calculated 7‐day average.
                     06/14 to 06/20/2015
                                              Combination of poor settling and over‐wasting of sludge. The poor settling was due to the on‐going CIP construction work           Operations staff is closely monitoring the plant’s
                                             that involves a use of pump for direct feed to the clarifiers. The sludge over‐wasting was planned to reduce the plant’s            sludge level and making process adjustments, as
NH3‐N                06/21 to 06/27/2015     solids level in preparation for expected rainfall. Rainfall of 1.0 inches on June 30, 2015 and 0.5 inches on the day before         needed, to maintain permit compliance.
                                             may have contributed to the problem by washing solids out of the sludge return channel. These factors caused elevated
                                             ammonia (NH3‐N) and total suspended solids (TSS) levels.

                                              Combination of poor settling and over‐wasting of sludge. The poor settling was due to the on‐going CIP construction work           Operations staff is closely monitoring the plant’s
                                             that involves a use of pump for direct feed to the clarifiers. The sludge over‐wasting was planned to reduce the plant’s            sludge level and making process adjustments, as
                                             solids level in preparation for expected rainfall. Rainfall of 1.0 inches on June 30, 2015 and 0.5 inches on the day before         needed, to maintain permit compliance.
NH3‐N                6/1/2015‐6/30/2015
                                             may have contributed to the problem by washing solids out of the sludge return channel. These factors caused elevated
                                             ammonia (NH3‐N) and total suspended solids (TSS) levels.

                                             Construction activities that limited capacity and detention time coupled with a power outage on August 12 and 13, 2015              Steps have been taken to ensure that an adequate
                         8/12/2015           that removed two blowers from service affected the plant’s ability to maintain the ammonia (NH3‐N) levels below the                 number of blowers are in service. Operations
                         8/13/2015           permitted limit. The above‐referenced construction activities limited the plant’s ability to maintain total suspended solids        staff is closely monitoring the plant’s sludge level
NH3‐N                                        (TSS) levels below the permitted limits.                                                                                            and making process adjustments to maintain
                         8/14/2015
                         8/15/2015                                                                                                                                               permit compliance.
                     08/09 to 08/15/2015
                                             A combination of construction activities that limited capacity and detention time and a power failure during a storm                Operations is working diligently with the
                                             experienced on August 19 and 20 caused elevated TSS and NH3‐N concentrations throughout the month. These elevated                   contractor to plan and execute the construction
NH3‐N                8/1/2015‐8/31/2015      concentrations affected the calculated daily averages.                                                                              so that there is minimal effect on the effluent.


                                             A combination of construction activities that limited capacity and detention time and power failures during the storm that          Aeration blowers #1 and #6 were repaired.
NH3‐N                11/22 to 11/28/2015     removed aeration blowers #1 and #6 from service. The storm took place from 10/30/15 to 11/1/15 and resulted in 11.3
                                             inches of rainfall at the WWTP.
                                             Process capability was limited due to a combination of construction activities and power failure that took aeration blower          Operations is working diligently with the
NH3‐N               12/1/2015‐12/31/2015     #1 out of service due to a storm. This affected the daily average concentration for the monitoring period.                          contractor to plan and execute construction with
                                                                                                                                                                                 minimum effect to the effluent.
                          6/25/2016
                          6/26/2016
NH3‐N                     6/27/2016
                        6/1‐6/30/2016        Sludge dryer breakdowns caused high solids in the plant, and malfunctioning aeration blowers caused limited dissolved               The aeration blowers were repaired and put back
                     6/26/2016‐7/2/2016      oxygen in the aeration basins.                                                                                                      in service.

                          7/19/2017
                          7/20/2017
NH3‐N
                          7/21/2017
                          7/22/2017          High solids resulting from sludge dryer breakdowns combined with aeration blower failures caused incomplete treatment
                      7/16/2017‐7/22/17      of ammonia‐nitrogen.                                                                                                                The aeration blower was repaired, and the sludge dryers are back in service.

                                             Combination of high solids inventory and heavy rain in the service area. According to the rain gauge at the WWTP, it rained         The situation corrected itself once flow subsided.
                                             1.9 inches on 1/22/2015.The hydraulic surge due to the severe weather caused the plant to maintain a high flow (20‐40
TSS                      01/22/2015
                                             MGD) for about five hours, allowed solids to escape out into the effluent, and resulted in a high TSS concentration.

                         4/10/2015           Combination of high solids inventory, unavailable clarifier due to an ongoing contractor activity and rain in the service area      Additional solids will be hauled out from the plant
                         4/11/2015           (0.1" on 4/10, 1.3" on 4/11/15, 0.15" on 4/12/15, 1.4" on 4/16, 3.3" on 4/17, 0.1 on 4/18). These factors caused the TSS            by truck during contractor activity, which is
                         4/12/2015           concentration to rise above the permit limit.                                                                                       estimated to be completed within two months.
                         4/16/2015
TSS
                         4/17/2015
                         4/18/2015
                       4/12‐4/18/2015

                          4/22/2015          Combination of high solids inventory and unavailable clarifiers (#4 & #5) due to ongoing contractor activity. These factors         Contractor activity is estimated to be completed
                          4/23/2015          caused the TSS concentration to rise above the permit limit.                                                                        within two months.
TSS                       4/24/2015
                          4/25/2015
                       4/19‐4/25/2015
                          4/27/2015          Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a          Solids were trucked out of the plant while COH
                          4/28/2015          temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing      contractors were working on the sludge dryers. As
                          4/29/2015          limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to      of the date of this writing, the dryers and all
TSS
                          4/30/2015          the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant             clarifiers are operational.
                        4/26‐5/2/2015        during future construction and will take all actions necessary to mitigate adverse effects.
                                                                                                    Page 11 of 19
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                             Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a       Solids were trucked out of the plant while COH
                             temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing   contractors were working on the sludge dryers. As
       4/1/2015‐4/30/2015
TSS                          limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to   of the date of this writing, the dryers and all
          4/1‐4/30/2015
                             the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant          clarifiers are operational.
                             during future construction and will take all actions necessary to mitigate adverse effects.

            5/1/2015         Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a       Solids were trucked out of the plant while COH
            5/2/2015         temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing   contractors were working on the sludge dryers. As
            5/3/2015         limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to   of the date of this writing, the dryers and all
            5/4/2015         the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant          clarifiers are operational.
TSS         5/5/2015         during future construction and will take all actions necessary to mitigate adverse effects.
            5/6/2015
            5/7/2015
            5/8/2015
           5/10/2015
                             Several factors apparently contributed to the measured values reported herein, including: two out‐of‐service clarifiers, a       Solids were trucked out of the plant while COH
                             temporary failure in a third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing   contractors were working on the sludge dryers. As
TSS    05/03 to 05/09/2015   limitations during a large maintenance project at the sludge drying facility. In some instances, heavy rainfall contributed to   of the date of this writing, the dryers and all
                             the noncompliance issues (April 17 and 18, 2015). The COH plans to maintain continuous operation of the treatment plant          clarifiers are operational.
                             during future construction and will take all actions necessary to mitigate adverse effects.
                             Several factors apparently contributed to the excursion, including: two out‐of‐service clarifiers, a temporary failure in a      Solids were trucked out of the plant while COH
       5/1/2015‐5/31/2015    third clarifier due to a clogged sludge return line, and high solids inventory due to sludge processing limitations during a     contractors were working on the sludge dryers. As
TSS
          5/1‐5/31/2015      large maintenance project at the sludge drying facility. These factors caused the TSS concentration to rise above the permit     of May 14, 2015 the dryers and all clarifiers are
                             limit for several days during the month of May affecting the calculated daily average concentration.                             operational.
                              Combination of poor settling and over‐wasting of sludge. The poor settling was due to the on‐going CIP construction work        Operations staff is closely monitoring the plant’s
            6/28/2015        that involves a use of pump for direct feed to the clarifiers. The sludge over‐wasting was planned to reduce the plant’s         sludge level and making process adjustments, as
            6/29/2015        solids level in preparation for expected rainfall. Rainfall of 1.0 inches on June 30, 2015 and 0.5 inches on the day before      needed, to maintain permit compliance.
TSS
            6/30/2015        may have contributed to the problem by washing solids out of the sludge return channel. These factors caused elevated
          6/18‐7/4/2015      ammonia (NH3‐N) and total suspended solids (TSS) levels.

                              Combination of poor settling and over‐wasting of sludge. The poor settling was due to the on‐going CIP construction work        Operations staff is closely monitoring the plant’s
                             that involves a use of pump for direct feed to the clarifiers. The sludge over‐wasting was planned to reduce the plant’s         sludge level and making process adjustments, as
       6/1/2015‐6/30/2015
TSS                          solids level in preparation for expected rainfall. Rainfall of 1.0 inches on June 30, 2015 and 0.5 inches on the day before      needed, to maintain permit compliance.
          6/1‐6/30/2015
                             may have contributed to the problem by washing solids out of the sludge return channel. These factors caused elevated
                             ammonia (NH3‐N) and total suspended solids (TSS) levels and calculated loading.
                             The clarifiers experienced poor settling due to the on‐going CIP construction work that involves the use of a pump for           Operations staff is closely monitoring the activities
            7/1/2015
                             direct feed to the clarifiers.                                                                                                   of the contractor and making process
TSS         7/2/2015
                                                                                                                                                              adjustments, as needed, to maintain permit
            7/3/2015
                                                                                                                                                              compliance.
                             Construction activities that limited capacity and detention time coupled with a power outage on August 12 and 13, 2015           Steps have been taken to ensure that an adequate
            8/14/2015
                             that removed two blowers from service affected the plant’s ability to maintain the ammonia (NH3‐N) levels below the              number of blowers are in service. Operations
            8/15/2015
TSS                          permitted limit. The above‐referenced construction activities limited the plant’s ability to maintain total suspended solids     staff is closely monitoring the plant’s sludge level
            8/16/2015
                             (TSS) levels below the permitted limits.                                                                                         and making process adjustments to maintain
          8/9‐8/15/2015                                                                                                                                       permit compliance.
                             Construction activities that limited capacity and detention time coupled with power failures during the storm experienced        Operations is working diligently with the
           8/20/2015         on August 19 and 20 caused the TSS concentration to rise above the permitted limit.                                              contractor to plan and execute the construction
TSS
         8/16‐8/22/2015                                                                                                                                       so there is minimal effect on the effluent.

                             Construction activities that limited capacity and detention time caused the TSS concentration to rise above the permitted        Operations is working diligently with the
                             limit.                                                                                                                           contractor to plan and execute the construction
TSS        08/25/2015
                                                                                                                                                              so there is minimal effect on the effluent.

                             A combination of construction activities that limited capacity and detention time and a power failure during a storm             Operations is working diligently with the
       8/1/2015‐8/31/2015    experienced on August 19 and 20 caused elevated TSS and NH3‐N concentrations throughout the month. These elevated                contractor to plan and execute the construction
TSS
          8/1‐8/31/2015      concentrations affected the calculated daily averages and daily average loading.                                                 so that there is minimal effect on the effluent.

                             A combination of construction and power failures during the storm on October 25 limited capacity and detention time.             Dryer cake pump #1 was pulled for repairs or
                             Dryer cake pump #1 broke down and limited the plant's ability to process sludge at routine volumes.                              replacement. Operations is working closely with
TSS        10/25/2015                                                                                                                                         the contractor to plan and execute construction
                                                                                                                                                              with minimal affect to effluent quality.

                             Combination of construction and failed equipment. Ongoing construction activities limited capacity and detention time.           Operations is working diligently with the
                             Dryer cake pump #1 failed, removing the dryer from service and limiting sludge processing capability.                            contractor to plan and execute construction with
TSS        11/17/2015                                                                                                                                         minimal effect to the effluent. Dryer cake pump
                                                                                                                                                              #1 was repaired under work order #1175575.

                             A combination of construction activities that limited capacity and detention time, power failures during the storm that          Operations is working diligently with the
TSS        12/13/2015        dropped 2.5 inches of rain, and the failure of dryer unit #2. These factors combined to limit process capability.                contractor to plan and execute construction with
                                                                                                                                                              minimum effect to the effluent.
                                                                                                                                                              Operation is working diligently with the contractor
TSS         1/6/2016         A combination of construction activities that limited capacity and detention time, power failures during storm that dropped      to plan and execute construction with minimum
                             1.05 inches of rain, and the failure of dryer unit #2. These factors combined to limit process capability.                       effect to the effluent.

                                                                                                                                                              Operations is working diligently with the
TSS         1/8/2016
                                                                                                                                                              contractor to expedite construction. Additionally,
                             A combination of rain (1 inch recorded at WWTP), high solids, and construction which limited capacity within the plant.          solids are being removed from the plant.

                                                                                                                                                              Operations is working diligently with the
TSS         1/9/2016
                                                                                                                                                              contractor to expedite construction. Additionally,
                             A combination of high solids and construction which limited capacity within the plant.                                           solids are being removed from the plant.

                                                                                                                                                              Operations is working diligently with the
TSS     1/3/2016‐1/9/2016
                                                                                                                                                              contractor to expedite construction. Additionally,
                             A combination of rain, high solids, and construction which limited capacity in the plant.                                        solids are being removed from the plant.

                                                                                                                                                              Operations is working diligently with the
       1/1/2016‐1/31/2016                                                                                                                                     contractor to plan and execute construction with
TSS
          1/1‐1/31/2016      Combination of construction that limited capacity and detention time, power failures during a storm (2.15 inches of rain         minimal effect to the effluent. In order to reduce
                             between 1/6/16 and 1/8/16), and the mechanical failure of the #2 dryer unit. These factors caused elevated TSS levels            the solids level in the plant, sludge was processed
                             during the first week of the month and affecting the calculated daily average and dailt averag loading.                          to wet cake for transportation.

                                                                                                                                                              Operations is working diligently with the
                                                                                                                                                              contractor to plan and execute the construction
TSS         3/9/2016                                                                                                                                          with minimum effluent violations. Power was
                                                                                                                                                              restored, and the clarifier air‐lifts were started in
                             A combination of construction that limited capacity and detention time, power failures during the storm that affected plant      order to reduce the high levels of solids in the
                             operations, and the #2 dryer unit being out of service. On March 9, 2016, 2.10 inches of rain were recorded at the WWTP.         clarifiers.
                             Combination of high solid inventory in the plant, due to dryer #1 failure, and power failures during a storm (2.0 inches of      Work order #126597 was created to repair dryer
TSS        5/27/2016         rain on 5/27/2016). These factors contributed to the elevated TSS that day.                                                      #1
                                                                                                                                                              The maintenance group is working to repair the
TSS         6/8/2016         One of the sludge dryers broke down, causing elevated solids throughout the plant; and a power failure during a lightning        dryer unit and put it back in service (work order
                             storm. These factors caused solids to discharge over the weirs of clarifier #2.                                                  #1264778).




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Plant 69 th Street

 Permit Parameter Non-Compliance Date(s)                                                   Initial Root Cause Assessment                                                                                                  CORRECTIVE ACTION

                                           Combination of hydraulic surge and high solids inventory in the plant. According to the rain gauge, it rained 1.8 inches on March
                                           09, 2015 and 1.90 inches on the day before. The combination resulted in elevated CBOD-5 concentration.
                     03/09/2015                                                                                                                                                   Operations staff is closely monitoring the plant and making process adjustments, as needed.

      CBOD5


                                           A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an                All available equipment was put into service, including B Train.
                     1/17/2017
                                           elevated solids inventory. As a result, an elevated concentration of CBOD was discharged.                                              NOTE: The Northside WWF discharged on January 17, 2017 and January 18, 2017.
                     6/16/2015                                                                                                                                        The City was issued a draft permit on December 06, 2011. Upon issuance of the new permit, the
                     6/30/2015             The source of copper in the effluent is unknown, seasonal use of copper based algaecide may have contributed to the higher discharge limitations for copper will be revised to; 0.039 mg/L as single grab (one/week), 0.0264 mg/L
                     6/1-6/30/2015         copper levels. All available equipment was in service.                                                                     for 7-day average, and 0.013 mg/L (22 lbs/day) for daily average. The violations will not occur when the
                     6/1-6/30/2015                                                                                                                                    new permit is issued.
                     11/1/2016
                     11/82016
                     11/15/2016            The source of copper in the effluent is unknown. The City suspects that the influent contained an abnormally high
                                                                                                                                                                                  The City's Industrial Waste Group has been notified of the elevated levels of copper in the effluent.
                     11/22/2016            concentration of the pollutant.
                     11/29/2016
                     11/1‐11/30/2016


                     12/6/2016             The source of copper in the effluent is unknown. The City suspects that the influent contained an abnormally high
                                                                                                                                                                                  The City's Industrial Waste Group has been notified of the elevated levels of copper in the effluent.
                     12/1‐12/31/2016       concentration of the pollutant.



                     1/17/2017
                                           The source of copper in the effluent is unknown. The City suspects that the influent contained an abnormally high
                     1/1‐1/31/2017                                                                                                                                                The City's Industrial Waste Group has been notified of the elevated levels of copper in the effluent.
                                           concentration of the pollutant.
                     1/1‐1/31/2017


                     2/7/2017
                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     2/14/2017             The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                                                                                                                                                                                  limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     2/28/2017             higher copper levels. All available equipment was in service.
                                                                                                                                                                                  and 0.013 mg/L (22 lbs/day) for daily average.
                     2/1‐2/28/2017
                     3/7/2017
      Copper                                                                                                                                                                      The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     3/21/2017             The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                                                                                                                                                                                  limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     3/28/2017             higher copper levels. All available equipment was in service.
                                                                                                                                                                                  and 0.013 mg/L (22 lbs/day) for daily average.
                     3/1‐3/31/2017
                     4/4/2017
                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     4/11/2017             The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                                                                                                                                                                                  limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     4/18/2017             higher copper levels. All available equipment was in service.
                                                                                                                                                                                  and 0.013 mg/L (22 lbs/day) for daily average.
                     4/1‐4/30/2017

                     8/1/2017
                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     8/8/2017              The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                                                                                                                                                                                  limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     8/1‐8/31/2017         higher copper levels. All available equipment was in service.
                                                                                                                                                                                  and 0.013 mg/L (22 lbs./day) for daily average.
                     8/1‐8/31/2017

                     10/3/2017                                                                                                                                                    The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                                           The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                     10/31/2017                                                                                                                                                   limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                                           higher copper levels. All available equipment was in service.
                     10/1‐10/31/2017                                                                                                                                              and 0.013 mg/L (22 lbs./day) for daily average.

                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     11/7/2017             The source of copper in the effluent is unknown. Also, seasonal use of copper‐based algaecide may have contributed to the
                                                                                                                                                                                  limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     11/1‐11/30/2017       higher copper levels. All available equipment was in service.
                                                                                                                                                                                  and 0.013 mg/L (22 lbs./day) for daily average.
                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     2/6/2018              The source of copper in the effluent is unknown.                                                                                       limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     2/1‐2/28/2018                                                                                                                                                and 0.013 mg/L (22 lbs./day) for daily average.
                                                                                                                                                                                  The City was issued a draft permit on July 25, 2016. Upon issuance of the new permit, the discharge
                     7/24/2018
                                           The source of copper in the effluent is unknown.                                                                                       limitations for copper will be revised to: 0.039 mg/L for single grab, 0.0264 mg/L for 7‐day average,
                     7/1‐7/31/2018                                                                                                                                                and 0.013 mg/L (22 lbs./day) for daily average.
                                           Combination of hydraulic surge and out of service equipment. COH contractor for the Northside Relief Tunnel Rehab
                                           construction project opened the bypass gate, causing the Clinton Dr. lift station to start all pumps; this created a hydraulic surge   Operations staff is closely monitoring the plant and making process adjustments, as needed. The
       NH3           1/21/2015
                                           to the plant. Train “F” was out of service for repair. The inadequate detention time resulting from multiple factors resulted in an    contractor was notified to avoid any action that may cause further recurrence.
                                           elevated NH3-N concentration.
                                           Combined out of-service equipment (B train) and high solids due to sludge processing capabilities. Heavy rainfall of 2.35 inches
                                                                                                                                                                                  Operations staff is closely monitoring the plant and making process adjustments, as needed. Train B
       NH3           4/1/-4/30/2015        on April 17, 2015 and 2.30 inches the day before may have contributed. These issues resulted in elevated NH3-N
                                           concentrations for several days which affected the calculated daily average concentration.                                             was put back in service.
                                           Combination of construction and equipment failure. Heavy rain during the month of May and historic flooding were also factors.
                                           Ongoing rehabilitation of Northside Relief Tunnel and out of service clarifiers (1B, 1D, and 1E) contributed to the problem. These Operations staff is closely monitoring the plant and making process adjustments, as needed. Clarifiers
       NH3           5/1-5/31/2015
                                           factors affected the treatment process, resulting in elevated NH3-N concentrations for several days and accordingly the            1D and 1E were put back in service.
                                           calculated daily average.
                                           Combination of construction and equipment failure. Heavy rainfall had occurred several times during the month of June 2015
                                           may have contributed to the problem. Ongoing rehabilitation of Northside Relief Tunnel and out of service B train and wasting B train was put back into service and wasting pumps are scheduled for repair. Operations staff is
       NH3           6/1-6/30/2015
                                           pumps 2C/D, 2E and 2G. These factors affected the treatment process, resulting in elevated NH3-N concentrations for several closely monitoring the plant and making process adjustments, as needed.
                                           days and accordingly the calculated daily average.
                                           A combination of construction (installation of a suction valve on CSP #2, B Train out of service for installation of new electrical
                                                                                                                                                                               Power was restored to the facility. Repairs were made to 1D and 1H clarifiers, and they were put back
       NH3           7/05 to 7/11/2015     equipment), equipment failure (1D and 1H clarifiers down for repairs), and complete power failure to the WWTP (138 electrical
                                           sub-station power failure) caused elevated ammonia-nitrogen levels throughout the week.                                             into service.

                                           Ongoing rehabilitation of the Northside Relief Tunnel and numerous active construction projects throughout the plant in
       NH3           7/1-7/31/2015         combination with complete power failure on 7/11/2015. Heavy rain in the service area, during the month of July, may have               Operations staff is closely monitoring the plant and making process adjustments as needed.
                                           contributed to the problem. These factors caused elevated ammonia-nitrogen levels throughout the month of July.
                                           Ongoing rehabilitation of the Northside Relief Tunnel and numerous active construction projects throughout the plant. Periods
       NH3           9/1-9/30/2015         of heavy rain in the service area may have contributed to the problem. These factors caused elevated ammonia concentrations            Operations staff is closely monitoring the plant and making process adjustments, as needed.
                                           throughout the month, affecting the calculated daily average.
                                           A combination out of-service equipment (D train) and excessive flow released from the Clinton lift station due to the removal of
       NH3           2/6/2016              the stop logs at the ongoing tunnel rehabilitation construction project. These issues affected the treatment process and resulted      Plant was placed in feed forward mode to handle excessive flow.
                                           in an elevated NH3-N concentration .
                                           Equipment failure. The hydraulic valve system failed at the main lift, the H Train was out of service so contractors could
                                           perform work, and the removal of the stop logs at the ongoing rehabilitation of the Northside Relief Tunnel contributed to the
       NH3           3/24/2016                                                                                                                                                    The oxygen feed was increased.
                                           exceedance. Heavy rainfall in the service area (1.2 inches recorded at the WWTP) may have also contributed to the
                                           exceedance.
                     4/24/2016
                     4/27/2016                                                                                                                                                    Maintenance removed the stoppages from the RAS pumps, and the malfunctioning clarifier was
                     4/28/2016             Equipment failure. One of the clarifier skimmer arms malfunctioned, and RAS pumps had stoppages. The onsite oxygen                     drained for repairs.
       NH3
                                           plant also failed. These factors affected the treatment process and resulted in an elevated NH3‐N concentration.
                     4/24‐4/30/2016                                                                                                                                               NOTE: The Northside WWF did not discharge.
                     4/1‐4/30/2016
                                           Equipment failure. One of the clarifier skimmer arms malfunctioned and RAS pumps had stoppages. The onsite oxygen plant
                                                                                                                                                                                  Maintenance removed stoppages from the RAS pumps, and the malfunctioned clarifier was drained for
       NH3           5/1-5/7/2016          also failed. These factors affected the treatment process and resulted in an elevated NH3-N concentration through the first
                                           week of May 2016.                                                                                                                      repairs.

                     5/13/2016             Combination of equipment failure, RAS pumps had stoppages, and ongoing rehabilitation of the northside relief tunnel. 0.88
       NH3           5/14/2016             inch of rain in the service area may have contributed to the problem. These factors affected the treatment process and resulted        Maintenance groups are working for removing stoppages from the RAS pumps, and the malfunctioned
                                                                                                                                                                                  clarifiers were drained for repairs.
                     5/8-5/14/2016         in an elevated NH3-N concentration.


                                           Combination of equipment failure, RAS pumps had stoppages, ongoing rehabilitation of the northside relief tunnel, and
                                                                                                                                                                                  Maintenance groups are working for removing stoppages from the RAS pumps, and the
       NH3           5/25/2016             insufficient oxygen feed to 2G and 2H reactors due to contractor work to replace oxygen feed lines. These factors affected
                                                                                                                                                                                  malfunctioned clarifiers were drained for repairs.
                                           the treatment process and resulted in an elevated NH3‐N concentration.

                                           Combination of equipment failure, RAS pumps had stoppages, ongoing rehabilitation of the northsid relief tunnel, and
                     5/26/2016
                                           insufficient oxygen feed to 2G and 2H reactors due to contractor work to replace oxygen feed lines. Multiple rain events (1.9          Maintenance groups are working for removing stoppages from the RAS pumps, and the
       NH3           5/27/2016
                                           inches on 5/26 and 2.9" on 5/27/2016) during that week may have contributed to the problem. These factors affected the                 malfunctioned clarifiers were drained for repairs. New oxygen feed lines installation was completed.
                     5/22‐5/28/2016
                                           treatment process and resulted in the elevation of NH3‐N concentrations for several days that affected the 7‐day average.




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                      A combination of equipment failure, RAS pump stoppages, ongoing rehabilitation of the Northside Relief Tunnel, a filtration   The maintenance group is working to remove stoppages from the RAS pumps, and the
      5/1‐5/31/2016
NH3                   system problem, and heavy rainfall affected the treatment process and resulted in an elevated NH3‐N concentration             malfunctioning clarifiers were drained for repairs. New oxygen feed line installation has been
      5/1‐5/31/2016
                      throughout the month. This affected the calculated daily average concentration.                                               completed.




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                         A combination of equipment failure, RAS pump stoppages, ongoing rehabilitation of the Northside Relief Tunnel, a filtration    The maintenance group is working to remove the stoppages from the RAS pumps, and the
NH3   5/29‐6/4/2016      system problem, and heavy rainfall affected the treatment process and resulted in elevated NH3‐N concentrations during         malfunctioning clarifiers were drained for repairs. New oxygen feed line installation has been
                         the first week of June.                                                                                                        completed.
                                                                                                                                                        Air Products continues to haul in oxygen to supply the reactors. The maintenance group is removing
      6/1‐6/30/2016                                                                                                                                     stoppages from the RAS and WAS pumps.
NH3                      A combination of equipment failure (RAS pumps) and oxygen plant problems caused elevated NH3‐N loadings during June.
      6/1‐6/30/2016
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
      6/1/2016
      6/2/2016
                                                                                                                                                        The maintenance group is working to remove stoppages from the RAS pumps, and the
      6/7/2016           A combination of equipment failure, RAS pump stoppages, ongoing rehabilitation of the Northside Relief Tunnel, a filtration
NH3                                                                                                                                                     malfunctioning clarifiers were drained for repairs. New oxygen feed line installation has been
                         system problem, and heavy rainfall affected the treatment process and resulted in an elevated NH3‐N concentration.
                                                                                                                                                        completed.
      6/5‐6/11/2016

                                                                                                                                                        Air Products continues to haul in oxygen to supply the reactors. The maintenance group is removing
      6/27/2016                                                                                                                                         stoppages from the RAS and WAS pumps.
NH3                      A combination of equipment failures (RAS pumps) and oxygen plant problems caused incomplete NH3‐N treatment.
      6/28/2016
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
                                                                                                                                                        Air Products continues to haul in oxygen to supply the reactors. The maintenance group is removing
                         A combination of equipment failures (RAS pumps), oxygen plant problems, and temporary elevated BOD loading from                stoppages from the RAS and WAS pumps.
NH3   6/26‐7/1/2016
                         Anheuser Busch caused elevated NH3‐N concentrations during the first week of July.
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
      7/2/2016
      7/3/2016
      7/5/2016
      7/10/2016                                                                                                                                         Air Products continues to haul in oxygen to supply the reactors. The maintenance group is removing
      7/7/2016           A combination of equipment failures (RAS pumps), oxygen plant problems, and temporary elevated BOD loading from                stoppages from the RAS and WAS pumps.
NH3
      7/14/2016          Anheuser Busch caused an elevated NH3‐N concentration.
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
      7/3‐7/9/2016
      7/10‐7/16/2016
      7/1‐7/31/2016
                         A combination of oxygen plant failure, RAS/WAS pump stoppages, and heavy rainfall affected the treatment process and
NH3   8/1‐8/31/2016                                                                                                                                     Stoppages continue to be removed from the RAS and WAS pumps.
                         caused elevated NH3‐N concentrations throughout the month.
      9/24/2016
                         A combination of equipment failure (mixers) and high solids due to stoppages in RAS and WAS pumps affected the                 Maintenance personnel removed stoppages from RAS and WAS pumps. Three mixer motors were
NH3   9/18‐9/24/2016
                         treatment process and resulted in an elevated ammonia concentration.                                                           also removed and sent out for repairs.
      9/1‐9/30/2016

      10/12/2016
      10/13/2016
      10/14/2016
      10/15/2016
      10/18/2016
      10/19/2016
      10/20/2016
      10/21/2016
      10/23/2016
      10/24/2016
                         A number of equipment failures (WAS lift station, RAS pump stoppages, sludge dryers) caused high solids in the WWTP,           Maintenance removed WAS pumps for maintenance and repairs. Maintenance is also continuously
NH3   10/25/2016
                         affecting the treatment process and resulting in an elevated ammonia concentration.                                            removing stoppages from the RAS and WAS pumps.
      10/27/2016
      10/28/2016
      10/29/2016
      10/30/2016
      10/1‐10/31/2016
      10/1‐10/31/2016
      10/16‐10/22/2016
      10/23‐10/29/2016
      10/30‐11/5/2016
      10/9‐10/15/2016
      11/4/2016
      11/5/2016
      11/18/2016
      11/21/2016
      11/22/2016         A number of equipment failures (WAS lift station, RAS pump stoppages, sludge dryers) caused high solids in the WWTP,           Maintenance removed WAS pumps for maintenance and repairs. Maintenance is also continuously
NH3
      11/23/2016         affecting the treatment process and resulting in an elevated ammonia concentration.                                            removing stoppages from the RAS and WAS pumps.
      11/6‐11/12/2016
      11/20‐11/26/2016
      11/1‐11/30/2016

                                                                                                                                                        All available equipment was put into service, included B Train.
                         A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an
NH3   1/29‐2/4/2017
                         elevated solids inventory. As a result, an elevated concentration of NH3‐N was discharged.
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
      2/3/2017
      2/4/2017
      2/5/2017
      2/6/2017
                                                                                                                                                        All available equipment was put into service, included B Train.
      2/7/2017           A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an
NH3
      2/8/2017           elevated solids inventory. As a result, an elevated concentration of NH3‐N was discharged.
                                                                                                                                                        NOTE: The Northside WWF did not discharge.
      2/9/2017
      2/10/2017
      2/11/2017
      2/5‐2/11/2017
      2/14/2017
      2/16/2017
      2/17/2017
      2/18/2017
      2/19/2017                                                                                                                                         All available equipment was put into service, including the C Train which was out of service for
                         A combination of equipment failure (1G clarifier drive failure), out of service equipment (C Train for grit/debris removal),
                                                                                                                                                        maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
NH3                      and continuous stoppages in the WAS/RAS pumps caused and elevated concentration of NH3‐N in the effluent. Heavy rain
      2/1‐2/28/2017
                         in the service area may have contributed.
      2/12‐2/18/2017                                                                                                                                    NOTE: The Northside WWF did not discharge.
      2/19‐2/25/2017
      2/26‐3/4/2017




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      3/10/2017, 3/18/2017
      3/19/2017, 3/22/2017
      3/23/2007, 3/24/2017
      3/25/2017, 3/26/2017
      3/27/2017, 3/28/2017
      3/31/2017,
      3/5‐3/11/2017
      3/12‐3/18/2017
      3/19‐3/25/2017                                                                                                                                             All available equipment was put into service, including the C Train which was out of service for
                             A combination of out of service equipment (C Train for grit/debris removal) and continuous stoppages in the WAS/RAS
      3/1‐3/31/2017                                                                                                                                              maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
NH3                          pumps caused an elevated concentration of NH3‐N in the effluent. Heavy rain (6.9 inches at the WWTP between March 5
      3/26‐4/1/2017
                             and 11) in the service area may have contributed to the problem.
                                                                                                                                                                 NOTE: The Northside WWF did not discharge.
      4/1/2017; 4/2/2017
      4/3/2017; 4/4/2017
      4/5/2017; 4/6/2017
      4/8/2017; 4/9/2017
      4/10/2017
      4/2‐4/8/2017;
      4/9‐4/15/2017;
      4/1‐4/30/2017;


                             A combination of RAS pump failures, out of service reactors for grit removal, and WAS pump stoppages caused incomplete              WAS pump stoppages were cleared; two RAS pumps were replaced; and contractors completed grit
NH3   6/1‐6/30/2017
                             treatment.                                                                                                                          removal activities on A train reactors and placed the train back in service.

      7/7/2017
      7/8/2017
      7/9/2017
                             The sludge handling facility was out of service, preventing adequate wasting. In addition, the H Train was out of service for       All available equipment was put into service. Maintenance continues to remove stoppages from
NH3
      7/2‐7/8/2017           grit and debris removal, and the WAS/RAS pumps were experiencing continuous stoppages.                                              WAS/RAS pumps.
      7/9‐7/15/217
      7/23‐7/29/2017
      7/1‐7/31/2017

NH3   8/27‐9/2/2017          Hurricane Harvey related. Hydraulic overload for an extended period of time prevented complete nitrification.                       All available equipment was put into service.

                             The Clinton Drive lift station was out of service from 6:00 pm on 9/21/17 to 3:30 pm on 9/22/17, causing the raw
      9/23/2017
                             wastewater in the wet well to become septic. When the Clinton Drive lift station came back online, a large amount of septic
NH3   9/24‐9/30/2017                                                                                                                                             All available equipment was put into service.
                             waste entered the WWTP at one time, disrupting the nitrification process. In addition, the F Train is out of service for
      9/1‐9/30/2017
                             grit/debris removal and some WAS/RAS pumps experienced stoppages.

                             A combination of high solids inventory (sludge drying facility operating on limited dryers), equipment failure (wasting             Cleaning operations on the F train were completed, and the units were put back into service. The
NH3   10/1‐10/31/2017        station was down for two days), and reactors out of service (E and F trains down for grit/debris removal) affected the              wasting station was repaired and put back in service. Additional dryers were put into service to
                             treatment process's ability to completely treat NH3‐N.                                                                              process additional solids.

                             The E Train was out of service for inspection and bull gear repairs. Eight aeration mixers were out of service for repairs to
      3/16/2018
NH3                          the gearboxes. The sludge drying facility was operating at a limited capacity, resulted in a high solids inventory. These           Repairs are pending.
      3/17/2018
                             factors caused an elevated ammonia‐nitrogen concentration.

      3/18/2018
      3/19/2018
      3/21/2018
                             Eight aeration mixers were out of service for repairs to the gearboxes. The sludge drying facility was operating at a limited
NH3   3/24/2018                                                                                                                                                  Repairs are pending. An additional sludge dryer was put online 3/24/17
                             capacity, resulted in a high solids inventory. These factors caused an elevated ammonia‐nitrogen concentration.
      3/18‐3/24/2018
      3/25‐3/31/2018
      3/1‐3/31/2018
      4/3/2018
      4/4/2018
      4/5/2018
      4/6/2018
      4/7/2018
      4/8/2013
      4/13/2018
      4/27/2018
      4/28/2018              Eight aeration mixers were out of service for repairs to the gearboxes. The sludge drying facility was operating at a limited       Gearbox repairs are pending. Maintenance and contractors are working on equipment so that more
NH3
      4/29/2018              capacity, resulting in a high solids inventory. These factors caused an elevated ammonia‐nitrogen concentration.                    sludge dryers can be put in service.

      4/1‐4/30/2018
      4/1‐4/30/2018
      4/1‐4/7/2018
      4/8‐4/14/2018
      4/22‐4/28/2018



      5/1/2018
      5/2/2018
      5/4/2018               A series of equipment failures and out of service equipment in April caused elevated ammonia concentrations. The WWTP
NH3                                                                                                                                                              Gearbox repairs are pending.
                             is still recovering from those issues.
      4/29‐5/5/2018

                             The E Train is out of service due to damage to the clarifier bull gear, and eight aeration mixers were removed and sent for
                             repair to the gearboxes.                                                                                                            The sludge drying facility placed additional dryers in service. Mixers from the E Train were moved to
NH3   5/12/2018
                                                                                                                                                                 replace the damaged mixers that are out for repairs.
                             ***Review of laboratory data on 6/12/18 showed that the result is 10 mg/L.***
      5/19/2018

      5/6‐5/12/2018          The E Train is out of service due to damage to the clarifier bull gear, and eight aeration mixers were removed and sent for         The sludge drying facility placed additional dryers in service. Mixers from the E Train were moved to
NH3
      5/13‐5/19/2018         repair to the gearboxes.                                                                                                            replace the damaged mixers that are out for repairs.
      5/20‐5/26/2018
      5/1‐5/31/2018
      6/1‐6/30/2018
                             Excessive solids in the process caused by limited sludge plant production prevented complete treatment of ammonia‐                  Repairs to the sludge dryers are ongoing. Operations continues to make adjustments to balance the
NH3   6/17‐6/23/2018
                             nitrogen.                                                                                                                           distribution of solids.
      6/24‐6/30/2018
                                                                                                                                                                 Maintenance and contractors and working on repairs to sludge drying equipment. Sludge is being
                             High solids inventory due to limitations at the sludge drying facility caused elevated NH3‐N concentrations throughout the          wet‐hauled to reduce the solids inventory.
NH3   7/1‐7/31/2018
                             month.
                                                                                                                                                                 NOTE: The Northside WWF discharged on July 4, 2018.


                             Combination of hydraulic surge and high solids inventory in the plant. According to the rain gauge, it rained 1.8 inches on March
      3/9/2015
TSS                          09, 2015 and 1.90 inches on the day before. The combination resulted in elevated TSS concentration, which affected the              Operations staff is closely monitoring the plant and making process adjustments, as needed.
      3/08 - 3/14/2015
                             calculated 7-day average.


      4/11/2015              Combination of hydraulic surge and high solids inventory in the plant. According to the rain gauge, it rained 1.9 inches on April
      4/16/2015              11, 2015 and 0.31 inches on the day before. it rained 2.35 inches on April 17, 2015 and 2.30 on April 16, 2015. 4/16 and 4/17:
TSS                                                                                                                                                              Operations staff is closely monitoring the plant and making process adjustments, as needed.
      4/17/2015              B train was out of service for repair. The combination resulted in elevated TSS concentrations in two days during the week,
      04/12- 04/18/2015      which affected the calculated 7-day average.

                                                                                                                                                                 The maintenance group is working to remove stoppages from the RAS pumps, and the
      5/22‐5/28/2016         A combination of equipment failure, RAS pump stoppages, ongoing rehabilitation of the Northside Relief Tunnel, a filtration
TSS                                                                                                                                                              malfunctioning clarifiers were drained for repairs. New oxygen feed line installation has been
      5/29‐6/4/2016          system problem, and 2.9 inches of heavy rain affected the treatment process and resulted in an elevated TSS concentration
                                                                                                                                                                 completed.




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                            Combination of construction and equipment failure. Heavy rainfall of 2.8 inches on June 16, 2015 and 0.74 inches the day
                            before may have contributed to the problem. Ongoing rehabilitation of Northside Relief Tunnel and out of service B train and
                            wasting pumps 2C/D, 2E and 2G. These factors affected the treatment process, resulting in elevated TSS concentration.             B train was put back in service and wasting pumps are scheduled for repair. Operations staff is closely
TSS   06/16/2015
                                                                                                                                                              monitoring the plant and making process adjustments, as needed.



                            Severe rain in the service area. According to the rain gauge, it rained 8.8 inches on October 24. This resulted in elevated TSS
TSS   10/24/2015            concentration.                                                                                                                    Operations staff is closely monitoring the plant and making process adjustments, as needed.

                            Combination of removal of the stop logs at the ongoing rehabilitation of the Northside Relief Tunnel, B Train being down for
TSS   1/6/2016              contractors to inspect the drive on clarifier 1B, and heavy rain in the area (1.6 inches recorded at the 69th Street WWTP)        Operations staff is closely monitoring the plant and making process adjustments as needed.
                            may have contributed to the problem.
                            Equipment failure. The hydraulic valve system failed at the main lift, the H Train was out of service so contractors could
                            perform work, and the removal of the stop logs at the ongoing rehabilitation of the Northside Relief Tunnel contributed to the
TSS   3/24/2016                                                                                                                                               Wasting rates were adjusted and are being monitored.
                            exceedance. Heavy rainfall in the service area (1.2 inches recorded at the WWTP) may have also contributed to the
                            exceedance.
                            A combination of equipment failure (RAS pumps) and the removal of the stop logs at the ongoing rehabilitation of the Northside Operations and maintenance cleared the stoppages in the RAS pumps and equipment was placed back
TSS   4/18/2016             Relief Tunnel. Heavy rainfall during the flooding on April 18, 2016 may have contributed. These factors affected the treatment in service. On April 18, 2016, Governor Greg Abbott issued a Disaster Proclamation for Harris County
                            process, resulting in an elevated TSS concentration in the effluent.                                                           and other areas of southeast Texas.
                                                                                                                                                              Maintenance removed stoppages from the RAS pumps, and the malfunctioning clarifier was drained
                            Equipment failure. One of the clarifier skimmer arms malfunctioned, and RAS pumps had stoppages. The onsite oxygen                for repairs.
TSS   4/27/2016
                            plant also failed. These factors affected the treatment process and resulted in an elevated TSS concentration.
                                                                                                                                                              NOTE: The Northside WWF did not discharge.

                            Combination of equipment failure, RAS pumps still have stoppages, ongoing rehabilitation of the northside relief tunnel,
                                                                                                                                                              Maintenance groups are working for removing stoppages from the RAS pumps, and the
TSS   5/27/2016             Filtration system problem . 2.9 inches of heavy rain may have contributed to the problem. These factors affected the
                                                                                                                                                              malfunctioned clarifiers were drained for repairs. New oxygen feed lines installation is completed.
                            treatment process and resulted in an elevated TSS concentration.

                                                                                                                                                              The maintenance group is working to remove stoppages from the RAS pumps, and the
      6/2/2016              A combination of equipment failure, RAS pump stoppages, ongoing rehabilitation of the Northside Relief Tunnel, a filtration
TSS                                                                                                                                                           malfunctioning clarifiers were drained for repairs. New oxygen feed line installation has been
      6/3/2016              system problem, and heavy rainfall affected the treatment process and resulted in an elevated TSS concentration.
                                                                                                                                                              completed.

      11/5/2016
      11/6/2016
      11/23/2016
      12/2/2016
      12/4/2016
                            A number of equipment failures (WAS lift station, RAS pump stoppages, sludge dryers) caused high solids in the WWTP,              Maintenance removed WAS pumps for maintenance and repairs. Maintenance is also continuously
TSS   11/13‐11/19/2016
                            affecting the treatment process and resulting in an elevated ammonia concentration.                                               removing stoppages from the RAS and WAS pumps.
      11/20‐11/26/2016
      11/27‐12/3/2016
      12/4‐12/10/2016
      11/1‐11/30/2016
      12/1‐12/31/2016


                            A combination of equipment failure and excessive sludge returning back into the filtration system from the sludge overflow
      1/17/2017                                                                                                                                               All available equipment was put into service, including the B Train.
TSS                         line. In addition, the B Train is out of service for grit and debris removal and the WAS and RAS pumps are experiencing
      1/18/2017                                                                                                                                               NOTE: The Northside WWF discharged on January 17, 2017 and January 18, 2017.
                            continuous stoppages. Heavy rain may have contributed to the problem.

      1/20/2017                                                                                                                                               All available equipment was put into service, included B Train.
                            A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an
TSS   2/10/2017
                            elevated solids inventory. As a result, an elevated concentration of TSS was discharged.
      2/11/2017                                                                                                                                               NOTE: The Northside WWF did not discharge.

      1/15‐1/21/2017                                                                                                                                          All available equipment was put into service, included B Train.
                            A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an
TSS   1/1‐1/31/2017
                            elevated solids inventory. As a result, an elevated concentration of TSS was discharged.
      1/1‐1/31/2017
                                                                                                                                                              All available equipment was put into service, included B Train.
                            A combination of out of service equipment (B Train for grit/debris removal) and continuous RAS pump stoppages caused an
TSS   2/5‐2/11/2017
                            elevated solids inventory. As a result, an elevated concentration of TSS was discharged.                                          NOTE: The Northside WWF did not discharge.

      2/14/2017                                                                                                                                               All available equipment was put into service, including the C Train which was out of service for
                            A combination of equipment failure (1G clarifier drive failure), out of service equipment (C Train for grit/debris removal),
      2/15/2017                                                                                                                                               maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS                         and continuous stoppages in the WAS/RAS pumps caused and elevated concentration of TSS in the effluent. Heavy rain in
      2/16/2017
                            the service area may have contributed.
      2/12‐2/18/2017                                                                                                                                          NOTE: The Northside WWF did not discharge.

                                                                                                                                                              All available equipment was put into service, including the B and C Trains which were out of service
                            A combination of equipment failure (1G clarifier drive failure), out of service equipment (B and C Train for grit/debris          for maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS   2/1‐2/28/2017
                            removal), and continuous stoppages in the WAS/RAS pumps caused and elevated concentration of TSS in the effluent.
                                                                                                                                                              NOTE: The Northside WWF did not discharge.

      3/5‐3/11/2017
      3/12‐3/18/2017
      3/19‐3/25/2017                                                                                                                                          All available equipment was put into service, including the C Train which was out of service for
                            A combination of out of service equipment (C Train for grit/debris removal) and continuous stoppages in the WAS/RAS
      3/26‐4/1/2017                                                                                                                                           maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS                         pumps caused an elevated concentration of TSS in the effluent. Heavy rain (6.9 inches at the WWTP from March 5 to 11) in
      4/2‐4/8/2017
                            the service area may have contributed to the problem.
      3/1‐3/31/2017                                                                                                                                           NOTE: The Northside WWF did not discharge.
      3/1‐3/31/2017
      4/1‐4/30/2017

                                                                                                                                                              All available equipment was put into service, including the C Train which was out of service for
                            A combination of out of service equipment (C Train for grit/debris removal) and continuous stoppages in the WAS/RAS
      3/5/2017                                                                                                                                                maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS                         pumps caused an elevated concentration of TSS in the effluent. Heavy rain (4.5 inches at the WWTP on March 5 and 1.5
      3/11/2017
                            inches at the WWTP on March 11) in the service area may have contributed to the problem.
                                                                                                                                                              NOTE: The Northside WWF did not discharge.

                                                                                                                                                              All available equipment was put into service, including the C Train which was out of service for
      3/16/2017             A combination of out of service equipment (C Train for grit/debris removal) and continuous stoppages in the WAS/RAS               maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS
      3/31/2017             pumps caused an elevated concentration of TSS in the effluent.
                                                                                                                                                              NOTE: The Northside WWF did not discharge.

                                                                                                                                                              All available equipment was put into service, including the C Train which was out of service for
                            A combination of out of service equipment (C Train for grit/debris removal) and continuous stoppages in the WAS/RAS               maintenance. Maintenance is continuing to clear stoppages in the RAS/WAS pumps.
TSS   4/2/2017
                            pumps caused an elevated concentration of NH3‐N in the effluent.
                                                                                                                                                              NOTE: The Northside WWF did not discharge.

                            A combination of equipment failure, out of service equipment (A Train for grit/debris removal), and continuous stoppages in
TSS   6/24/2017                                                                                                                                               All available equipment was put into service, including the A Train.
                            the WAS/RAS pumps caused poor settling in the clarifiers.

                            The sludge handling facility was out of service, preventing adequate wasting. In addition, the H Train was out of service for     All available equipment was put into service. Maintenance continues to remove stoppages from
TSS   7/13/2017
                            grit and debris removal, and the WAS/RAS pumps were experiencing continuous stoppages.                                            WAS/RAS pumps.

TSS   12/16/2017            A hydraulic surge temporarily caused the contents of the main wet well to flow back up the filter return line.                    All available equipment was put into service.

      2/9/2018, 2/10/2018
                                                                                                                                                              All available equipment was put into service, and process adjustments were made to minimize the
TSS   2/4‐2/10/2018         A hydraulic surge temporarily caused the contents of the main wet well to flow back up the filter return line.
      2/1‐2/28/2018                                                                                                                                           effects.

                                                                                                                                                              All available equipment was put into service, and process adjustments were made to minimize the
TSS   4/22/2018             A hydraulic surge temporarily caused the contents of the main wet well to flow back up the filter return line.
                                                                                                                                                              effects.




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Plant Sagemont
                    Non-Compliance
 Permit Parameter       Date(s)                                   Initial Root Cause Assessment                                                                                  CORRECTIVE ACTION

                                     Near the sample collection time, there was sudden drop in flow from 15 MGD to 1.6 MD          Work order #1122357 was created for the chlorination group to thoroughly inspect the chlorination
                                     as operations made adjustments to accommodate wet weather conditions in the plant.            system to ensure proper operation.
                       5/13/2015
                                     The drop in flow affected the chlorine residual and detention time. The combination may
                                     have contributed to the E. coli violation.
                                     Power failure in the plant. This caused insufficient bleach in the effluent impacting the Chlorination system was checked to ensure proper operation. Disinfectant levels were restored to
                                     E.Coli value.□                                                                            adequate ranges.
                      11/12/2015
                                     **This is a revision of a report submitted on November 19, 2015. The laboratory provided
                                     updated results on December 7, 2015.
                                     Insufficient bleach feed in the chlorine contact basin due to communication failure with
      E.Coli           6/16/2016     the control center to notify the operator on time to correct the problem. This caused the
                                     elevation of the E.coli value.                                                            Work orders #1267679 and #1268019 were issued to check and repair the communication system.

                       6/28/2016
                                     Unknown. At the time of sampling, the SCADA trends indicate adequate chlorination.            The chlorination system was checked for problems. No issues were found.
                       7/19/2016     The bleach pumps malfunctioned, causing insufficient chlorination.                            The bleach pumps were repaired under Work Order 1278868.
                                     Undetermined. According to SCADA trends, the chlorine residual was within an
                       7/26/2016
                                     acceptable range for disinfection at the time of sample collection.                           The chlorination system was checked for malfunction but was found to be working properly.

                       11/3/2016
                                     The bleach pump lost prime, resulting in inadequate disinfection.                             The chlorination group was notified of the problem and troubleshooted the disinfection system.
                                     Insufficient air in the aeration basins due to electrical problem in one of the blowers. This Work order # 1171925 was created to repair the blower. Operations staff is closely monitoring the
                       10/12/2015    resulted in an increased NH3-N in the effluent.                                               aeration system to keep adequate aeration blowers in service.
                                     The plant has been experiencing continuous issues with the aeration blowers, causing
                       2/1/2016      slightly elevated NH3‐N concentrations throughout the month. This caused the daily
                                     average to exceed the permitted limit.                                                        The blowers are being repaired under work order numbers 1219847 and 1219848.
                                     The plant lost power from 4:00 pm on March 13, 2016 to 2:30 am on March 14, 2016.
                       3/13/2016
                                     As a result there was no air to the plant for 10 hours.                                       Operations is working to improve the air supply to the plant.
                       4/17/2016     The aeration blower tripped off, limiting the air supply to the plant.                        The blower was repaired under work order #1247506.
                                     The aeration blower tripped off, limiting the air supply to the plant. This caused elevated
                       6/12/2016
                                     NH3‐N concentration.                                                                        The blower was checked and the power was restored.
                                     The aeration blower tripped off, limiting air supply to the plant and causing elevated
                       6/1/2016
                                     NH3‐N concentrations during the month of June.                                                The blower was checked, and power was restored.
                                     A combination of air flow restrictions associated with old air filters and multiple air leaks
                       7/1/2016      in the distribution system caused elevated ammonia concentrations during the month of Air filters will be replaced by Operations personnel. Air leaks are scheduled to be addressed under
                                     July.                                                                                         Work Order 934987.
       NH3
                       1/8/2017      One of the blowers tripped off resulting in limited air supply for an undetermined period
                       1/9/2017      of time.                                                                                      A work order was created to address the equipment failure.

                       9/6/2017      Hurricane Harvey related. One of the blowers tripped off during the storm. The facility
                                     was flooded for several days, preventing access to the backup blower.                         The backup blower was put into service, and the damaged blower is scheduled to be repaired.
                                     A failure of the lift pump controls at the onsite lift station created a surge in flow when
                      10/15/2017
                                     the lift pumps were activated again.                                                          An electrician repaired the lift station controls.
                      10/30/2017     The aeration blower tripped off, resulting in an inadequate air supply.                       A work order was written, and a contractor repaired the blower.
                       5/1/2018      Inadequate dissolved oxygen caused by a mechanical problem with a blower.                     The contractor made repairs to the blower.

                       5/27/2018
                                     A power outage that occurred after hours caused the blowers to shut off.                      The operator was called out by the Control Center. Power to the clarifiers and blowers was reset.
                                     The previous day, a power outage that occurred after hours caused the blowers to shut
                       5/28/2018
                                     off.                                                                                  The operator was called out by the Control Center. Power to the clarifiers and blowers was reset.
                                     Mechanical issues with a blower at the beginning of the month and a power outage at           The blower was repaired. The Control Center called out an operator to reset blowers after the power
                       5/1/2018
                                     the end of the month combined to impact the daily average.                                    outage.




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Plant Northeast
                    Non-Compliance
 Permit Parameter       Date(s)                                 Initial Root Cause Assessment                                                                                    CORRECTIVE ACTION

                                     The cause of the enterococci bacteria exceedance is unknown. According to the            Chlorination system was checked and evaluated under WO #1104944, and found working properly.
                      3/24/2015      SCADA trends, the chlorine residual was in range during sample collection time.
                      05/13/2015     The cause of the enterococci bacteria exceedance is unknown. According to the            Work order #1122497 was generated for the chlorination group to thoroughly inspect the chlorination
                                     records, the chlorine residual was at 2.3 mg/L during sample collection time. Rain       system to ensure proper operation.
                                     events on May 11 (1.6 inches) and May 12 (3.45 inches) may have contributed to the
                                     Enterococci violation.
                      05/26/2015     Insufficient bleach feed in the system during severe thunderstorms in the Houston area   None. Disinfection system was working normally.
                                     that produced about 11 inches of rain on May 26, 2015 and 6.49 inches on the day
                                     before. These events contributed to the chlorine deficiency in the contact basin,
                                     allowing the Enterococci value to rise above the permitted amount.
                      07/01/2015     Unknown. According to SCADA trends and operator logs, the chlorine residual was          None. Disinfection system was working normally.
                                     maintained above 1.0 mg/L and flows were normal at the time of sample collection.

                      08/19/2015     Unknown. According to SCADA trends and operator logs, the chlorine residual was          The chlorination group was notified of the violation. After analysis, it was determined that the chlorination
                                     maintained above 1.0 mg/L, flows were stable, and the bleach feed was working            system was working properly.
                                     properly at the time of sample collection.
                      10/13/2015     Unknown. According to the SCADA trends and flow reports, the flow conditions and         Operations and chlorination were informed of the violation. The disinfection system was checked for
                      10/21/2015     chlorination feed were normal. The chlorine residual was at an acceptable level at the   operational issues.
                                     time of sample collection.
                                     Unknown. The chlorination feed was performing normally, and the chlorine residual        Operations and the chlorination group were notified of the violation. Both groups investigated, but the
                       1/7/2016      was within an acceptable range.                                                          disinfection system was found to be operating properly.

     Enteroco                        Undeterminable. A review of the SCADA trends showed that at the time of sample
                                     collection the chlorination feed was working properly and the chlorine residual was in
                                     range. Heavy rainfall (2.13 inches at the WWTP on 2/22/16 and 2/23/16) in the area       Operations and the chlorination group were notified of the violation. Both groups investigated, but the
                      2/23/2016      elevated the flow and may have contributed to the problem.                               disinfection system was found to be operating properly.
                                     Unknown. The SCADA trends at the sample collection time indicate that the chlorine
                                     feed and chlorine residual were in the normal range. Heavy rainfall on March 9, 2016
                                     (3.5 inches recorded at the WWTP) elevated the flow and may have contributed to the      Operations and the chlorination group were notified of the violation. Both groups investigated, by the
                      3/10/2016      Enterococci result.                                                                      disinfection system was found to be operating properly.
                                     Undetermined. At the time of sample collection, the chlorine residual was within an
                      1/18/2017      acceptable range for disinfection. Elevated flow due to heavy rainfall may have
                                     contributed.                                                                             The chlorination system was troubleshooted but was found to be working properly.

                      12/20/2017     The chlorine residual was not adequate for disinfection at the time of sample
                                     collection due to a chlorine leak on pump #1 and the loss of prime on pump #2.           The chlorination group was dispatched to make repairs on the leaking chlorine line.

                      3/29/2018      Undetermined. According to SCADA trends, the flow conditions and chlorination feed
                                     were normal. The chlorine residual was within an appropriate range for disinfection. The chlorination group troubleshooted the chlorination system.

                      9/11/2018      Undetermined. At the time of sample collection, the chlorine residual was within an
                                     adequate range for disinfection. The disinfection system was operating normally.         The disinfection system was troubleshooted and found to be working properly.




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                             Appendix F

                             List of SOPs
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                                  Appendix F
           List of Standard Operating Procedures (SOPs)


 1   Collection and Conveyance Management Plan
 2   Lift/Pump Stations SOP
 3   How to Create WMS Work Orders
 4   Infrastructure Management System SOP
 5   Facility Maintenance and Inspection SOP
 6   Inflow and Infiltration Control Plan
 7   IWS System to Track Compliance of Requirements (LINKO software)
 8   Collection and Conveyance Plan with Sanitary Sewer Overflow (SSO) Plan
 9   WWO SOP for Alarm Testing
10   PWE APP Safety Plan
11   Wastewater Treatment Plant Operation & SOP Manual
12   SOP 69th Street & Southwest Wastewater Treatment Plant Operating Manuals
13   Wet Weather Facilities Operating Manual
14   Almeda Sims Sludge Facility Operations Manual
15   WWTP Preventive Maintenance Schedule
16   SOP on Sludge Processing Facilities
17   Industrial Pretreatment Program
18   PUD SOP Wet Weather
19   Residuals Management Spill Control Plan
20   SOP Residual Management Aerobic Digesters Facilities
21   COH Policy 2‐21, Employee Safety and Health
22   Collection System Repair Response to Stoppages
23   Collection System Repair Response to Sanitary Sewer Overflows
24   Clarifier solids
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I.           Cover
             Cover shall state that the report covers Consent Decree activities undertaken between July 1,
             XXXX and June 30, XXXX.


II.          Certification Declaration

                [Required certification, with language specified by the Consent Decree, signed by a
                       responsible official of the City]


III.         Table of Contents

                [List of sections, tables, figures and appendices included in this report]


IV.          SSO Reporting

             The City shall provide a tabular summary of SSO information as described in Paragraph
             63 generally in accordance with the column headings of the tables following:

                    Summary of Total Annual SSOs Occurring After the Effective Date
                                      # of SSOs                     # of SSOs     # of SSOs
                    # of SSOs                      # of SSOs
       Fiscal                        Caused by                     Caused by      Caused by     Total # of
                    Caused by                      Caused by
       Year                           Capacity                     Lift Station     Other         SSOs
                     Grease                          Roots
                                     Constraints                      Failure      Factors
        XX              XX               XX            XX               XX           XX                XX
        XX              XX               XX            XX               XX           XX                XX


                                   Summary of Annual SSO Discharge Locations
                                                     # of SSOs that do not
      Fiscal       # of SSOs discharging
                                                          reach into or              Total # of SSOs
      Year         into/adjacent to waters(1)
                                                      adjacent to waters(2)
        XX                         XX                          XX                          XX
        XX                         XX                          XX                          XX
                             (1)
                                      As defined in Paragraph 83 of the Consent Decree
                             (2)      As defined in Paragraph 84 of the Consent Decree




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           Summary of Information Regarding SSOs Occurring After the Effective Date
      Fiscal       Total SSO Discharge       # of Media Reports
                                                                      # of repeat SSO locations (1)
      Year               Volume                    Issued
        XX                 XX                        XX                            XX
        XX                 XX                        XX                            XX
                     (1)
                             – Repeat SSOs as defined in Paragraph 63(e) of the Consent Decree


        Summary of SSOs and WWTP/WWF Effluent Reports of No Violation Pursuant to
                    Affirmative Defense Under Tex. Water Code § 7.251
      Fiscal
                          Date                     Type of Report                Report ID#
      Year
        XX                    XX                        XX                           XX
        XX                    XX                        XX                           XX


V.      Early Action Program

        The City shall provide a tabular summary of the status of each Early Action Project (Lift
        Station, Force Main, Consolidation, and WWTP Early Action Projects) as described in
        Paragraph 64 and listed in Appendix B of the Consent Decree.

VI.     Capacity Assessment

        A.     Capacity Remedial Measures Plan Progress
               In Annual Reports following the approval of the Capacity Remedial Measures
               Plan(s), the City shall identify progress made in the previous year toward
               completing the remedial measures identified in the Capacity Remedial Measures
               Plan(s) as described in a format generally in accordance with the column and row
               headings of the table following:

                                                   Narrative of Project Status     EPA Approved
      Capacity Project Name        Project Start
                                                   and Progress Made during      Project Completion
           and Area #                  Date
                                                           Fiscal Year                Deadline




        B.     Capacity Remedial Summary

               The City shall identify areas with potential capacity constraints, provide remedial
               alternatives analysis for each area in the provide a tabular summary of results of



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         the identification of WCTS assets with potential capacity constraints generally in
         accordance with the column and row headings of the table following:

                     Potential Capacity Constraints Summary

                                                List of Assets Identified
                           Criteria
                                                    Meeting Criteria
                 Total wet weather volume
                 from any single WCTS asset
                                                           X
                 over the prior 3 years >
                 100,000 gallons
                 3 or more wet weather SSOs
                 occur from any single WCTS                X
                 asset over the prior 3 years


         The City shall provide a list and map of new areas with capacity constraints
         generally in accordance with the column and row headings of the table
         following:
                           New Capacity Constraint Areas

                        Area Number               WCTS Assets in Area
                              X                           X
                              X                           X


         For each new Capacity Constraint Area, the City shall provide the remedial
         alternative analysis, if complete, and timeline for completion of each remedial
         action taken or to be taken.


   C.    Capacity‐Related Sewer Segment Replacements


         The City shall identify all Sewer Segments renewed or replaced in the previous
         Fiscal Year due to capacity constraints and all Sewer Segments that are
         scheduled for renewal or replacement in the following year due to capacity
         constraints, generally in accordance with the column and row headings of the
         table following:
                  Capacity‐Related Sewer Segment Replacements

                         Fiscal Year              Sewer Segment List
                         (Previous)                       X
                            (Next)                        X


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         D.        Sanitary Sewer System Hydraulic Model Updates
                   The City shall provide a list of sanitary sewer system hydraulic models updated.

VII.     Wet Weather Facilities

         The City shall provide a summary of all activities performed in the previous Fiscal Year
         including, as appropriate, a summary of pilot study activities, LOA activities, sampling
         results and analysis, status of Pilot Testing Result Report, status of Full Scale Treatment
         Plan, and status of the Remedial Measures Plan. In addition, the City shall specify any
         non‐effluent maintenance‐related permit violations involving the WWFs. After any
         applicable deadline specified in Paragraphs 21(a) or 24(b), the City shall provide the
         number of discharges from the Scott Street WWF, if any.

                            Date of         Non‐effluent
                                                                   Narrative of activity taken toward pilot
                        Discharge(s), if        permit
                                                                 study implementation, full‐scale treatment
                             any            violation(s), if
                                                                  implementation, or discharge elimination
                                                 any

   WWF Name                    X                   X




VIII. Condition Assessment

         A.        Condition Assessment Summary
                   The City shall provide a tabular summary of Gravity Sewer Mains and Manholes,
                   Force Mains, and Lift Stations inspected generally in accordance with the column
                   and row headings of the tables following:

                               Gravity Sewer Main Inspection Summary

                                                                      Unique          Unique miles
                                                Cumulative           miles of        remaining to be
                          Unique miles
       Total Gravity                           unique miles        inspections     inspected within 10
                          inspected in
       Sewer miles                            inspected from        scheduled      years or (if after 10
                          Fiscal Year X
                                               Effective Date        for next     years) within 15 years
                                                                    Fiscal Year    from Effective Date
              XX                XX                     XX               XX                 XX




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                                 Manhole Inspection Summary

                                                                           Unique manholes
                            Unique                Cumulative
                                                                      remaining to be inspected
         Total            manholes             unique manholes
                                                                      within 10 years or (if after
        manholes         inspected in           inspected from
                                                                       10 years) within 15 years
                         Fiscal Year X           Effective Date
                                                                          from Effective Date
          XX                   XX                     XX                           XX



                         Early Year Targeted Inspection Summary

                                                         Has requirement to inspect
             Total unique miles inspected in             1,500 unique miles within 2
                      Fiscal Year X                      years of Effective Date been
                                                                     met?
                                                       Yes, No, or cumulative total from
                            XX
                                                                 Effective Date


                               Preventive Inspection Summary

            Total (repeat) miles inspected in           Has requirement to re‐inspect
                      Fiscal Year X                         82.5 Miles been met?
                            XX                                    Yes or No



   B.      Force Main Assessment Program
           The City shall provide a tabular summary of force main inspections performed in
           the Fiscal Year in accordance with the elements included in the following table:

                               Force Main Inspection Summary

                                                                           Miles of
                                                         Miles of
                                    Cumulative                          inspections to
               Unique miles                            inspections
                                   unique miles                         be completed
               inspected in                             scheduled
                                  inspected from                          within 10
               Fiscal Year X                             for next
                                   Effective Date                          Years of
                                                        Fiscal Year
                                                                        Effective Date

                    XX                   XX                  XX               XX




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   C.        Lift Station Assessment Program
             The City shall provide a tabular summary of the lift stations inspected in the
             Fiscal Year generally in accordance with the column and row headings of the
             following table:

                                   Lift Station Inspection Summary

                                               Cumulative
                                                                  Inspections     Inspections to be
                            Inspections        inspections
                                                                   scheduled         completed
                           completed in         completed
                                                                    for next       within 10 Years
                           Fiscal Year X     from Effective
                                                                   Fiscal Year    of Effective Date
                                                  Date

        Number of
                                  XX                  XX               XX                  XX
        Lift Stations



   D.        Condition Assessment Results
             The City shall provide a tabular summary of results of the condition assessments
             by type of asset performed in the Fiscal Year generally in accordance with the
             column and row headings of the following table:

                        Condition Categorization Summary in Fiscal Year X

                                                             Miles of Gravity       Number of
            Condition Category
                                                              Sewer Mains           Manholes
            NASSCO Grade 1 – Very Good                              XX                 XX
            NASSCO Grade 2 – Good                                   XX                 XX
            NASSCO Grade 3 – Fair                                   XX                 XX
            NASSCO Grade 4 – Poor                                   XX                 XX
            NASSCO Grade 5 – Very Poor                              XX                 XX

   *Provide a list of the Force Main and Lift Station defects identified during the Fiscal Year, and a list and
   locational map of identified Category 4 and 5 Gravity Sewer Mains and manholes.

         Assets to be remediated based upon Condition Categorization Summary

                           Miles of
                                            Number of           Miles of Force         Number of Lift
                        Gravity Sewer
                                            manholes                Mains                Stations
                            Main

   Fiscal Year               XX                  XX                    XX                       XX



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        E.        Condition Remedial Summary
                  The City shall provide a tabular summary of condition remedial measures
                  completed and WCTS assets identified for condition remedial measures generally
                  in accordance with the column and row headings of the tables following:

                                WCTS Asset Remedial Measures Completed

                                                                  Miles of       Number of
                          Miles of Gravity      Number of
                                                                   Force            Lift
                           Sewer Mains          Manholes
                                                                  Mains           Stations
                              Fiscal Year            XX             XX               XX
                            Next Fiscal Year         XX             XX               XX
*Provide a list of the Force Main and Lift Station defects remediated during the Fiscal Year, and a list and locational
                       map of remediated Category 4 and 5 Gravity Sewer Mains and manholes.

                      Gravity Sewer and Lift Station Remediation Requirements

           Percent of all Gravity            Met CD               Percent of all Lift          Met CD
               Sewer Mains                 Paragraph 36                Stations              Paragraph 37
          Remediated/Replaced in           requirement          Remediated/Replaced          requirement
               Fiscal Year X                  (2.5%)?              in Fiscal Year X             (5%)?
                       XX                        Y/N                      XX                      Y/N



IX.     Wastewater Treatment Plants (WWTPs)

        Provide a tabular summary of WWTP corrective actions scheduled and WWTP corrective
        actions completed during the previous Fiscal Year generally in accordance with the
        column and row headings of the tables following:

                                    WWTP Corrective Actions Scheduled

                                                                               Scheduled Date for
                            WWTP                  Corrective Action
                                                                                  Completion

                               XX                          XX                          XX




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                                 WWTP Corrective Actions Completed

                                                              Scheduled Date for          Completion
             WWTP                Corrective Action
                                                                 Completion                  Date

               XX                           XX                       XX                       XX



X.      CMOM

        A.        Sewer Cleaning
                  The City shall provide a tabular summary of Sewer Cleaning activities performed
                  in the Fiscal Year generally in accordance with the column and row headings of
                  the tables following:

                     Small Diameter System‐Wide Program Cleaning Summary

                                                              Unique miles remaining        Percent of
                                             Cumulative
      Total Small      Unique miles                           to be cleaned within 10     Small Diameter
                                            unique miles
       Diameter         cleaned in                              years or (if after 10      miles cleaned
                                           cleaned from
         miles         Fiscal Year X                           years) within 15 years      during Fiscal
                                           Effective Date
                                                                from Effective Date           Year X
          XX                XX                   XX                       XX                     XX



                     Large Diameter System‐Wide Program Cleaning Summary

                                                                     Unique Miles            Percent of
                              Unique                                Remaining to be        Large Diameter
                                              Unique miles
        Total Large            miles                              Inspected within 10       miles cleaned
                                               cleaned in
      Diameter Miles       inspected in                           years or (if after 10     during Fiscal
                                              Fiscal Year X
                           Fiscal Year X                         years) within 15 years        Year X
                                                                  from Effective Date
             XX                  XX                   XX                   XX                   XX




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                                    Preventive Cleaning Summary

                                                         Has requirement to annually
                Total miles cleaned in Fiscal Year X    re‐clean 275 miles in addition
                         (repeat cleaning)                to Program Cleaning been
                                                                    met?
                                XX                                Yes or No



                             Early Year Targeted Cleaning Summary

                                                        Has requirement to clean 1,500
               Total unique miles cleaned in Fiscal
                                                        unique miles within 2 Years of
                             Year X
                                                           Effective Date been met?
                                                       Yes, No, or Cumulative Total from
                               XX
                                                                 Effective Date


     B.        Root Control
               The City shall describe its yearly root control activities, including a map
               identifying Sewer Segments where root control activities were conducted.

     C.        Fats, Oils, and Grease (FOG) Program
               The City shall provide a tabular summary of the FOG Program activities
               performed in the Fiscal Year generally in accordance with the column headings
               of the table following:

                      FOG Program Inspections and Enforcement Actions

                               Number of FOG            Number of FOG
 Number of Permitted                                                          Number of Enforcement
                            Program Interceptor         Generators Not
FOG Generators at End                                                            Actions Initiated
                             Inspections During        Inspected During
       of FY                                                                        During FY
                                     FY                  Previous 3 FYs
          XX                         XX                        XX                          XX



     D.        CMOM – Private Laterals
               The City shall provide a tabular summary regarding Private Lateral wastewater
               releases that impact or threaten to impact the MS4 generally in accordance with
               the column and row headings of the table below:




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                                Private Lateral Wastewater Releases

                                                            Date of
                                Location of Private
                                                           Wastewater
                                      Lateral
                                                            Release
                                         XX                    XX

                                         XX                    XX



                           Private Lateral Wastewater Releases Remediated

  Private Laterals     Private Laterals                              Private Laterals   Private Laterals
                                               Private Laterals
 Remediated from      Remediated from                               Remediated from     Not Remediated
                                              Remediated from
  written/verbal       Inspections by                                 Suspension of       Despite City
                                                    a Fine
    Notification         HHD or BCE                                      Service            Efforts
        XX                      XX                    XX                   XX                  XX



      E.      Standard Operating Procedures (SOPs)
              The City shall provide copies of SOPs that were substantively updated in the
              Fiscal Year, if any, as described in Paragraph 88 of the Consent Decree.

      F.      Advanced Sewer System Monitoring
                                 Number of
                                             Total number of
                                  advanced                    Total number of advanced
                                             advanced Sewer
                                Sewer System                   Sewer System monitors
                                             System monitors
                                  monitors                     currently maintained by
                                              installed since
                                  installed                              City
                                              Effective Date
                                  during FY

             Fiscal Year             X                     X                      X



XI.   Inaccessible/Nonexistent or Unlocatable Assets

      The City shall provide a list identifying assets that the City was unable to inspect or clean
      because the asset was inaccessible, nonexistent, or not located.




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                                       Appendix G
                                  Annual Report Template

XII.   Modifications

       The City shall provide a summary of written agreements pursuant to Section XXI of the
       Consent Decree.




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